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Debtor        Histogen Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above



                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5 ___
                                             ___  4 ___
                                                      1 ___
                                                         9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ✔ Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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    Debtor         Histogen Inc.
                   _______________________________________________________                      Case number (if known)_____________________________________
                   Name



     9.   Were prior bankruptcy cases        ✔ No
                                             
          filed by or against the debtor
          within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
          If more than 2 cases, attach a
          separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

     10. Are any bankruptcy cases            ✔ No
                                             
          pending or being filed by a
          business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
          affiliate of the debtor?                     District _____________________________________________ When               __________________
          List all cases. If more than 1,                                                                                        MM / DD / YYYY
          attach a separate list.                      Case number, if known ________________________________



     11. Why is the case filed in this       Check all that apply:
          district?
                                             ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

     12. Does the debtor own or have         
                                             ✔ No
          possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
          property or personal property
          that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
          attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                       Other _______________________________________________________________________________


                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________
                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




                  Statistical and administrative information




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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    Debtor
                 Histogen Inc.
                _______________________________________________________                             Case number (if known)_____________________________________
                Name




     13. Debtor’s estimation of              Check one:
         available funds                     ✔ Funds will be available for distribution to unsecured creditors.
                                             
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             ✔ 1-49
                                                                                 1,000-5,000                                25,001-50,000
     14. Estimated number of
                                              50-99                              5,001-10,000                               50,001-100,000
         creditors
                                              100-199                            10,001-25,000                              More than 100,000
                                              200-999

                                              $0-$50,000                        
                                                                                 ✔ $1,000,001-$10 million                     $500,000,001-$1 billion
     15. Estimated assets
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     16. Estimated liabilities               ✔
                                              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


                Request for Relief, Declaration, and Signatures


     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature of        Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of
                                                 petition.
         debtor
                                             Q   I have been authorized to file this petition on behalf of the debtor.

                                             Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                 correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                                04/18/2024
                                                 Executed on _________________
                                                             MM / DD / YYYY


                                             8   _____________________________________________                David M. Maggio
                                                                                                              _______________________________________________
                                                 Signature of authorized representative of debtor             Printed name

                                                       Chief Executive Officer
                                                 Title _________________________________________




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor
             Histogen Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 /s/ Eric D. Goldberg
                                          _____________________________________________            Date         04/18/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Eric D. Goldberg
                                         _________________________________________________________________________________________________
                                         Printed name
                                         DLA  Piper LLP (US)
                                         _________________________________________________________________________________________________
                                         Firm name
                                         2000 Avenue of the Stars, Suite 400 North Tower
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         Los Angeles
                                         ____________________________________________________                CA
                                                                                                         ____________ 90067
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (310) 595-3085
                                         ____________________________________                            eric.goldberg@us.dlapiper.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         157544
                                         ______________________________________________________       CA
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                                OFFICER’S CERTIFICATE
                                                     April 18, 2024

                   I, Dave Maggio, being the duly appointed Chief Executive Officer of Histogen Inc.
            (“Histogen”), hereby certify as follows:

                   I am the duly qualified Chief Executive Officer of Histogen and, as such, I am familiar
            with the facts certified herein and I am duly authorized to certify the same on behalf of Histogen;

                   Attached hereto is a true, correct, and complete copy of the resolutions of the Board of
            Directors of Histogen, duly adopted and approved on April 16, 2024, in accordance with
            Histogen’s corporate organizational documents; and

                    Such resolutions have not been amended, altered, annulled, rescinded, modified or revoked
            since their adoption and remain in full force and effect as of the date hereof. There exist no
            subsequent resolutions relating to the matters set forth in the resolutions attached hereto.

                   IN WITNESS WHEREOF, the undersigned has executed this certificate as of the 18th
            day of April, 2024.




                                                                 Name: Dave Maggio
                                                                 Chief Executive Officer of Histogen Inc.




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                                  RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                                               HISTOGEN, INC.

                                                           APRIL 16, 2024

                    Effective as of this 16th day of April, 2024, pursuant to a special meeting of the board of
            directors (the “Board”) of Histogen Inc., a Delaware corporation (“Histogen”), on the same date,
            at which a quorum was present, upon a motion duly made and seconded and acting pursuant to
            Histogen’s organizational documents, the Board took the following actions and adopted the
            following recitals and resolutions:

                   WHEREAS, the Board previously approved the liquidation and wind down of the
            Corporation (the “Dissolution”) in accordance with a Plan of Liquidation and Wind Down (the
            “Dissolution Plan”) in the manner permitted under Section 275 of the Delaware General
            Corporation Law (the “DGCL”);

                    WHEREAS, the Corporation solicited the vote of the stockholders at a Special Meeting
            originally scheduled for December 5, 2023, which such meeting was subsequently adjourned and
            rescheduled for December 14, 2023 in order to solicit additional votes for the Special Meeting (the
            “Adjourned Meeting”);

                    WHEREAS, the Adjourned Meeting was subsequently readjourned to January 4, 2023 in
            order to solicit additional votes for the Special Meeting (“Final Meeting”);

                   WHEREAS, the proposal to adopt the Dissolution Plan did not achieve the Requisite Vote
            from the Requisite Holders and therefore, the Dissolution Plan has not been adopted by the
            stockholders of the Corporation;

                   WHEREAS, after due consideration and deliberation, including, amongst other reasons,
            the Wind-Down factors, the Board continued to deem it advisable and in the best interests of the
            Corporation and its stockholders to liquidate and wind down the operations of the Corporation, in
            a manner determined by the Board, including, amongst other options, by effectuating a subchapter
            V (chapter 11) bankruptcy, federal bankruptcy, petition for dissolution to the Delaware Chancery
            Court or other state court, liquidating trust, receivership or other wind-down process to be managed
            by Armanino and its representatives with any proceeds distributed to the remaining creditors and
            stockholders of the Corporation in a manner required by law;

                   WHEREAS, the Board considered a variety of factors in its evaluation of the merits of
            continuing the Corporation as a going concern, including, without limitation:

                         1. The Board has considered the current and prospective financial and operational
                            aspects of Histogen’s business, including Histogen’s historical performance, assets,
                            current and long-term liabilities and the market for Histogen’s assets;

                         2. the Board has considered, and has reviewed and had the opportunity to ask
                            questions about the materials presented by, the management of and the legal and
                            financial advisors of Histogen regarding the liabilities, liquidity and prospects of


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                             Histogen, the relative risks and benefits of the strategic alternatives available to
                             Histogen, and the impact of the foregoing on Histogen;

                         3. the Board has supervised and directed the management and legal and financial
                            advisors of Histogen in evaluating the strategic options;

                         4. the Board, with the advice and recommendation of the management and legal and
                            financial advisors, on behalf of Histogen, reviewed various forums and types of
                            actions and relief available under the Delaware General Corporate Law and the
                            United States bankruptcy code, as appropriate;

                         5. the Board, with the advice and recommendations of the management and legal and
                            financial advisors, on behalf of Histogen, has determined that it is in the best
                            interests of Histogen, its creditors, and other parties-in-interest that a petition be
                            filed with the United States Bankruptcy Court for the Southern District of
                            California (the “Bankruptcy Court”) by Histogen seeking relief under chapter 11
                            of title 11 of the United States Code (the “Bankruptcy Code”);

                         6. the Board has determined that it is the best interests of Histogen and its creditors,
                            shareholders, and other parties in interest to commence the case under the
                            provisions of subchapter 5 of chapter 11 of the Bankruptcy Code compared to other
                            alternatives discussed and reviewed by the Board;

                         7. the Board consents to the adoption of these resolutions set forth herein by written
                            consent; and

                         8. the Board has determined that it is in the best interests of Histogen and its creditors,
                            shareholders, and other parties in interest to approve the following resolutions:

                    NOW, THEREFORE, IT IS HEREBY:

                    1.       Commencement of the Chapter 11 Case

                     RESOLVED, that the Board has determined, after consultation with the management and
            legal and financial advisors of Histogen, that it is desirable and in the best interests of Histogen,
            its creditors, and other parties-in-interest that a petition be filed pursuant to subchapter V of chapter
            11 of the Bankruptcy Code with the Bankruptcy Court by Histogen seeking relief under the
            Bankruptcy Code; and be it further

                   RESOLVED, that Dave Maggio and such other officer(s) as Histogen shall from time to
            time designate (each, an “Authorized Person”), in each case, acting singly or jointly, be, and each
            hereby is, authorized, empowered, and directed, with full power of delegation, to negotiate,
            execute, deliver, and file with the Bankruptcy Court, in the name and on behalf of Histogen, and
            under its corporate seal or otherwise, all plans, petitions, schedules, statements, motions, lists,
            applications, pleadings, papers, affidavits, declarations, orders and other documents (collectively,
            the “Chapter 11 Filings”) (with such changes therein and additions thereto as any such
            Authorized Person may deem necessary, appropriate or advisable, the execution and delivery of
            any of the Chapter 11 Filings by any such Authorized Person with any changes thereto to be

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            conclusive evidence that any such Authorized Person deemed such changes to meet such
            standard); and be it further

                     RESOLVED, that each Authorized Person, acting singly or jointly, be, and each hereby is,
            authorized, empowered, and directed, with full power of delegation, in the name and on behalf of
            Histogen, to take and perform any and all further acts and deeds that such Authorized Person deems
            necessary, appropriate, or desirable in connection with Histogen’s subchapter V chapter 11 case
            (the “Chapter 11 Case”) or the Chapter 11 Filings, including, without limitation, (i) the payment of
            fees, consent payments, indemnities, taxes and other expenses such Authorized Person deems
            necessary, appropriate, or desirable, and (ii) negotiating, executing, delivering, performing and filing
            any and all additional documents, schedules, statements, lists, papers, agreements, certificates and/or
            instruments (or any amendments or modifications thereto) in connection with, or in furtherance of,
            the Chapter 11 Case with a view to the successful prosecution of the Chapter 11 Case (such acts to be
            conclusive evidence that such Authorized Person deemed the same to meet such standard); and be it
            further.

                    2.       Retention of Advisors

                    RESOLVED, that, in connection with the Chapter 11 Case, each Authorized Person,
            acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with full
            power of delegation, in the name and on behalf of Histogen, to employ and retain all assistance by
            legal counsel, accountants, financial advisors, brokers, investment bankers and other professionals,
            on behalf of Histogen, that such Authorized Person deems necessary, appropriate or advisable in
            connection with, or in furtherance of, the Chapter 11 Case, with a view to the successful
            prosecution of the Chapter 11 Case (such acts to be conclusive evidence that such Authorized
            Person deemed the same to meet such standard); and be it further

                   RESOLVED, that the law firm of DLA Piper LLP (US) is hereby retained and employed
            as general bankruptcy counsel in connection with the Chapter 11 Case and all other matters in
            connection therewith; and be it further

                   RESOLVED, that the financial advisory firm of Armanino LLP is hereby retained and
            employed as financial advisor for Histogen in the Chapter 11 Case and all matters in connection
            therewith; and be it further

                    RESOLVED, that the Authorized Persons are hereby authorized and directed to employ
            any other firms as professionals or consultants to Histogen that are deemed necessary to represent
            and assist Histogen in carrying out its duties under the Bankruptcy Code and, in connection
            therewith, the Authorized Persons are hereby authorized and directed to execute appropriate
            retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
            Chapter 11 Case, and cause to be filed appropriate applications for authority to retain the services
            of such firms; and be it further

                    3.       General

                   RESOLVED, that any and all past actions heretofore taken by the Authorized Persons,
            any director or any member of Histogen in the name and on behalf of Histogen in furtherance of


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            any or all of the preceding resolutions be, and the same hereby are, ratified, confirmed, and
            approved in all respects; and be it further

                    RESOLVED, that the Authorized Persons be, and each of them hereby are, authorized and
            directed, by and on behalf of Histogen, to take or cause to be taken all such further actions, to
            execute and deliver or cause to be executed and delivered all such further instruments, certificates,
            undertakings and documents, and to incur all such fees and expenses as in their judgment shall be
            necessary, appropriate or advisable in order to carry into effect the purpose and intent of the
            foregoing resolutions; and be it further

                    RESOLVED, that the Board has received sufficient notice of the actions and transactions
            relating to the matters contemplated by the foregoing resolutions, as required by the governance
            documents of Histogen, or hereby waives any right to have received such notice.




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                    1
                             ERIC D. GOLDBERG (SBN 157544)
                    2        DAVID M. RILEY (SBN 292087)
                             DLA PIPER LLP (US)
                    3        2000 Avenue of the Stars
                             Suite 400 North Tower
                    4
                             Los Angeles, California 90067-4704
                    5        Telephone: (310) 595-3000
                             Facsimile: (310) 595-3300
                    6        eric.goldberg@us.dlapiper.com
                             david.riley@us.dlapiper.com
                    7
                             Proposed Counsel to Debtor and
                    8
                             Debtor In Possession
                    9
                                                       UNITED STATES BANKRUPTCY COURT
                    10                                 SOUTHERN DISTRICT OF CALIFORNIA

                    11       In re:
                    12                                                                Case No. 24-bk-_____-__-11
                             HISTOGEN INC.,
                    13                                                                Chapter 11 (Subchapter V)
                                                             Debtor.
                    14                                                                CORPORATE OWNERSHIP
                             E.I.N. XX-XXXXXXX                                        STATEMENT
                    15

                    16
                                      Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy
                    17
                         Procedure, the undersigned authorized officer of Histogen Inc. certifies the following
                    18
                         corporate entity own 10% or more of Histogen Inc.’s equity interest.
                    19

                    20                          Equity Holder                             Percentage of Total Equity

                    21                  Cede & Co (FAST ACCOUNT) 1                                  92.22%

                    22

                    23

                    24

                    25

                    26

                    27

                    28
                         1
DLA P IPER LLP (US)                   The Company does not have knowledge regarding beneficial owners.
    LOS AN GE LES


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             Fill in this information to identify the case and this filing:


             Debtor Name Histogen Inc.

             United States Bankruptcy Court for the:              Southern District of California
                                                                          (State)

             Case number (If known):



             Official Form 202

             Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
             An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
             form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
             amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
             the date. Bankruptcy Rules 1008 and 9011.

             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
             and 3571.


                                Declaration and signature

                            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
                            individual serving as a representative of the debtor in this case.

                            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                            տ           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                            տ           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                            տ           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                            տ           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                            տ           Schedule H: Codebtors (Official Form 206H)


                            տ           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                            տ            Amended Schedule


                            տ           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official
                                        Form 204)


                            ց           Other document that requires a declaration Corporate Ownership Statement

             I declare under penalty of perjury that the foregoing is true and correct.


             Executed on        04/18/2024
                                MM / DD / YYYY                                              Signature of individual signing on behalf of debtor

                                                                                            David M. Maggio
                                                                                            Printed name

                                                                                            Chief Executive Officer
                                                                                            Position or relationship to debtor



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                    1
                             ERIC D. GOLDBERG (SBN 157544)
                    2        DAVID M. RILEY (SBN 292087)
                             DLA PIPER LLP (US)
                    3        2000 Avenue of the Stars
                             Suite 400 North Tower
                    4
                             Los Angeles, California 90067-4704
                    5        Telephone: (310) 595-3000
                             Facsimile: (310) 595-3300
                    6        eric.goldberg@us.dlapiper.com
                             david.riley@us.dlapiper.com
                    7
                             Proposed Counsel to Debtor and
                    8
                             Debtor In Possession
                    9
                                                       UNITED STATES BANKRUPTCY COURT
                    10                                 SOUTHERN DISTRICT OF CALIFORNIA

                    11       In re:
                    12                                                                 Case No. 24-bk-_____-__-11
                             HISTOGEN INC.,
                    13                                                                 Chapter 11 (Subchapter V)
                                                             Debtor.
                    14                                                                 LIST OF EQUITY SECURITY
                             E.I.N. XX-XXXXXXX                                         HOLDERS
                    15

                    16
                                      Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure,
                    17
                         Histogen Inc. hereby provides the following list of holders of equity interests:
                    18
                                Name and Address of                                               Percentage of Interests
                    19                                                  Kind of Interest
                                    Interest Holder                                                       Held
                                       Cede & Co 1
                    20
                             570 Washington Blvd., Jersey                     Equity                     92.22%
                    21            City, NJ 07310-1617
                              Lordship Ventures Histogen
                    22                Holdings LLC
                                                                              Equity                      2.76%
                              230 Passaic Ave., 1st Floor,
                    23             Fairfield, NJ 07004
                    24             John Paul Dejoria
                                                                              Equity                      1.34%
                                     Address on File
                    25            Secure Medical Inc.
                             5801 S. McClintock Dr., #109,                    Equity                      0.61%
                    26             Tempe, AZ 85283
                             Gail K. Naughton Trustee Gail
                    27                                                        Equity                      0.50%
                             K. Naughton Revocable Trust
                    28
                         1
DLA P IPER LLP (US)                   The Company does not have knowledge regarding beneficial owners.
    LOS AN GE LES


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                                  Address on File
                     AST Exchange Agent #23499
                              Histogen Inc.
                                                                    Equity                     0.41%
                      6201 15th Ave., Brooklyn, NY
                                  11219
                         The Angus Shane Paul
                              Mitchell UTA
                                                                    Equity                     0.34%
                       1585 Kapiolani Blvd., Suite
                        1110, Honolulu, HI 96814
                     Eileen Brandt TTEE Naughton
                            Descendant Trust                        Equity                     0.10%
                             Address on File
                              David Nassif
                                                                    Equity                     0.09%
                             Address on File
                     John Paul Dejoria Family Trust
                                                                    Equity                     0.05%
                             Address on File
                         Edward and Carol Miller
                              Family Trust                          Equity                     0.05%
                             Address on File
                      Terry Moore CCIM Inc. PSP
                            Retirement Trust                        Equity                     0.04%
                             Address on File
                         Charles E. Weinberger
                            Revocable Trust                         Equity                     0.04%
                             Address on File
                             Mark A. Hubka
                                                                    Equity                     0.04%
                             Address on File
                           Richard S. Jackson
                                                                    Equity                     0.04%
                             Address on File
                         The Angus Shane Paul
                          Mitchell Living Trust                     Equity                     0.04%
                             Address on File
                         The Angus Shane Paul
                          Mitchell Living Trust
                                                                    Equity                     0.03%
                       Established Under a Trust
                             Address on File
                         Restated 2003 Terry W.
                       Moore & Sandra L. Moore
                                                                    Equity                     0.03%
                            Revocable Trust
                             Address on File
                             Mike Mansfield
                                                                    Equity                     0.03%
                             Address on File
                       Pablo Rafael Carillo Barron
                                                                    Equity                     0.03%
                             Address on File
                              Eileen Brandt
                                                                    Equity                     0.03%
                             Address on File


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                           Mark Baumgartner
                                                                    Equity                     0.03%
                            Address on File
                           Klein-Hutton Trust
                                                                    Equity                     0.03%
                            Address on File
                             Ryan Patterson
                                                                    Equity                     0.02%
                            Address on File
                         Robert Emmet Pinney
                                                                    Equity                     0.02%
                            Address on File
                     The Entrust Group FBO Terry
                     Lee Taylor Sep IRA 52-01006                    Equity                     0.02%
                            Address on File
                      Terry Moore CCIM Inc. Roth
                            Retirement Trust                        Equity                     0.02%
                            Address on File
                             DLA Piper LLP
                      6225 Smith Ave., Baltimore,                   Equity                     0.02%
                               MD 21209
                             Michael Fedida
                                                                    Equity                     0.02%
                            Address on File
                           Marcy J. Weinstein
                                                                    Equity                     0.02%
                            Address on File
                              Susan Baxter
                                                                    Equity                     0.02%
                            Address on File
                     Roberto J. Valdes Castaneda
                                                                    Equity                     0.02%
                            Address on File
                      Terry Moore CCIM Inc. Profit
                      Sharing Plan and Retirement
                                                                    Equity                     0.02%
                     5643 Stresemann Street, San
                            Diego, CA 92122
                             Michael Zimber
                                                                    Equity                     0.02%
                            Address on File
                     Steven J Mento & Linda Mento
                     TTEES of Mento Family Trust                    Equity                     0.02%
                            Address on File
                             Emmet Pinney
                                                                    Equity                     0.01%
                            Address on File
                             Martin Latterich
                                                                    Equity                     0.01%
                            Address on File
                     John Alfred Conlin Trustee the
                           Conlin Family Trust
                                                                    Equity                     0.01%
                      3055 Degen Dr., Bonita, CA
                                 91902
                       IRA Resources FBO David
                               John Zettel                          Equity                    <0.01%
                            Address on File
                        Virginia Robins Jackson
                                                                    Equity                    <0.01%
                            Address on File

                                                                     3
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                            Ann S. Jackson
                                                                    Equity                    <0.01%
                            Address on File
                      David L. Wood and Carol A.
                                  Wood                              Equity                    <0.01%
                            Address on File
                              Gerald Kroop
                                                                    Equity                    <0.01%
                            Address on File
                           Glenda Ann Keller
                                                                    Equity                    <0.01%
                            Address on File
                     Midland IRA Inc. FBO Stewart
                                 R. Flink                           Equity                    <0.01%
                            Address on File
                              Barbara Cook
                                                                    Equity                    <0.01%
                            Address on File
                               Mark Morris
                                                                    Equity                    <0.01%
                            Address on File
                                Phil Lery
                                                                    Equity                    <0.01%
                            Address on File
                           Sanford B. Ehrich
                                                                    Equity                    <0.01%
                            Address on File
                           Benjamin R. Keller
                                                                    Equity                    <0.01%
                            Address on File
                           Patricia Gladstone
                                                                    Equity                    <0.01%
                            Address on File
                     Daniel L. Ripley and Denise J.
                     Ripley TTEES of Ripley Trust                   Equity                    <0.01%
                            Address on File
                            Joseph R. Cave
                                                                    Equity                    <0.01%
                            Address on File
                               Louis Storz
                                                                    Equity                    <0.01%
                            Address on File
                               Judi Parker
                                                                    Equity                    <0.01%
                            Address on File
                          Danny David Dahlke
                                                                    Equity                    <0.01%
                            Address on File
                               Deepak Jain
                                                                    Equity                    <0.01%
                            Address on File
                            Jeffery H. Little
                                                                    Equity                    <0.01%
                            Address on File
                         Equity Trust Company
                     Custodian Andrew A. Strauss
                                   IRA                              Equity                    <0.01%
                       77 Central Ave., Suite F,
                          Asheville, NC 28801
                             Ilene Tat-Tong
                                                                    Equity                    <0.01%
                            Address on File
                                  Phan Nguyen                       Equity                    <0.01%

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            Case 
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                                  Address on File
                          Paul David Hubka
                                                                    Equity                    <0.01%
                            Address on File
                           Patricia A. Yoder
                                                                    Equity                    <0.01%
                            Address on File
                             Alan J. Conlin
                                                                    Equity                    <0.01%
                            Address on File
                       The David Vanderite and
                     Michelle Vanderite Revocable
                                                                    Equity                    <0.01%
                                 Trust
                            Address on File
                     Carol Wood and David Wood
                                                                    Equity                    <0.01%
                            Address on File
                         George A. Krezinski
                                                                    Equity                    <0.01%
                            Address on File
                         Barbara A. Cook IRA
                                                                    Equity                    <0.01%
                            Address on File
                           Stephanie Parker
                                                                    Equity                    <0.01%
                            Address on File
                              Sue Bedford
                                                                    Equity                    <0.01%
                            Address on File
                               Ruth Perry
                                                                    Equity                    <0.01%
                            Address on File
                            Scott Friedman
                                                                    Equity                    <0.01%
                            Address on File
                           Joshua A. Hubka
                                                                    Equity                    <0.01%
                            Address on File
                           Cheston J Larson
                                                                    Equity                    <0.01%
                            Address on File
                          Joanne C Imperial
                                                                    Equity                    <0.01%
                            Address on File
                              Paola Lanza
                                                                    Equity                    <0.01%
                            Address on File
                     The Andrew A. Strauss Living
                                 Trust                              Equity                    <0.01%
                            Address on File
                               Philip Lery
                                                                    Equity                    <0.01%
                            Address on File
                            Augusta Cerny
                                                                    Equity                    <0.01%
                            Address on File




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            Case 
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             Fill in this information to identify the case and this filing:


             Debtor Name Histogen Inc.

             United States Bankruptcy Court for the:              Southern District of California
                                                                          (State)

             Case number (If known):



             Official Form 202

             Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
             An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
             form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
             amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
             the date. Bankruptcy Rules 1008 and 9011.

             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
             and 3571.


                                Declaration and signature

                            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
                            individual serving as a representative of the debtor in this case.

                            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                            տ           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                            տ           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                            տ           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                            տ           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                            տ           Schedule H: Codebtors (Official Form 206H)


                            տ           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                            տ            Amended Schedule


                            տ           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official
                                        Form 204)


                            ց           Other document that requires a declaration List of Equity Security Holders

             I declare under penalty of perjury that the foregoing is true and correct.


             Executed on        04/18/2024
                                MM / DD / YYYY                                                Signature of individual signing on behalf of debtor

                                                                                              David M. Maggio
                                                                                              Printed name

                                                                                              Chief Executive Officer
                                                                                              Position or relationship to debtor




                                                                                          1
            1608609727.1
              Case 24-01357-11                Filed 04/18/24       Entered 04/18/24 12:51:17               Doc 1       Pg. 19 of 145




        Fill in this information to identify the case:

        Debtor Name: Histogen Inc.

        United States Bankruptcy Court for the: Southern District of California                                  Check if this is an amended filing

        Case number (if known): __________________________
Fill in this information to identify the case:
    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                             12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
    the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
    not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
    among the holders of the 30 largest unsecured claims.

         Name of creditor and             Name, telephone number and          Nature of      Indicate if                   Amount of claim
       complete mailing address,           email address of creditor            claim         claim is        If the claim is fully unsecured, fill in
                                                                           (for example,                    only unsecured claim amount. If claim
          including zip code                        contact                                 contingent,
                                                                            trade debts,                     is partially secured, fill in total claim
                                                                                           unliquidated
                                                                            bank loans,                       amount and deduction for value of
                                                                                           , or disputed
                                                                            professional                          collateral or setoff to calculate
                                                                           services, and                                 unsecured claim.
                                                                            government
                                                                                                            Total           Deduction        Unsecured
                                                                             contracts)
                                                                                                           claim, if       for value of        claim
                                                                                                           partially        collateral
                                                                                                           secured           or setoff
1
    Equiniti                             NAME:
                                                                            Professional
    48 Wall Street, Floor 23             PHONE:                                                                                                $13,057.20
                                                                              Services
    New York, NY 10005                   EMAIL:

2
    Susan Knudson                        NAME:
                                                                            Professional
    6575 Mesa Norte Drive                PHONE:                                                                                                 $4,000.00
                                                                              Services
    San Diego, CA 92130                  EMAIL:

3
    Thomas Hubka                         NAME:
                                                                            Professional
    8314 Via Sonoma Unit 117             PHONE:                                                                                                 $2,500.00
                                                                              Services
    La Jolla, CA 92037                   EMAIL:

4
    Charles River Laboratories           NAME:
    GPO Box 27812                        PHONE:                                Trade                                                             Unknown
    New York, NY 10087‐7812              EMAIL:

5
    Frank Noble                          NAME:
    850 Beech Street #803                PHONE:                                Legal                                                             Unknown
    San Diego, CA 92101                  EMAIL:

6
    San Diego County Treasurer
                                         NAME:
    Tax Collector
                                         PHONE:                                Taxes        Unliquidated                                         Unknown
    1600 Pacific Canyon Road
                                         EMAIL:
    San Diego, CA 92101




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                       page 1
1608620540.7
              Case 24-01357-11              Filed 04/18/24          Entered 04/18/24 12:51:17             Doc 1       Pg. 20 of 145

Debtor Histogen, Inc.                                                                       Case number (if known) ____________
                    Name

         Name of creditor and           Name, telephone number and          Nature of      Indicate if                   Amount of claim
       complete mailing address,         email address of creditor            claim         claim is        If the claim is fully unsecured, fill in
                                                                         (for example,                    only unsecured claim amount. If claim
          including zip code                      contact                                 contingent,
                                                                          trade debts,                     is partially secured, fill in total claim
                                                                                         unliquidated
                                                                          bank loans,                       amount and deduction for value of
                                                                                         , or disputed
                                                                          professional                          collateral or setoff to calculate
                                                                         services, and                                 unsecured claim.
                                                                          government
                                                                                                           Total          Deduction        Unsecured
                                                                           contracts)
                                                                                                          claim, if      for value of        claim
                                                                                                          partially       collateral
                                                                                                          secured          or setoff
7
     Connie Harrell
     c/o Godes & Preis LLP
                                        NAME: Joseph M. Preis                              Contingent,
     300 Spectrum Center Drive, Suite
                                        PHONE: 949.468.0051                 Litigation    Unliquidated,                                        Unknown
     1420
                                        EMAIL:jpreis@gaplegal.com                           Disputed
     Irvine, CA 92618


8
     Jeanette Wetzel
     c/o Hershey Law, P.C.              NAME: Johny Rundell                                Contingent,
     16255 Ventura Blvd., Ste 1205      PHONE: 310.929.2190                 Litigation    Unliquidated,                                        Unknown
     Encino, CA 91436                   EMAIL: jrundell@hersheylaw.com                      Disputed


9




10




11




12




13




14




15




Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                       page 2
1608620540.7
              Case 24-01357-11           Filed 04/18/24        Entered 04/18/24 12:51:17               Doc 1       Pg. 21 of 145

Debtor Histogen, Inc.                                                                     Case number (if known) ____________
                    Name

        Name of creditor and         Name, telephone number and           Nature of      Indicate if                   Amount of claim
      complete mailing address,       email address of creditor             claim         claim is        If the claim is fully unsecured, fill in
                                                                       (for example,                    only unsecured claim amount. If claim
         including zip code                    contact                                  contingent,
                                                                        trade debts,                     is partially secured, fill in total claim
                                                                                       unliquidated
                                                                        bank loans,                       amount and deduction for value of
                                                                                       , or disputed
                                                                        professional                          collateral or setoff to calculate
                                                                       services, and                                 unsecured claim.
                                                                        government
                                                                                                        Total           Deduction        Unsecured
                                                                         contracts)
                                                                                                       claim, if       for value of        claim
                                                                                                       partially        collateral
                                                                                                       secured           or setoff
16




17




18




19




20




Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                       page 3
1608620540.7
            Case 
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             Fill in this information to identify the case and this filing:


             Debtor Name Histogen Inc.

             United States Bankruptcy Court for the:          Southern District of California
                                                                         (State)

             Case number (If known):



             Official Form 202

             Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
             An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
             form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
             amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
             the date. Bankruptcy Rules 1008 and 9011.

             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
             and 3571.


                                Declaration and signature

                            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
                            individual serving as a representative of the debtor in this case.

                            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                            տ           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                            տ           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                            տ           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                            տ           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                            տ           Schedule H: Codebtors (Official Form 206H)


                            տ           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                            տ            Amended Schedule


                            ց           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official
                                        Form 204)


                            տ           Other document that requires a declaration

             I declare under penalty of perjury that the foregoing is true and correct.


             Executed on        04/18/2024
                                MM / DD / YYYY                                              Signature of individual signing on behalf of debtor

                                                                                            David M. Maggio
                                                                                            Printed name

                                                                                            Chief Executive Officer
                                                                                            Position or relationship to debtor



            1608620662.1
2:10 Case
     PM     24-01357-11    Filed 04/18/24 Histogen, Inc.
                                          Entered 04/18/24 12:51:17                     Doc 1         Pg. 23 of 145
03/21/24
Accrual Basis                                    Balance Sheet
                                               As of January 31, 2024
                                                                                       Jan 31, 24

                 ASSETS
                     Current Assets
                          Checking/Savings
                              11110 · SVB - Operating                                  3,546,614.24
                              11120 · SVB - Money Market                                  20,043.34
                              11130 · SVB - Collateral Money Market                        2,500.00
                              11510 · Chase - Commercial Checking                              0.00
                          Total Checking/Savings                                       3,569,157.58
                          Accounts Receivable
                              12100 · Accounts Receivable                                      0.00
                          Total Accounts Receivable                                            0.00
                          Other Current Assets
                              12200 · Accrued Accounts Receivable                              0.00
                              12900 · Reserve for Bad Debt                                     0.00
                              13100 · Due to/from Histogen Oncology
                                    13101 · Impairment of AB Assets                     -443,005.40
                                    13100 · Due to/from Histogen Oncology - Other        443,005.40
                              Total 13100 · Due to/from Histogen Oncology                      0.00
                              13210 · Notes Receivable-Oncology
                                    13211 · Impairment of AB Asset                      -424,480.68
                                    13220 · Interest Receivable-Oncology
                                        13221 · Impairment of AB Asset                  -301,719.54
                                        13220 · Interest Receivable-Oncology - Other     301,719.54
                                    Total 13220 · Interest Receivable-Oncology                 0.00
                                    13210 · Notes Receivable-Oncology - Other            424,480.68
                              Total 13210 · Notes Receivable-Oncology                          0.00
                              15110 · Prepaid Expenses                                    56,595.27
                              15120 · Prepaid Insurance                                        0.00
                              15130 · Prepaid Financing Cost                                   0.00
                              15140 · Prepaid Corporate Taxes                                  0.00
                              15410 · Other Current Assets                                     0.00
                              15920 · Prepaid Insurance-Conatus                                0.00
                          Total Other Current Assets                                      56,595.27
                     Total Current Assets                                              3,625,752.85
                     Fixed Assets
                          16110 · Computer/IT Equipment
                              16310 · Accum Deprec-Computer/IT Equip                           0.00
                              16110 · Computer/IT Equipment - Other                            0.00
                          Total 16110 · Computer/IT Equipment                                  0.00
                          16120 · Furniture & Fixtures
                              16320 · Accum Deprec-Furniture & Fixtur                          0.00
                              16120 · Furniture & Fixtures - Other                             0.00
                          Total 16120 · Furniture & Fixtures                                   0.00
                          16130 · Machinery & Equipment
                              16330 · Accum Deprec-Mach & Equip                                0.00
                              16130 · Machinery & Equipment - Other                            0.00



                                                                                                              Page 1 of 3
2:10 Case
     PM     24-01357-11    Filed 04/18/24 Histogen, Inc.
                                          Entered 04/18/24 12:51:17       Doc 1         Pg. 24 of 145
03/21/24
Accrual Basis                                    Balance Sheet
                                                As of January 31, 2024
                                                                         Jan 31, 24

                          Total 16130 · Machinery & Equipment                    0.00
                          16150 · Lab Equipment
                               16350 · Accum. Deprec. - Lab Equipment            0.00
                               16150 · Lab Equipment - Other                     0.00
                          Total 16150 · Lab Equipment                            0.00
                          16160 · Software
                               16360 · Accum Deprec - Software                   0.00
                               16160 · Software - Other                          0.00
                          Total 16160 · Software                                 0.00
                          16170 · Manufacturing Equipment
                               16370 · Accum Dep Manufacturing Equip             0.00
                               16170 · Manufacturing Equipment - Other           0.00
                          Total 16170 · Manufacturing Equipment                  0.00
                     Total Fixed Assets                                          0.00
                     Other Assets
                          17110 · Prepaid Insurance - LT                         0.00
                          17310 · Lordship Prepaid Royalty                       0.00
                          17410 · Investment in PUR
                               17411 · Reserve Impairment of Asset PUR    -200,000.00
                               17410 · Investment in PUR - Other           200,000.00
                          Total 17410 · Investment in PUR                        0.00
                          17420 · Investment in Oncology
                               17421 · Impairment of AB Asset             -324,365.24
                               17420 · Investment in Oncology - Other      324,365.24
                          Total 17420 · Investment in Oncology                   0.00
                          17510 · Deferred Tax Asset                             0.00
                          17511 · Deferred Tax Valuation Allow.                  0.00
                          18100 · Right-of-use asset
                               18110 · Right-of-use Asset Amortization           0.00
                               18100 · Right-of-use asset - Other                0.00
                          Total 18100 · Right-of-use asset                       0.00
                          18900 · ROU Asset-Conatus
                               18910 · ROU-Asset-Conatus Amortization      -98,044.60
                               18900 · ROU Asset-Conatus - Other            98,044.60
                          Total 18900 · ROU Asset-Conatus                        0.00
                     Total Other Assets                                          0.00
                 TOTAL ASSETS                                            3,625,752.85
                 LIABILITIES & EQUITY
                     Liabilities
                          Current Liabilities
                               Accounts Payable
                                    21100 · Accounts Payable               184,375.17
                                    21110 · Accounts Payable-Conatus             0.00
                               Total Accounts Payable                      184,375.17
                               Credit Cards
                                    21210 · SVB - Master Card 4638             262.28



                                                                                                Page 2 of 3
2:10 Case
     PM     24-01357-11    Filed 04/18/24 Histogen, Inc.
                                          Entered 04/18/24 12:51:17        Doc 1         Pg. 25 of 145
03/21/24
Accrual Basis                                     Balance Sheet
                                               As of January 31, 2024
                                                                         Jan 31, 24

                              Total Credit Cards                               262.28
                              Other Current Liabilities
                                    22200 · Accrued Accounts Payable        22,706.89
                                    22310 · Accrued Salaries                     0.00
                                    22320 · Accrued Vacation/PTO                 0.00
                                    22330 · Accrued Bonuses                      0.00
                                    22500 · Finance Lease-Current                0.00
                                    23610 · Lease Liability-Current              0.00
                                    24100 · Deferred Revenue                     0.00
                              Total Other Current Liabilities               22,706.89
                          Total Current Liabilities                        207,344.34
                          Long Term Liabilities
                              26610 · Lease Liability, net of current            0.00
                              27100 · Long Term Deferred License                 0.00
                              28100 · Capital Lease - LT                         0.00
                          Total Long Term Liabilities                            0.00
                     Total Liabilities                                     207,344.34
                     Equity
                          31000 · Common Stock
                              31110 · Common Stock - Par                     5,168.62
                              31120 · Common Stock - APIC               99,520,899.23
                          Total 31000 · Common Stock                    99,526,067.85
                          31200 · General APIC Pool                      3,596,457.73
                          33100 · Treasury Stock                                 -1.43
                          34100 · Retained Earnings                     -98,881,428.08
                          Net Income                                      -822,687.56
                     Total Equity                                        3,418,408.51
                 TOTAL LIABILITIES & EQUITY                              3,625,752.85




                                                                                                 Page 3 of 3
2:19 Case
     PM   24-01357-11     Filed 04/18/24 Histogen, Inc.
                                         Entered 04/18/24 12:51:17                      Doc 1   Pg. 26 of 145
03/21/24
                                     Statement of Cash Flows
                                                  January 2024
                                                                               Jan 24

                                OPERATING ACTIVITIES
                                    Net Income                                -822,687.56
                                    Adjustments to reconcile Net Income
                                    to net cash provided by operations:
                                         15120 · Prepaid Insurance             144,909.90
                                         15110 · Prepaid Expenses                2,000.07
                                         15920 · Prepaid Insurance-Conatus           0.02
                                         21100 · Accounts Payable              -69,249.04
                                         21210 · SVB - Master Card 4638             -19.18
                                         22200 · Accrued Accounts Payable      -13,058.16
                                         22310 · Accrued Salaries             -183,370.87
                                         22320 · Accrued Vacation/PTO                -4.80
                                         22330 · Accrued Bonuses              -122,247.25
                                Net cash provided by Operating Activities    -1,063,726.87
                            Net cash increase for period                     -1,063,726.87
                            Cash at beginning of period                      4,632,884.45
                        Cash at end of period                                3,569,157.58




                                                                                                        Page 1 of 1
2:13 Case
     PM      24-01357-11             Filed 04/18/24        Histogen, Inc.
                                                           Entered 04/18/24 12:51:17   Doc 1   Pg. 27 of 145
03/21/24
Accrual Basis                                              Profit & Loss
                                                            January 2024
                                                               Jan 24
   Ordinary Income/Expense
             Expense
                 61010 ꞏ Salaries                              30,125.00
                 61200 ꞏ Payroll Taxes                         18,710.27
                 61300 ꞏ Paid Time Off                              -4.80
                 61400 ꞏ Group Insurance                            0.00
                 61500 ꞏ Workers' Comp                              0.00
                 62300 ꞏ Payroll Services                           0.00
                 63400 ꞏ Auto Rental, Gas, Mileage                200.38
                 64110 ꞏ Legal Corporate / General             51,450.00
                 64120 ꞏ Legal SEC                                  0.00
                 64140 ꞏ Legal IP                               5,616.89
                 64141 ꞏ Annuity Renewal / Maint Fees               0.00
                 64210 ꞏ Accounting Fees - Audit                    0.00
                 64220 ꞏ Accounting Fees - Tax                 25,725.00
                 64310 ꞏ IR / Public Company Services          47,266.54
                 64330 ꞏ Outside Services                       2,496.34
                 64340 ꞏ Consulting                            30,125.00
                 64350 ꞏ Temporary Help                         4,147.00
                 65100 ꞏ Commerial / Liability Insurance            0.00
                 65200 ꞏ Product Liability Insurance           16,658.52
                 65300 ꞏ D&O / EPL Insurance                  582,033.40
                 66120 ꞏ Computer Hardware / Supplies               0.00
                 66150 ꞏ Postage / Shipping                       111.25
                 66160 ꞏ Dues & Subscriptions                      87.81
                 66210 ꞏ Bank Fees                                 50.00
                 66220 ꞏ Business Licenses and Fees               865.05
                 66240 ꞏ Software License / Maintenance           104.98
                 66320 ꞏ Equipment Repairs & Maintenance          -923.90
                 66600 ꞏ Property and State Taxes               -5,425.00
                 67130 ꞏ Royalty Payments                           0.00
                 67140 ꞏ IP Reimbursement                       1,233.00
                 69120 ꞏ PK & Tox Studies                       1,135.02
                 69310 ꞏ Drug Product                           7,500.00
                 69350 ꞏ Drug Storage                           3,400.00
             Total Expense                                    822,687.75
   Net Ordinary Income                                        -822,687.75
   Other Income/Expense
       Other Income
             81100 ꞏ Interest Income                                0.19
       Total Other Income                                           0.19
   Net Other Income                                                 0.19
Net Income                                                    -822,687.56




                                                                                                       Page 1 of 1
Case 24-01357-11         Filed 04/18/24               Entered 04/18/24 12:51:17                                       Doc 1              Pg. 28 of 145




  TAXPAYER:     HISTOGEN, INC. AND SUBSIDIARIES                                                                                   XX-XXXXXXX


                                      INSTRUCTIONS FOR FILING
                               U.S. CORPORATION INCOME TAX RETURN

                                                FOR THE YEAR ENDED
                                                  12          31          2022


 To be signed                          (X )             An officer of the Corporation on page 1 of Form 1120
 and dated by                          ( )              An officer of each company on the controlled group consent form



 Amount of tax                         Total tax                                               $                              0
                                       Less: Payments and credits                              $<                             0 >
                                       Plus: Penalties and Interest                            $                              0
                                       Balance due (overpayment)                               $                              0
 Payment/Balance Due Comment

 Balance due                           B eginning J anuary 01, 2011, corporat ions must use elect ronic f und s t ransf ers t o make all f ed eral t ax
                                       d eposit s such as corporat e income t ax. Forms 8109 and 8109- B , Fed eral Tax Coupon, cannot b e used
                                       af t er D ecemb er 31, 2010. You h ave t h e opt ion t o use t h e Elect ronic Fed eral Tax Pay ment Syst em (EFTPS),
                                       t h e Fed eral Tax Applicat ion(FTA) f or t h e same- d ay w ire pay ment or t o use a t h ird part y t o make t h e d eposit s
                                       on your b eh alf . If t h e Elect ronic Fed eral Tax Pay ment Sy st em (EFTPS) is used , t h e pay ment must b e
                                       init iat ed b y 8 p.m. East ern t ime t h e d ay b ef ore t h e d ue d at e of t h e b alance d ue. Please ch eck t h e
                                       Fed eral f iling inst ruct ions regard ing elect ronic d eposit req uirement b ef ore y ou mak e y our pay ment .



 Overpayment, if any                   (    )             $                                0        refunded to you
                                       (    )             $                                0        credited to estimated tax




 Mail the original signed tax
 return to (if paper file):            E-FILED ON YOUR BEHALF




                                       Note: Remove this instruction sheet from the return before mailing the return to the IRS.


 Return must be mailed on or           October 16, 2023
 before
                                        Certified mail recommended, with return receipt. For metered mail, the meter date
                                        is not evidence of timely filing.

 Special Instructions
            Case
DocuSign Envelope ID: 24-01357-11        Filed 04/18/24
                      878917E7-F737-4113-958D-FACC2611E341                                      Entered 04/18/24 12:51:17                                     Doc 1             Pg. 29 of 145
     Form   8453- CORP                                               E- file Declaration for Corporations
     (D ecemb er 2022)
                                                       File electronically with Form 1120, 1120- F, or 1120- S. Do not file paper copies.                                                  OM B No. 1545- 0123
                                                                Go to www.irs.gov/Form8453CORP for the latest information.
     D epart ment of t h e Treasury
     Int ernal Revenue Service
                                             For calendar year 20 22              , or tax year beginning                          , 20          , ending              , 20
     Name of corporat ion                                                                                                                                             Employer identification number
      HISTOGEN, INC. AND SUBSIDIARIES                                                                                                                                 XX-XXXXXXX
      Part I            Information (Whole dollars only)

       1     Total income (Form 1120, line 11)                                                                                                                         1                           3 , 812 , 484


       2     Total income (Form 1120- F, Section II, line 11)                                                                                                          2


       3     Total income (loss) (Form 1120- S, line 6)                                              3
      Part II        Declaration of Officer (see instructions) Be sure to keep a copy of the corporation's tax return.
       A           I consent that the corporation's refund be directly deposited as designated on the Form 8050, Direct Deposit of
                   Corporate Tax Refund, or Form 8302, Electronic Deposit of Tax Refund of $1 Million or More, that will be electronically
                   transmitted with the corporation's federal income tax return.
       B X         I do not want direct deposit of the corporation's refund or the corporation is not receiving a refund.
       C           I authorize the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry
                   to the financial institution account indicated in the tax preparation software for payment of the corporation's federal taxes
                   owed on this return, and the financial institution to debit the entry to this account. To revoke a payment, I must contact the
                   U.S. Treasury Financial Agent at 1- 888- 353- 4537 no later than 2 business days prior to the payment (settlement) date. I
                   also authorize the financial institutions involved in the processing of the electronic payment of taxes to receive confidential
                   information necessary to answer inquiries and resolve issues related to the payment.

         If the corporation is filing a balance due return, I understand that if the IRS does not receive full and timely payment of its tax
      liability, the corporation will remain liable for the tax liability and all applicable interest and penalties.

     Und er penalt ies of perjury, I d eclare t h at I am an of f icer of t h e ab ove corporat ion and t h at t h e inf ormat ion I h ave given my elect ronic ret urn originat or (ERO), t ransmit t er,
     and / or int ermed iat e service provid er (ISP) and t h e amount s in Part I ab ove agree w it h t h e amount s on t h e correspond ing lines of t h e corporat ion's f ed eral income t ax ret urn.
     To t h e b est of my know led ge and b elief , t h e corporat ion's ret urn is t rue, correct , and complet e. I consent t o my ERO, t ransmit t er, and / or ISP send ing t h e corporat ion's
     ret urn, t h is d eclarat ion, and accompanying sch ed ules and st at ement s t o t h e IRS. I also consent t o t h e IRS send ing my ERO, t ransmit t er, and / or ISP an ack now led gment of
     receipt of t ransmission and an ind icat ion of w h et h er or not t h e corporat ion's ret urn is accept ed , and , if reject ed , t h e reason(s) f or t h e reject ion. If t h e processing of t h e
     corporat ion's ret urn or ref und is d elayed , I aut h orize t h e IRS t o d isclose t o my ERO, t ransmit t er, and / or ISP t h e reason(s) f or t h e d elay , or w h en t h e ref und w as sent .



      Sign                                                                                                             9/19/2023
                                                                                                                                                          CFO
      Here
                            Signature of officer SUSAN KNUDSON                            Title                          Date
      Part III          Declaration of Electronic Return Originator (ERO) and Paid Preparer (see instructions)
     I d eclare t h at I h ave review ed t h e ab ove corporat ion's ret urn and t h at t h e ent ries on Form 8453- CORP are complet e and correct t o t h e b est of my know led ge. If I am only a
     collect or, I am not responsib le f or review ing t h e ret urn and only d eclare t h at t h is f orm accurat ely ref lect s t h e d at a on t h e ret urn. Th e corporat e of f icer w ill h ave signed t h is
     f orm b ef ore I sub mit t h e ret urn. I w ill give t h e of f icer a copy of all f orms and inf ormat ion t o b e f iled w it h t h e IRS, and h ave f ollow ed all ot h er req uirement s in Pub. 3112, IRS
     e- f ile Applicat ion and Part icipat ion, and Pub. 4163, M od ernized e- File (M eF) Inf ormat ion f or Aut h orized IRS e- f ile Provid ers f or B usiness Ret urns. If I am also t h e Paid
     Preparer, und er penalt ies of perjury, I d eclare t h at I h ave examined t h e ab ove corporat ion's ret urn and accompany ing sch ed ules and st at ement s, and t o t h e b est of my
     k now led ge and b elief , t h ey are t rue, correct , and complet e. Th is Paid Preparer d eclarat ion is b ased on all inf ormat ion of w h ich I h ave any know led ge.
                                                     LISA LARKIN
                         ERO's signature                                                          Date                    Ch eck if              Check if self-                   ERO's SSN or PTIN
     ERO's                                                                                                                also paid
                                                                                                                                                 employed
                                                                                                    09/18/2023            preparer        X                                       P00158478
     Use
                         Firm's name (or yours        DELOITTE TAX LLP                                                                                                        EIN XX-XXXXXXX
     Only                if self - employed ),
                         ad d ress, and Z IP cod e    12830 EL CAMINO REAL, STE 600                                                                                           Phone no.
                                                      SAN DIEGO                           CA 92130                                                                              619-232-6500
     Und er penalt ies of perjury, I d eclare t h at I h ave examined t h e ab ove corporat ion's ret urn and accompany ing sch ed ules and st at ement s, and t o t h e b est of my k now led ge
     and b elief , t h ey are t rue, correct , and complet e. Th is d eclarat ion is b ased on all inf ormat ion of w h ich I h ave any know led ge.

                            Print/Type preparer's name                              Preparer's signature                                         Date                  Check          if       PTIN
                                                                                                                                                                       self- employed
     Paid                   Firm's name                                                                                                                                      Firm's EIN
     Preparer               Firm's address                                                                                                                                    Phone no.
     Use Only
      For Privacy Act and Paperwork Reduction Act Notice, see instructions.                                                                                                      Form    8453- CORP (12- 2022)




      ERF                                                                                                                                                                          F2.00.01               US845CRP
            Case
DocuSign Envelope ID: 24-01357-11        Filed 04/18/24
                      878917E7-F737-4113-958D-FACC2611E341                                       Entered 04/18/24 12:51:17                                    Doc 1             Pg. 30 of 145

                 1120                                              U.S. Corporation Income Tax Return                                                                                        OM B No. 1545- 0123

         Form                                                                                       ,        , ending                                                 , 20
                                               For calendar year 2022 or tax year beginning
         D epart ment of t h e Treasury
         Int ernal Revenue Service                     Go to www.irs.gov/Form1120 for instructions and the latest information.
                                                                                                                                                                                                   2022
   A Check if:                                              Name, Numb er, st reet , and room or suit e no. If a P.O. b ox, see inst ruct ions.                       B Employer identification number
   1a Consolid at ed ret urn                                Cit y or t ow n, st at e or province, count ry , and Z IP or f oreign post al cod e
      (at t ach Form 851)                 X                                                                                                                            XX-XXXXXXX
                                                   TYPE
    b L if e/ nonlif e consoli-                               HISTOGEN, INC. AND SUBSIDIARIES                                                                         C D at e incorporat ed
      d at ed ret urn                              OR
   2 Personal h old ing co.                                   10655 SORRENTO VALLEY ROAD, STE 200                                                                          07    13        2005
      (at t ach Sch . PH )                         PRINT
   3 Personal service corp.                                                                                                                                           D Tot al asset s (see inst ruct ions)
      (see inst ruct ions)
   4     Sch ed ule M - 3 at t ach ed     X                   SAN DIEGO                         CA     92121                                                           $               20 , 140 , 944
                                                   E Ch eck if :   (1)       Init ial ret urn   (2)       Final ret urn   (3)         Name ch ange      (4)        Ad d ress ch ange

                  1a     Gross receipts or sales                                                                                        1a                    3 , 769 , 404
                   b     Returns and allowances                                                                                         1b                                 0
                   c     Balance. Subtract line 1b from line 1a                                                                                                                 1c                     3 , 769 , 404
             I    2      Cost of goods sold (attach Form 1125- A)                                                                                                                2                                 0
             n                                                                                                                                                                                         3 , 769 , 404
             c    3      Gross profit. Subtract line 2 from line 1c                                                                                                              3
             o    4      Dividends and inclusions (Schedule C, line 23)                                                                                                          4                                 0
             m
             e    5      Interest                                                                                                                                                5                         43 , 080
                  6      Gross rents                                                                                                                                             6                                 0
                  7      Gross royalties                                                                                                                                         7                                 0
                  8      Capital gain net income (attach Schedule D (Form 1120))                                                                                                 8                                 0
                  9      Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)                                                                                  9                                 0
                 10      Other income (see instructions- - attach statement)                                                                                                    10                                 0
                 11      Total income. Add lines 3 through 10                                                                                                                   11                     3 , 812 , 484
          (S                                                                                                                                                                                           1 , 523 , 021
           e     12      Compensation of officers (see instructions- - attach Form 1125- E)                                                                                     12
           e
                 13      Salaries and wages (less employment credits)                                                                                                           13                         76 , 561
          i
          n
          s      14      Repairs and maintenance                                                                                                                                14                         71 , 951
          t
          r                                                                                                                                                                                                        0
          u      15      Bad debts                                                                                                                                              15
          c                                                                                                                                                                                            1 , 848 , 417
          t      16      Rents                                                                                                                                                  16
          i
       D on      17      Taxes and licenses                                                               STATEMENT 1                                                           17                        379 , 894
       e s                                                                                                                                                                                                    1 , 916
       d f       18      Interest (see instructions)                                                                                                                            18
       u o       19      Charitable contributions                                                                                                                               19                                 0
       c r
       t l       20      Depreciation from Form 4562 not claimed on Form 1125- A or elsewhere on return (attach Form 4562)                                                      20                        217 , 820
       i i
       o mi      21      Depletion                                                                                                                                              21                                 0
       n t
       s a       22      Advertising                                                                                                                                            22                                 0
          t
         o
          i      23      Pension, profit- sharing, etc., plans                                                                                                                  23                                 0
          n
          s      24      Employee benefit programs                                                                                                                              24                        148 , 147
         o
          n      25      Reserved for future use                                                                                                                                25
         d                                                                                                STATEMENT 2                                                                                  5 , 293 , 337
          e      26      Other deductions (attach statement)                                                                                                                    26
         d
          u      27      Total deductions. Add lines 12 through 26                                                                                                              27                     9 , 561 , 064
          c
          t      28      Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11.                                              28                    - 5 , 748 , 580
          i
         o                                                                                                                       0
          n      29a     Net operating loss deduction (see instructions)                               29a
         s.)
                    b    Special deductions (Schedule C, line 24)                                      29b                       0
                   c     Add lines 29a and 29b                                                                                                                                  29c                                0
                 30      Taxable income. Subtract line 29c from line 28. See instructions                                                                                       30                    - 5 , 748 , 580
       T
       a CP      31      Total tax (Schedule J, Part I, line 11)                                                                                                                31                                 0
       x, r a
          e
       Rd y
                 32      Reserved for future use                                                                                                                                32
       e i                                                                                                                                                                                                         0
       f t m     33      Total payments and credits (Schedule J, Part III, line 23)                                                                                             33
       u
       n s, e    34      Estimated tax penalty. See instructions. Check if Form 2220 is attached                                                                                34                                 0
       d a n
       a n                                                                                                                                                                                                         0
       b d t     35      Amount owed. If line 33 is smaller than the total of lines 31 and 34, enter amount owed                                                                35
       l    s                                                                                                                                                                                                      0
       e         36      Overpayment. If line 33 is larger than the total of lines 31 and 34, enter amount overpaid                                                             36
                 37      Enter amount from line 36 you want: Credited to 2023 estimated tax                         0 Refunded                                                  37                                 0
                      Und er penalt ies of perjury , I d eclare t h at I h ave examined t h is ret urn, includ ing accompanying sch ed ules and st at ement s, and t o t h e b est of my know led ge and
                      b elief , it is t rue, correct , and complet e. D eclarat ion of preparer (ot h er t h an t axpayer) is b ased on all inf ormat ion of w h ich preparer h as any k now led ge.
        Sign                                                                                                                                                            M ay t h e IRS d iscuss t h is ret urn
        Here                                                                                          9/19/2023
                                                                                                                                CFO                                     w it h t h e preparer sh ow n b elow
                         Signat ure of of f icer                                                       D at e               Tit le                                      See inst ruct ions.
                                                     SUSAN KNUDSON                                                                                                                                X     Yes         No
                          Print / Ty pe preparer's name                               Preparer's signat ure                                    D at e                                       PTIN
        Paid                                                                                                                                                          Ch eck          if
                                                                                                                                                  09/18/2023
        Preparer LISA LARKIN                                                                                                                                          self - employ ed        P00158478
        Use Only Firm's name                       DELOITTE TAX LLP                                                                                                             Firm's EIN            XX-XXXXXXX
                          Firm's ad d ress         12830 EL CAMINO REAL, STE 600                                                                                                Ph one no.

                                                                                                                SAN DIEGO                      CA       92130                     619-232-6500
         ,
         For Paperwork Reduction Act Notice, see separate instructions.                                                                                       F2.00.01          US1120P1 . Form 1120 (2022)
         ERF
          Case 24-01357-11                  Filed 04/18/24           Entered 04/18/24 12:51:17                   Doc 1              Pg. 31 of 145

Form 1120 (2022)         HISTOGEN, INC. AND SUBSIDIARIES                                                                                   XX-XXXXXXX           Page 2

Schedule C             Dividends, Inclusions, and Special Deductions                               (a) D ivid end s and          (b) %         (c) Special d ed uct ions
                       (see instructions)                                                              inclusions                                    (a) x (b)

 1       Dividends from less- than- 20%- owned domestic corporations (other than debt-
         financed stock)                                                                                                  0        50                                0

 2       Dividends from 20%- or- more- owned domestic corporations (other than debt-
         financed stock)                                                                                                  0        65                                0

                                                                                                                                    See
                                                                                                                              inst ruct ions
 3       Dividends on certain debt- financed stock of domestic and foreign corporations                                   0                                          0


 4       Dividends on certain preferred stock of less- than- 20%- owned public utilities                                  0       23.3                               0


 5       Dividends on certain preferred stock of 20%- or- more- owned public utilities                                    0       26.7                               0


 6       Dividends from less- than- 20%- owned foreign corporations and certain FSCs                                      0        50                                0


 7       Dividends from 20%- or- more- owned foreign corporations and certain FSCs                                        0        65                                0


 8       Dividends from wholly owned foreign subsidiaries                                                                 0       100                                0

                                                                                                                                    See
                                                                                                                              inst ruct ions
 9       Subtotal. Add lines 1 through 8. See instructions for limitations                                                0                                          0
10       Dividends from domestic corporations received by a small business investment
         company operating under the Small Business Investment Act of 1958                                                0       100                                0


11       Dividends from affiliated group members                                                                          0       100                                0


12       Dividends from certain FSCs                                                                                      0       100                                0
13       Foreign- source portion of dividends received from a specified 10%- owned foreign
         corporation (excluding hybrid dividends) (see instructions)                                                      0       100                                0
14       Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
         (including any hybrid dividends)                                                                                 0


15       Reserved for future use
16a      Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC)
         of the stock of a lower- tier foreign corporation treated as a dividend (attach Form(s)
         5471) (see instructions)                                                                                         0       100                                0
     b   Subpart F inclusions derived from hybrid dividends of tiered corporations (attach
         Form(s) 5471) (see instructions)                                                                                 0
     c   Other inclusions from CFCs under subpart F not included on line 16a, 16b, or 17
         (attach Form(s) 5471) (see instructions)                                                                         0


17       Global Intangible Low- Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992)                                  0


18       Gross- up for foreign taxes deemed paid                                                                          0


19       IC- DISC and former DISC dividends not included on line 1, 2, or 3                                               0


20       Other dividends                                                                                                  0


21       Deduction for dividends paid on certain preferred stock of public utilities                                                                                 0


22       Section 250 deduction (attach Form 8993)                                                                                                                    0
23       Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and
         on page 1, line 4                                                                                         0
24       Total special deductions. Add column (c), lines 9 through 22, column (c). Enter here and on page 1, line 29b                                                0
                                                                                                                                                    Form 1120 (2022)




                                                                                                                                     F2.00.01         . US1120P2
         Case 24-01357-11
                 HISTOGEN, INC. ANDFiled  04/18/24
                                   SUBSIDIARIES                 Entered 04/18/24 12:51:17                  Doc 1       Pg. 32 of 145
                                                                                                                        XX-XXXXXXX
Form 1120 (2022)                                                                                                                             Page 3
Schedule J           Tax Computation and Payment (see instructions)
Part I - Tax Computation
  1    Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)). See inst.
  2    Income tax. See instructions                                                                                     2                        0
  3    Base erosion minimum tax amount (attach Form 8991)                                                               3                        0
  4    Add lines 2 and 3                                                                                                4                        0
  5a   Foreign tax credit (attach Form 1118)                                               5a                      0
   b   Credit from Form 8834 (see instructions)                                            5b                      0
   c   General business credit (attach Form 3800)                                          5c                      0
   d   Credit for prior year minimum tax (attach Form 8827)                                5d                      0
   e   Bond credits from Form 8912                                                         5e                      0
  6    Total credits. Add lines 5a through 5e                                                                           6                        0
  7    Subtract line 6 from line 4                                                                                      7                        0
  8    Personal holding company tax (attach Schedule PH (Form 1120))                                                    8                        0
  9a   Recapture of investment credit (attach Form 4255)                                        9a                 0
   b   Recapture of low- income housing credit (attach Form 8611)                               9b                 0
   c   Interest due under the look- back method- - completed long- term contracts (attach
       Form 8697)                                                                               9c                 0
   d   Interest due under the look- back method- - income forecast method (attach Form
       8866)                                                                                    9d                 0
   e   Alternative tax on qualifying shipping activities (attach Form 8902)                     9e                 0
  f Interest/tax due under section 453A(c) and/or section 453(l)                                9f                 0
  g Other (see instructions- - attach statement)                                                9g                 0
 10 Total. Add lines 9a through 9g                                                                                     10                        0
 11 Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31                                               11                        0
Part II- Reserved For Future Use
 12 Reserved for future use                                                                                            12
Part III- Payments and Refundable Credits
  13 2021 overpayment credited to 2022                                                                                 13                        0
  14 2022 estimated tax payments                                                            0                          14                        0
  15 2022 refund applied for on Form 4466                                                                              15 (                      0)
  16 Combine lines 13, 14, and 15                                                                                      16                        0
  17 Tax deposited with Form 7004                                                                                      17                        0
  18 Withholding (see instructions)                                                                                    18                        0
  19 Total payments. Add lines 16, 17, and 18                                                                          19                        0
  20 Refundable credits from:
    a Form 2439                                                                                 20a                0
    b Form 4136                                                                                 20b                0
    c Reserved for future use                                                                   20c
    d Other (attach statement- - see instructions)                                              20d                0
  21   Total credits. Add lines 20a through 20d                                                                        21                        0
  22   Reserved for future use                                                                                         22
  23   Total payments and credits. Add lines 19 and 21. Enter here and on page 1, line 33                              23                        0
                                                                                                                                .   Form 1120 (2022)




                                                                                                                            F2.00.01    US1120P3
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Form 1120 (2022)        HISTOGEN, INC. AND SUBSIDIARIES                                                                               XX-XXXXXXX          Page 4
Schedule K             Other Information (see instructions)
  1      Check accounting method:         a         Cash       b X Accrual           c        Other (specify)                                         Yes No
  2      See the instructions and enter the:
   a     Business activity code no.      541990
   b     Business activity       R&D REGENERATIVE
   c     Product or service      REGENERATIVE MEDICINE
  3      Is the corporation a subsidiary in an affiliated group or a parent- subsidiary controlled group?                                                   X
         If "Yes," enter name and EIN of the parent corporation


  4  At the end of the tax year:
   a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax- exempt
     organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
     corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G)                                X
   b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
     classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G)                X
  5  At the end of the tax year, did the corporation:
   a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to
     vote of any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership,
     see instructions. If "Yes," complete (i) through (iv) below.                                                                             X
                                                                                    (ii) Employer          (iii) Country of         (iv) Percentage
                           (i) Name of Corporation                            Identification Number          Incorporation          Owned in Voting
                                                                                         (if any)                                        Stock

ADAPTIVE BIOLOGIX, INC.                                                            XX-XXXXXXX                             US                         68 . 000


                                                                                                                                                      0 . 000


                                                                                                                                                      0 . 000
     b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic
         partnership (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership,              X
         see instructions. If "Yes," complete (i) through (iv) below.
                                                                                       (ii) Employer               (iii) Country of
                                                                                                                                        (iv) M aximum Percent age
                               (i) Name of Entity                                  Identification Number             Organization
                                                                                                                                             Ow ned in Prof it ,
                                                                                            (if any)                                         L oss, or Capit al


                                                                                                                                                      0 . 000


                                                                                                                                                      0 . 000


                                                                                                                                                      0 . 000
  6      During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
         excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316                                                 X
         If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
         If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
  7      At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
         classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock?                X
         For rules of attribution, see section 318. If "Yes," enter:
         (a) Percentage owned             .000            and (b) Owner's country
         (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign- Owned U.S. Corporation or a Foreign
         Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached
  8      Check this box if the corporation issued publicly offered debt instruments with original issue discount
         If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
 9       Enter the amount of tax- exempt interest received or accrued during the tax year         $                       0
10       Enter the number of shareholders at the end of the tax year (if 100 or fewer)
11       If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions)
         If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502- 21(b)(3) must be attached
         or the election will not be valid.
12       Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
         page 1, line 29a.)                                                                                               $           66 , 275 , 443
                                                                                                                                            . Form 1120 (2022)




                                                                                                                                     F2.00.01       US1120P4
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                        HISTOGEN, INC. AND SUBSIDIARIES                                                                            XX-XXXXXXX
Form 1120 (2022)                                                                                                                                     Page 5
Schedule K            Other Information (continued from page 4)
13       Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end       Yes     No
         of the tax year less than $250,000?                                                                                                            X
         If "Yes," the corporation is not required to complete Schedules L, M- 1, and M- 2. Instead, enter the total amount of
         cash distributions and the book value of property distributions (other than cash) made during the tax year          $                0
14       Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions                         X
         If "Yes," complete and attach Schedule UTP.
15a      Did the corporation make any payments in 2022 that would require it to file Form(s) 1099?                                                X
  b      If "Yes," did or will the corporation file all required Form(s) 1099?                                                                    X
16       During this tax year, did the corporation have an 80% or more change in ownership, including a change due to redemption of its
         own stock?                                                                                                                                     X
17       During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
         of its assets in a taxable, non- taxable, or tax deferred transaction?                                                                         X
18       Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
         market value of more than $1 million?                                                                                                          X
19       During the corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042- S
         under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code?                                            X
20       Is the corporation operating on a cooperative basis?                                                                                           X
21       During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
         267A? See instructions                                                                                                                         X
         If "Yes," enter the total amount of the disallowed deductions   $                         0
22       Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
         and (3))                                                                                                                                       X
         If "Yes," complete and attach Form 8991.
23       Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
         during the tax year? See instructions                                                                                                          X
24       Does the corporation satisfy one or more of the following? See instructions                                                                    X
  a      The corporation owns a pass- through entity with current, or prior year carryover, excess business interest expense.
  b      The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
         current tax year are more than $27 million and the corporation has business interest expense.
     c   The corporation is a tax shelter and the corporation has business interest expense.
         If "Yes," complete and attach Form 8990.
25       Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?                                                             X
         If "Yes," enter amount from Form 8996, line 15                     $                    0
26       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
         indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
         50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If "Yes," list the ownership
         percentage by vote and by value. See instructions                                                                                              X
         Percentage: By Vote               0 . 0000                       By Value                     0 . 0000
                                                                                                                                        .   Form 1120 (2022)




                                                                                                                                 F2.00.01         US1120P5
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                                   SUBSIDIARIES                                      Entered 04/18/24 12:51:17 XX-XXXXXXX
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Form 1120 (2022)                                                                                                                                                                           Page 6
Schedule L Balance Sheets per Books                                                   Beginning of tax year                                                 End of tax year
                             Assets                                                 (a)                    (b)                                      (c)                           (d)
 1    Cash                                                                                                         18 , 685 , 367                                                 12 , 509 , 060
 2a   Trade notes and accounts receivable                                              805 , 510                                                          782 , 355
  b   Less allowance for bad debts                                           (         397 , 412 )                      408 , 098 (                       397 , 412 )                   384 , 943
 3    Inventories                                                                                                        60 , 685                                                              0
 4    U.S. government obligations                                                                                                0                                                             0
 5    Tax- exempt securities (see instructions)                                                                                  0                                                             0
 6    Other current assets (attach statement)                                    STATEMENT 3                         2 , 610 , 753              STATEMENT 8                        1 , 291 , 190
 7    Loans to shareholders                                                                                                      0                                                             0
 8    Mortgage and real estate loans                                                                                             0                                                             0
 9    Other investments (attach statement)                                       STATEMENT 4                            339 , 365               STATEMENT 9                             339 , 365
10a   Buildings and other depreciable assets                                           460 , 287                                                     1 , 209 , 506
  b   Less accumulated depreciation                                          (                  0)                      460 , 287 (                       774 , 007 )                   435 , 499
11a   Depletable assets                                                                         0                                                                 0
  b   Less accumulated depletion                                             (                  0)                               0 (                              0)                           0
12    Land (net of any amortization)                                                                                             0                                                             0
13a   Intangible assets (amortizable only)                                                      0                                                                 0
  b   Less accumulated amortization                                          (                  0)                               0 (                              0)                           0
14    Other assets (attach statement)                                            STATEMENT 5                         5 , 576 , 792              STATEMENT 10                       5 , 180 , 887
15    Total assets                                                                                                 28 , 141 , 347                                                 20 , 140 , 944
        Liabilities and Shareholders' Equity
16    Accounts payable                                                                                               1 , 364 , 434                                                      359 , 118
17    M ort gages, not es, b ond s payab le in less t h an 1 year                                                                0                                                             0
18    Other current liabilities (attach statement)                               STATEMENT 6                            826 , 323               STATEMENT 11                            833 , 341
19    Loans from shareholders                                                                                                    0                                                             0
20    M ort gages, not es, b ond s payab le in 1 year or more                                                                    0                                                             0
21    Other liabilities (attach statement)                                       STATEMENT 7                         4 , 748 , 872              STATEMENT 12                       4 , 483 , 119
22    Capital stock: a Preferred stock                                                          0                                                                 0
                          b Common stock                                                        0                                0                                0                            0
23    Additional paid- in capital                                                                                  98 , 843 , 551                                                102 , 678 , 458
24    Ret ained earnings - Appropriat ed (at t ach st at ement )                                                                 0                                                             0
25    Retained earnings - Unappropriated                                                                          - 77 , 641 , 832                                               - 88 , 213 , 091
26    Ad just ment s t o sh areh old ers' eq uit y (at t ach st at ement )                                                       0                                                             0
27    Less cost of treasury stock                                                                    (                           1)                                     (                      1)
28    Total liabilities and shareholders' equity                                                                   28 , 141 , 347                                                 20 , 140 , 944
Schedule M- 1                   Reconciliation of Income (Loss) per Books With Income per Return
                                Note: The corporation may be required to file Schedule M- 3. See instructions.
1     Net income (loss) per books                                                               0         7 Income recorded on books this year not
2     Federal income tax per books                                                              0           included on this return (itemize):
3     Excess of capital losses over capital gains                                               0           Tax- exempt int erest $                0
4     Income subject to tax not recorded on books
      this year (itemize):                                                                                                                                        0                            0
                                                                                                0         8 Deductions on this return not charged
5     Expenses recorded on books this year not                                                              against book income this year (itemize):
      deducted on this return (itemize):                                                                  a Depreciation $                           0
 a    Depreciation             $                                       0                                  b Charitable contributions $               0
 b    Charitable contributions $                                       0
 c    Travel & entertainment $                                         0                                                                                          0                            0
                                                                       0                        0         9 Add lines 7 and 8                                                                  0
6     Add lines 1 through 5                                                                     0        10 Income (page 1, line 28) - line 6 less line 9                                      0
Schedule M- 2                   Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
1     Balance at beginning of year                                                - 77 , 641 , 832        5 Distributions:            a Cash                                                   0
2     Net income (loss) per books                                                 - 10 , 571 , 259                                    b Stock                                                  0
3     Other increases (itemize):                                                                                                      c Property                                               0
                                                                                                          6 Ot h er d ecreases (it emize):                                                     0
                                                                                                0         7 Add lines 5 and 6                                                                  0
4     Add lines 1, 2, and 3                                                       - 88 , 213 , 091        8 Balance at end of year (line 4 less line 7)                          - 88 , 213 , 091
                                                                                                                                                                             Form 1120 (2022)
                                                                                                                                                                                   .
                                                                                                                                                                      F2.00.01          US1120P6
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Form    851
(Rev. Oct ob er 2016)
                                  For tax year ending      12
                                                                   Affiliations Schedule
                                                                      31               ,    2022                     OM B No. 1545- 0123

                                               File with each consolidated income tax return.
D epart ment of t h e Treasury
Int ernal Revenue Service       Information about Form 851 and its instructions is at www.irs.gov/form851.
Name of common parent corporation                                                                        Employer identification number
 HISTOGEN, INC.                                                                                                                            XX-XXXXXXX
Number, street, and room or suite no. If a P.O. box, see instructions.
 10655 SORRENTO VALLEY ROAD, STE 200
City or town, state, and ZIP code
 SAN DIEGO                      CA     92121
  Part I       Overpayment Credits, Estimated Tax Payments, and Tax Deposits (see instructions)
                                                                                                                                  Port ion of
Corp.                                                                                                   Employ er            overpay ment cred it s               Port ion of t ax
                                       Name and ad d ress of corporat ion                             id ent if icat ion                                         d eposit ed w it h
 No.                                                                                                                            and est imat ed
                                                                                                          numb er                                                   Form 7004
                                                                                                                                t ax payment s

    1   Common parent corporation                                                                                                                      0                                   0
        Subsidiary corporations:
    2    HISTOGEN THERAPEUTICS, INC.                                                                XX-XXXXXXX                                         0                                   0
         10655 SORRENTO VALLEY ROAD, STE 200
         SAN DIEGO                        CA     92121


    0                                                                                                                                                  0                                   0




    0                                                                                                                                                  0                                   0




    0                                                                                                                                                  0                                   0




    0                                                                                                                                                  0                                   0




        Totals (Must equal amounts shown on the consolidated tax return.)                                                                              0                                   0
 Part II       Principal Business Activity, Voting Stock Information, Etc. (see instructions)
                                                                                      D id t h e sub sid iary                    St ock h old ings at b eginning of y ear
                                                                            PB A     mak e any nond ivid end
Corp.
                  Principal b usiness act ivit y (PB A)                     Cod e
                                                                                         d ist rib ut ions?            Numb er          Percent age                          Ow ned b y
 No.                                                                        No.                                                                            Percent age
                                                                                                                         of              of vot ing         of value        corporat ion
                                                                                        Yes          No                sh ares            pow er                                no.
        Common parent corporation
    1    MEDICAL RESEARCH                                            541990
        Subsidiary corporations:
    2    MEDICAL RESEARCH                                            541990                          X                             0    1 0 0 . 0 0 0 % 1 0 0 . 0 0 0%                1


    0                                                                                                                              0        0 . 000%         0 . 0 0 0%               0


    0                                                                                                                              0        0 . 000%         0 . 0 0 0%               0


    0                                                                                                                              0        0 . 000%         0 . 0 0 0%               0


    0                                                                                                                              0        0 . 000%         0 . 0 0 0%               0
For Paperwork Reduction Act Notice, see instructions.                                                                                                       Form 851 (Rev. 10- 2016)




ERF                                                                                                                                                        F2.00.01          US851P01
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 Part III          Changes in Stock Holdings During the Tax Year
                                                                                                                                                       (b) Sh ares h eld af t er
                                                                                 Sh are-                              (a) Ch anges                      ch anges d escrib ed in
                                                                                h old er of      D at e                                                       column (a)
  Corp.
                                                                                 Corpo-            of
   No.                              Name of corporat ion                          rat ion                     Numb er of        Numb er of
                                                                                   No.        t ransact ion                                       Percent age of     Percent age of
                                                                                                                sh ares            sh ares
                                                                                                               acq uired       d isposed of       vot ing pow er        value



        1   HISTOGEN, INC.                                                            1                                    0                  0         0 . 00 %           0 . 00 %


        2   HISTOGEN THERAPEUTICS, INC.                                               1                                    0                  0         0 . 00 %           0 . 00 %


        0                                                                             0                                    0                  0         0 . 00 %           0 . 00 %


        0                                                                             0                                    0                  0         0 . 00 %           0 . 00 %


        0                                                                             0                                    0                  0         0 . 00 %           0 . 00 %


        0                                                                             0                                    0                  0         0 . 00 %           0 . 00 %




 (c) If any transaction listed above caused a transfer of a share of subsidiary stock (defined to include
     dispositions and deconsolidations), did the share's basis exceed its value at the time of the transfer? See
         instructions                                                                                                                         Yes             X     No


 (d) Did any share of subsidiary stock become worthless within the meaning of section 165 (taking into account
     the provisions of Regulations section 1.1502- 80(c)) during the taxable year? See instructions                            Yes                            X     No
 (e) If the equitable owners of any capital stock shown above were other than the holders of record, provide details of the changes.




 (f)     If additional stock was issued, or if any stock was retired during the year, list the dates and amounts of these transactions.




                                                                                                                                                        Form 851 (Rev. 10- 2016)




                                                                                                                                                      F2.00.01         US851P02
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 Part IV         Additional Stock Information (see instructions)
  1        During the tax year, did the corporation have more than one class of stock outstanding?                                              Yes            No
           If "Yes," enter the name of the corporation and list and describe each class of stock.
 Corp.
                                  Name of corporation                                                                  Class of stock
  No.                                                                       YES NO
      1    HISTOGEN, INC.                                                        X
      2    HISTOGEN THERAPEUTICS, INC.                                           X
      0
      0
      0
      0




  2        During the tax year, was there any member of the consolidated group that reaffiliated within 60 months of
           disaffiliation?                                                                                                                      Yes            No
           If "Yes," enter the name of the corporation(s) and explain the circumstances.

 Corp.                            Name of corporation                                                                     Explanation
  No.
                                                                            YES NO
      1    HISTOGEN, INC.                                                        X
      2    HISTOGEN THERAPEUTICS, INC.                                           X
      0
      0
      0
      0




  3        During the tax year, was there any arrangement in existence by which one or more persons that were not
           members of the affiliated group could acquire any stock, or acquire any voting power without acquiring
           stock, in the corporation, other than a de minimis amount, from the corporation or another member of the
           affiliated group?                                                                                                                    Yes            No
           If "Yes," enter the name of the corporation and see the instructions for the percentages to enter in columns
           (a), (b), and (c).
                                                                                                                          (b)                         (c)
 Corp.                                                                                          (a)                  Percentage of
                                  Name of corporation                                                                                            Percentage of
  No.                                                                                     Percent of value         outstanding voting
                                                                            YES NO                                       stock                   voting power
      1    HISTOGEN, INC.                                                        X                     0 . 00 %                   0 . 00 %                 0 . 00   %
      2    HISTOGEN THERAPEUTICS, INC.                                           X                     0 . 00 %                   0 . 00 %                 0 . 00   %
      0                                                                                                0 . 00 %                   0 . 00 %                 0 . 00   %
      0                                                                                                0 . 00 %                   0 . 00 %                 0 . 00   %
      0                                                                                                0 . 00 %                   0 . 00 %                 0 . 00   %
      0                                                                                                0 . 00 %                   0 . 00 %                 0 . 00   %
                                                                                                             %                          %                           %
                                                                                                             %                          %                           %
 Corp.
 No.       (d) Provide a description of any arrangement.
      1
      2
      0
      0
      0
      0



                                                                                                                                               Form 851 (Rev. 10- 2016)




                                                                                                                                             F2.00.01      US851P03
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Form   1125- A                                               Cost of Goods Sold
(Rev. Novemb er 2018)                                                                                                           OM B No. 1545- 0123
                                               Attach to Form 1120, 1120- C, 1120- F, 1120S, or 1065.
D epart ment of t h e Treasury
Int ernal Revenue Service                     Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                             Employer identification number
 HISTOGEN, INC. AND SUBSIDIARIES                                                                                  XX-XXXXXXX
       1    Inventory at beginning of year                                                                       1                             60 , 685
       2    Purchases                                                                                            2                         - 60 , 685
       3    Cost of labor                                                                                        3                                    0
       4    Additional section 263A costs (attach schedule)                                                      4                                    0
       5    Other costs (attach schedule)                                                                        5                                    0
       6    Total. Add lines 1 through 5                                                                         6                                    0
       7    Inventory at end of year                                                                             7                                    0
       8    Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2
            or the appropriate line of your tax return. See instructions                                         8                                    0
       9a   Check all methods used for valuing closing inventory:
            (i)       Cost
            (ii) X Lower of cost or market
            (iii)     Other (Specify method used and attach explanation.)
       b    Check if there was a writedown of subnormal goods
       c    Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)
       d    If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
            under LIFO                                                                                          9d
       e    If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions           Yes     X   No
       f    Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
            attach explanation                                                                                                           Yes     X   No


For Paperwork Reduction Act Notice, see separate instructions.                                                         Form   1125- A (Rev. 11- 2018)

ERF




                                                                                                                              F2.00.01         US1125A1
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       3800                                             General Business Credit                                                       OM B No. 1545- 0895

 Form
 D epart ment of t h e Treasury
                                       Go to www.irs.gov/Form3800 for instructions and the latest information.                            2022
                                                                                                                               At t ach ment
 Int ernal Revenue Service (99)       You must attach all pages of Form 3800, pages 1, 2, and 3, to your tax return.           Seq uence No. 22
 Name(s) sh ow n on ret urn                                                                                       Identifying number
 HISTOGEN, INC. AND SUBSIDIARIES                                                                                         XX-XXXXXXX
 Part I       Current Year Credit for Credits Not Allowed Against Tentative Minimum Tax (TMT)
              (See instructions and complete Part(s) III before Parts I and II.)
  1     General business credit from line 2 of all Parts III with box A checked                                             1                     330 , 389
  2     Passive activity credits from line 2 of all Parts III with box B checked         2                           0
  3     Enter the applicable passive activity credits allowed for 2022. See instructions                                    3                               0
  4     Carryforward of general business credit to 2022. Enter the amount from line 2 of Part III with
        box C checked. See instructions for statement to attach                                                             4                  1 , 360 , 591
        Check this box if the carryforward was changed or revised from the original reported amount
  5     Carryback of general business credit from 2023. Enter the amount from line 2 of Part III with
        box D checked. See instructions                                                                                     5                               0
  6     Add lines 1, 3, 4, and 5                                                                                            6                  1 , 690 , 980
 Part II Allowable Credit
  7     Regular tax before credits:
        · Individuals. Enter the sum of the amounts from Form 1040, 1040- SR, or         ü
          1040- NR, line 16, and Schedule 2 (Form 1040), line 2.
        · Corporations. Enter the amount from Form 1120, Schedule J, Part I, line 2;
          or the applicable line of your return.                                         ý                                  7                               0
        · Estates and trusts. Enter the sum of the amounts from Form 1041,
           Schedule G, lines 1a and 1b, plus any Form 8978 amount included on
           line 1d; or the amount from the applicable line of your return.
  8     Alternative minimum tax:                                                     þ
        · Individuals. Enter the amount from Form 6251, line 11                      ü
        · Corporations. Enter - 0- .                                                 ý                                      8                               0
        · Estates and trusts. Enter the amount from Schedule I (Form 1041), line 54.
                                                                                     þ
  9     Add lines 7 and 8                                                                                                   9                               0


 10a    Foreign tax credit                                                              10a                          0
   b    Certain allowable credits (see instructions)                                    10b                          0
   c    Add lines 10a and 10b                                                                                             10c                               0


 11     Net income tax. Subtract line 10c from line 9. If zero, skip lines 12 through 15 and enter - 0- on line 16        11                                0


 12     Net regular tax. Subtract line 10c from line 7. If zero or less, enter - 0-     12                           0


 13     Enter 25% (0.25) of the excess, if any, of line 12 over $25,000. See
        instructions                                                                    13                           0
 14     Tentative minimum tax:
        · Individuals. Enter the amount from Form 6251, line 9. ü
        · Corporations. Enter - 0-                              ý                       14                           0
        · Estates and trusts. Enter the amount from Schedule I
          (Form 1041), line 52.
                                                                þ                                                                                           0
 15     Enter the greater of line 13 or line 14                                                                           15
 16     Subtract line 15 from line 11. If zero or less, enter - 0-                                                        16                                0
 17     Enter the smaller of line 6 or line 16                                                                            17                                0
        C corporations: See the line 17 instructions if there has been an ownership change,
        acquisition, or reorganization.
For Paperwork Reduction Act Notice, see separate instructions.                                                                         Form 3800 (2022)
ERF                                                                                                                               F2.00.01    US3800P1
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                     HISTOGEN, INC. AND SUBSIDIARIES                                                  XX-XXXXXXX
Form 3800 (2022)                                                                                                                                  Page   2
Part II       Allowable Credit (continued)
 Note. If you are not required to report any amounts on line 22 or 24 below, skip lines 18 through 25 and enter - 0- on line 26.


 18      Multiply line 14 by 75% (0.75) See instructions                                                                    18                       0


 19      Enter the greater of line 13 or line 18                                                                            19                       0


 20      Subtract line 19 from line 11. If zero or less, enter - 0-                                                         20                       0


 21      Subtract line 17 from line 20. If zero or less, enter - 0-                                                         21                       0


 22      Combine the amounts from line 3 of all Parts III with box A, C, or D checked                                       22                       0


 23      Passive activity credit from line 3 of all Parts III with box B checked             23                        0


 24      Enter the applicable passive activity credit allowed for 2022. See instructions                                    24                       0


 25      Add lines 22 and 24                                                                                                25                       0


 26      Empowerment zone and renewal community employment credit allowed. Enter the smaller of
         line 21 or line 25                                                                                                 26                       0


 27      Subtract line 13 from line 11. If zero or less, enter - 0-                                                         27                       0


 28      Add lines 17 and 26                                                                                                28                       0


 29      Subtract line 28 from line 27. If zero or less, enter - 0-                                                         29                       0


 30      Enter the general business credit from line 5 of all Parts III with box A checked                                  30                       0


 31      Reserved                                                                                                           31


 32      Passive activity credits from line 5 of all Parts III with box B checked            32                        0


 33      Enter the applicable passive activity credits allowed for 2022. See instructions                                   33                       0


 34      Carryforward of business credit to 2022. Enter the amount from line 5 of Part III with box C
         checked and line 6 of Part III with box G checked. See instructions for statement to attach                        34                       0
         Check this box if the carryforward was changed or revised from the original reported amount
 35      Carryback of business credit from 2023. Enter the amount from line 5 of Part III with box D
         checked. See instructions                                                                                          35                       0


 36      Add lines 30, 33, 34, and 35                                                                                       36                       0


 37      Enter the smaller of line 29 or line 36                                                                            37                       0


 38      Credit allowed for the current year. Add lines 28 and 37.
         Report the amount from line 38 (if smaller than the sum of Part I, line 6, and Part II, lines 25 and 36,
         see instructions) as indicated below or on the applicable line of your return.
         · Individuals. Schedule 3 (Form 1040), line 6.          ü
         · Corporations. Form 1120, Schedule J, Part I, line 5c. ý                                                          38                       0
         · Estates and trusts. Form 1041, Schedule G, line 2b. þ
                                                                                                                                      Form   3800 (2022)




                                                                                                                                 F2.00.01     US3800P2
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Form 3800 (2022)                                                                                                                                      Page   3
Name(s) sh ow n on ret urn                                                                             Id ent if ying numb er
HISTOGEN, INC. AND SUBSIDIARIES                                                                        XX-XXXXXXX
Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A   X     General Business Credit From a Non- Passive Activity             E          Reserved
B         General Business Credit From a Passive Activity                  F          Reserved
C         General Business Credit Carryforwards                            G          Eligible Small Business Credit Carryforwards
D         General Business Credit Carrybacks                               H          Reserved
I If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
   Parts III with box A or B checked. Check here if this is the consolidated Part III
                              (a) Description of credit                                                              (b)
                                                                                                                                             (c)
                                                                                                            Enter EIN if claiming
                                                                                                                                   Enter the appropriate
Note. On any line where the credit is from more than one source, a separate Part III is                        the credit from a
                                                                                                                                          amount.
needed for each pass- through entity.                                                                       pass- through entity.
   1a    Investment (Form 3468, Part II only) (attach Form 3468)                                 1a                                                       0
    b    Advanced manufacturing production (Form 7207)                                           1b                                                       0
    c    Increasing research activities (Form 6765)                                              1c                                                330 , 389
    d    Low- income housing (carryforward only) (see instructions)                              1d                                                       0
    e    Disabled access (Form 8826)*                                                            1e                                                       0
    f    Renewable electricity production (Form 8835)                                            1f                                                       0
    g    Indian employment (Form 8845)                                                           1g                                                       0
    h    Orphan drug (Form 8820)                                                                 1h                                                       0
    i    New markets (Form 8874)                                                                 1i                                                       0
    j    Small employer pension plan startup costs and auto- enrollment (Form 8881)              1j                                                       0
     k Employer- provided child care facilities and services (Form 8882)*                        1k                                                       0
     l Biodiesel, renewable diesel, and sustainable aviation fuel mixture (attach Form 8864)     1l                                                       0
     m Low sulfur diesel fuel production (Form 8896)                                             1m                                                       0
     n   Distilled spirits (Form 8906)                                                           1n                                                       0
     o   Nonconventional source fuel (carryforward only)                                         1o
     p   Energy efficient home (Form 8908)                                                       1p                                                       0
     q   Energy efficient appliance (carryforward only)                                          1q
     r   Alternative motor vehicle (Form 8910)                                                   1r                                                       0
     s   Alternative fuel vehicle refueling property (Form 8911)                                 1s                                                       0
     t   Enhanced oil recovery credit (Form 8830)                                                1t                                                       0
     u   Mine rescue team training (Form 8923)                                                   1u                                                       0
     v   Agricultural chemicals security (carryforward only)                                     1v
     w Employer differential wage payments (Form 8932)                                           1w                                                       0
     x Carbon oxide sequestration (Form 8933)                                                    1x                                                       0
     y Qualified plug- in electric drive motor vehicle (Form 8936)                               1y                                                       0
     z Qualified plug- in electric vehicle (carryforward only)                                    1z
     aa Employee retention (Form 5884- A)                                                        1aa                                                      0
     bb General credits from an electing large partnership (carryforward only)                   1bb
     zz Other. Oil and gas production from marginal wells (Form 8904) and certain
         other credits (see instructions)                                                        1zz                                                      0
   2     Add lines 1a through 1zz and enter here and on the applicable line of Part I              2                                               330 , 389
   3     Enter the amount from Form 8844 here and on the applicable line of Part II                3                                                      0
   4a    Investment (Form 3468, Part III) (attach Form 3468)                                      4a                                                      0
    b    Work opportunity (Form 5884)                                                             4b                                                      0
    c    Biofuel producer (Form 6478)                                                            4c                                                       0
     d   Low- income housing (Form 8586)                                                         4d                                                       0
     e   Renewable electricity production (Form 8835)                                            4e                                                       0
     f   Employer social security and Medicare taxes paid on certain employee tips (Form 8846)   4f                                                       0
     g   Qualified railroad track maintenance (Form 8900)                                        4g                                                       0
     h   Small employer health insurance premiums (Form 8941)                                    4h                                                       0
     i   Increasing research activities (Form 6765)                                              4i                                                       0
    j    Employer credit for paid family and medical leave (Form 8994)                           4j                                                       0
    z    Other                                                                                   4z
   5     Add lines 4a through 4z and enter here and on the applicable line of Part II             5                                                       0
   6     Add lines 2, 3, and 5 and enter here and on the applicable line of Part II               6                                                330 , 389

* See instructions for limitation on this credit.                                                                                          Form   3800 (2022)
                                                                                                                                      F2.00.01     US3800P3
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Form 3800 (2022)                                                                                                                                        Page   3
Name(s) sh ow n on ret urn                                                                             Id ent if ying numb er
HISTOGEN, INC. AND SUBSIDIARIES                                                                        XX-XXXXXXX
Part III General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A         General Business Credit From a Non- Passive Activity             E          Reserved
B         General Business Credit From a Passive Activity                  F          Reserved
C   X     General Business Credit Carryforwards                            G          Eligible Small Business Credit Carryforwards
D         General Business Credit Carrybacks                               H          Reserved
I If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from all
   Parts III with box A or B checked. Check here if this is the consolidated Part III
                              (a) Description of credit                                                              (b)
                                                                                                                                             (c)
                                                                                                            Enter EIN if claiming
                                                                                                                                   Enter the appropriate
Note. On any line where the credit is from more than one source, a separate Part III is                        the credit from a
                                                                                                                                          amount.
needed for each pass- through entity.                                                                       pass- through entity.
   1a    Investment (Form 3468, Part II only) (attach Form 3468)                                 1a                                                          0
    b    Advanced manufacturing production (Form 7207)                                           1b                                                          0
    c    Increasing research activities (Form 6765)                                              1c                                               1 , 360 , 591
    d    Low- income housing (carryforward only) (see instructions)                              1d                                                          0
    e    Disabled access (Form 8826)*                                                            1e                                                          0
    f    Renewable electricity production (Form 8835)                                            1f                                                          0
    g    Indian employment (Form 8845)                                                           1g                                                          0
    h    Orphan drug (Form 8820)                                                                 1h                                                          0
    i    New markets (Form 8874)                                                                 1i                                                          0
    j    Small employer pension plan startup costs and auto- enrollment (Form 8881)              1j                                                          0
     k Employer- provided child care facilities and services (Form 8882)*                        1k                                                          0
     l Biodiesel, renewable diesel, and sustainable aviation fuel mixture (attach Form 8864)     1l                                                          0
     m Low sulfur diesel fuel production (Form 8896)                                             1m                                                          0
     n   Distilled spirits (Form 8906)                                                           1n                                                          0
     o   Nonconventional source fuel (carryforward only)                                         1o                                                          0
     p   Energy efficient home (Form 8908)                                                       1p                                                          0
     q   Energy efficient appliance (carryforward only)                                          1q                                                          0
     r   Alternative motor vehicle (Form 8910)                                                   1r                                                          0
     s   Alternative fuel vehicle refueling property (Form 8911)                                 1s                                                          0
     t   Enhanced oil recovery credit (Form 8830)                                                1t                                                          0
     u   Mine rescue team training (Form 8923)                                                   1u                                                          0
     v   Agricultural chemicals security (carryforward only)                                     1v                                                          0
     w Employer differential wage payments (Form 8932)                                           1w                                                          0
     x Carbon oxide sequestration (Form 8933)                                                    1x                                                          0
     y Qualified plug- in electric drive motor vehicle (Form 8936)                               1y                                                          0
     z Qualified plug- in electric vehicle (carryforward only)                                    1z                                                         0
     aa Employee retention (Form 5884- A)                                                        1aa                                                         0
     bb General credits from an electing large partnership (carryforward only)                   1bb                                                         0
     zz Other. Oil and gas production from marginal wells (Form 8904) and certain
         other credits (see instructions)                                                        1zz                                                         0
   2     Add lines 1a through 1zz and enter here and on the applicable line of Part I              2                                              1 , 360 , 591
   3     Enter the amount from Form 8844 here and on the applicable line of Part II                3                                                         0
   4a    Investment (Form 3468, Part III) (attach Form 3468)                                      4a                                                         0
    b    Work opportunity (Form 5884)                                                             4b                                                         0
    c    Biofuel producer (Form 6478)                                                            4c                                                          0
     d   Low- income housing (Form 8586)                                                         4d                                                          0
     e   Renewable electricity production (Form 8835)                                            4e                                                          0
     f   Employer social security and Medicare taxes paid on certain employee tips (Form 8846)   4f                                                          0
     g   Qualified railroad track maintenance (Form 8900)                                        4g                                                          0
     h   Small employer health insurance premiums (Form 8941)                                    4h                                                          0
     i   Increasing research activities (Form 6765)                                              4i                                                          0
    j    Employer credit for paid family and medical leave (Form 8994)                           4j                                                          0
    z    Other                                                                                   4z
   5     Add lines 4a through 4z and enter here and on the applicable line of Part II             5                                                          0
   6     Add lines 2, 3, and 5 and enter here and on the applicable line of Part II               6                                               1 , 360 , 591

* See instructions for limitation on this credit.                                                                                          Form   3800 (2022)
                                                                                                                                      F2.00.01      US3800P3
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SCHEDULE B                               Additional Information for Schedule M- 3 Filers
(Form 1120)                                                                                                                                        OM B No. 1545- 0123
(Rev. D ecemb er 2018)                                             Attach to Form 1120.
D epart ment of t h e Treasury
Int ernal Revenue Service
                                                    Go to www.irs.gov/Form1120 for the latest information.
Name                                                                                               Employ er id ent if icat ion numb er (EIN)

HISTOGEN, INC. AND SUBSIDIARIES                                                                     XX-XXXXXXX
   1     Do the amounts reported on Schedule M- 3 (Form 1120), Part II, line 9 or 10, column (d), reflect allocations                                       Yes      No
         to this corporation from a partnership of income, gain, loss, deduction, or credit that are disproportionate to
         this corporation's capital contribution to the partnership or its ratio for sharing other items of the partnership?                                         X


   2     At any time during the tax year, did the corporation sell, exchange, or transfer any interest in an intangible
         asset to a related person as defined in section 267(b)?                                                                                                     X


   3     At any time during the tax year, did the corporation acquire any interest in an intangible asset from a related
         person as defined in section 267(b)?                                                                                                                        X


   4a    During the tax year, did the corporation enter into a cost- sharing arrangement with any related foreign party
         on whose behalf the corporation did not file Form 5471, Information Return of U.S. Persons With Respect To
         Certain Foreign Corporations?                                                                                                                               X


    b    At any time during the tax year, was the corporation a participant in a cost- sharing arrangement with any
         related foreign party on whose behalf the corporation did not file Form 5471?                                                                               X


   5     At any time during the tax year, did the corporation make any change in accounting principle for financial
         accounting purposes? See instructions for the definition of "change in accounting principle"                                                                X


   6     At any time during the tax year, did the corporation make any change in a method of accounting for U.S.
         income tax purposes?                                                                                                                                X


   7     At any time during the tax year, did the corporation own any voluntary employees' beneficiary association
         (VEBA) trusts that were used to hold funds designated for employee benefits?                                                                                X


   8     At any time during the tax year, did the corporation use an allocation method for indirect costs capitalized to
         self- constructed assets that varied from its financial method of accounting?                                                                               X


   9     At any time during the tax year, did the corporation treat for tax purposes indirect costs, as defined in
         Regulations sections 1.263A- 1(e)(3)(ii)(F), (G), and (H), as mixed- service costs, as defined in Regulations
         section 1.263A- 1(e)(4)(ii)(C)?                                                                                                                             X


 10   Did the corporation, under section 118 or 362(c) and the related regulations, take a return filing position
      characterizing any amount as a contribution to the capital of the corporation during the tax year by any
      nonshareholders? Amounts so characterized may include, without limitation, incentives, inducements, money,
      and property                                                                                                                                X
 For Paperwork Reduction Act Notice, see Instructions for Form 1120.                                              Schedule B (Form 1120) (Rev. 12- 2018)




 ERF                                                                                                                                            F2.00.01         US120SB1
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SCHEDULE M- 3                         Net Income (Loss) Reconciliation for Corporations
(Form 1120)                                With Total Assets of $10 Million or More                               OMB No. 1545- 0123
(Rev. D ecemb er 2019)                                 Attach to Form 1120 or 1120- C.
D epart ment of t h e Treasury
Int ernal Revenue Service        Go to www.irs.gov/Form1120 for instructions and the latest information.
Name of corporation (common parent, if consolidated return)                                            Employer identification number
HISTOGEN, INC. AND SUBSIDIARIES                                                                                              XX-XXXXXXX
     Check applicable box(es):          (1)       Non- consolidated return                         (2)    X     Consolidated return (Form 1120 only)

                                        (3)       Mixed 1120/L/PC group                            (4)          Dormant subsidiaries schedule attached

 Part I        Financial Information and Net Income (Loss) Reconciliation (see instructions)
 1a      Did the corporation file SEC Form 10- K for its income statement period ending with or within this tax year?
           X Yes. Skip lines 1b and 1c and complete lines 2a through 11 with respect to that SEC Form 10- K.
              No. Go to line 1b. See instructions if multiple non- tax- basis income statements are prepared.
  b      Did the corporation prepare a certified audited non- tax- basis income statement for that period?
              Yes. Skip line 1c and complete lines 2a through 11 with respect to that income statement.
              No. Go to line 1c.
     c   Did the corporation prepare a non- tax- basis income statement for that period?
              Yes. Complete lines 2a through 11 with respect to that income statement.
              No. Skip lines 2a through 3c and enter the corporation's net income (loss) per its books and records on line 4a.
 2a      Enter the income statement period: Beginning          01 01 2022          Ending 12 31 2022
  b      Has the corporation's income statement been restated for the income statement period on line 2a?
              Yes. (If "Yes," attach an explanation and the amount of each item restated.)
           X No.
     c   Has the corporation's income statement been restated for any of the five income statement periods immediately preceding the period on line 2a?
              Yes. (If "Yes," attach an explanation and the amount of each item restated.)
           X No.
 3a      Is any of the corporation's voting common stock publicly traded?
           X Yes.
              No. If "No," go to line 4a.
  b      Enter the symbol of the corporation's primary U.S. publicly traded voting common
         stock                                                                                                                   HSTO
     c   Enter the nine- digit CUSIP number of the corporation's primary publicly traded voting
         common stock                                                                                                            43358Y103
 4a      Worldwide consolidated net income (loss) from income statement source identified in Part I, line 1                             4a         - 10 , 645 , 277
  b      Indicate accounting standard used for line 4a (see instructions):
         (1) X GAAP        (2)       IFRS     (3)       Statutory (4)       Tax- basis (5)        Other (specify)
 5a      Net income from nonincludible foreign entities (attach statement)                                                              5a   (                   0 )
  b      Net loss from nonincludible foreign entities (attach statement and enter as a positive amount)                                 5b                       0
 6a      Net income from nonincludible U.S. entities (attach statement)                                                                 6a   (                   0)
  b      Net loss from nonincludible U.S. entities (attach statement and enter as a positive amount)        STATEMENT 13                6b                74 , 018
 7a      Net income (loss) of other includible foreign disregarded entities (attach statement)                                          7a                       0
  b      Net income (loss) of other includible U.S. disregarded entities (attach statement)                                             7b                       0
  c      Net income (loss) of other includible entities (attach statement)                                                              7c                       0
 8       Adjustment to eliminations of transactions between includible entities and nonincludible entities (attach
         statement)                                                                                                                     8                        0
 9       Adjustment to reconcile income statement period to tax year (attach statement)                                                 9                        0
10a      Intercompany dividend adjustments to reconcile to line 11 (attach statement)                                               10a                          0
  b      Other statutory accounting adjustments to reconcile to line 11 (attach statement)                                          10b                          0
  c      Other adjustments to reconcile to amount on line 11 (attach statement)                                                     10c                          0
11       Net income (loss) per income statement of includible corporations. Combine lines 4 through 10                                  11         - 10 , 571 , 259
         Note. Part I, line 11, must equal Part II, line 30, column (a), and Schedule M- 1, line 1 (see instructions).
12       Enter the total amount (not just the corporation's share) of the assets and liabilities of all entities included or removed on the
         following lines.
                                                                        Total Assets                     Total Liabilities
 a       Included on Part I, line 4                                          20 , 140 , 944                      6 , 823 , 747
 b       Removed on Part I, line 5                                                       0                                   0
 c       Removed on Part I, line 6                                                       0                       1 , 148 , 169
 d       Included on Part I, line 7                                                      0                                   0
For Paperwork Reduction Act Notice, see the Instructions for Form 1120.                                            Schedule M- 3 (Form 1120) (Rev. 12- 2019)
ERF                                                                                                                                     F2.00.01       US20M3P1
         Case 24-01357-11                          Filed 04/18/24               Entered 04/18/24 12:51:17                          Doc 1            Pg. 46 of 145
 Schedule M- 3 (Form 1120) (Rev. 12- 2019)                                                                                                                        Page 2
 Name of corporation (common parent, if consolidated return)                                                                              Employer identification number
     HISTOGEN, INC. AND SUBSIDIARIES                                                                                                      XX-XXXXXXX
 Ch eck applicab le b ox(es): (1)    X    Consolid at ed group (2)    Parent corp (3)     Consolid at ed eliminat ions (4)       Sub sid iary corp (5)         M ixed 1120/ L / PC group

 Ch eck if a sub - consolid at ed : (6)       1120 group    (7)      1120 eliminat ions

 Name of subsidiary (if consolidated return)                                                                                              Employer identification number


  Part II         Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                  Taxable Income per Return (see instructions)
                                                                                      (a)                      (b)                        (c)                         (d)
                      Income (Loss) Items                                      Income (Loss) per           Temporary                 Permanent                 Income (Loss) per
              (Attach statements for lines 1 through 12)                       Income Statement            Difference                Difference                   Tax Return


 1    Income (loss) from equity method foreign corporations                                     0                            0                           0
 2    Gross foreign dividends not previously taxed                                              0                            0                           0                         0
 3    Subpart F, QEF, and similar income inclusions                                                                          0                           0                         0
 4    Gross- up for foreign taxes deemed paid                                                                                0                           0                         0
 5    Gross foreign distributions previously taxed                                              0                            0                           0
 6    Income (loss) from equity method U.S. corporations                                        0                            0                           0
 7    U.S. dividends not eliminated in tax consolidation                                        0                            0                           0                         0
 8    Minority interest for includible corporations                                             0                            0                           0
 9    Income (loss) from U.S. partnerships                                                      0                            0                           0                         0
10    Income (loss) from foreign partnerships                                                   0                            0                           0                         0
11    Income (loss) from other pass- through entities                                           0                            0                           0                         0
12 Items relating to reportable transactions                                                    0                            0                           0                         0
13 Interest income (see instructions)                                                     43 , 080                           0                           0                  43 , 080
14 Total accrual to cash adjustment                                                             0                            0                           0                         0
15 Hedging transactions                                                                         0                            0                           0                         0
16 Mark- to- market income (loss)                                                               0                            0                           0                         0
17 Cost of goods sold (see instructions)                                   (                    0)                           0                           0 (                       0 )
18 Sale versus lease (for sellers and/or lessors)                                               0                            0                           0                         0
19 Section 481(a) adjustments                                                                                                0                           0                         0
20 Unearned/deferred revenue                                                                    0                            0                           0                         0
21 Income recognition from long- term contracts                                                 0                            0                           0                         0
22 Original issue discount and other imputed interest                                           0                            0                           0                         0
23a Income statement gain/loss on sale, exchange,
    abandonment, worthlessness, or other disposition of
    assets other than inventory and pass- through entities                                      0                            0                           0
  b Gross capital gains from Schedule D, excluding
    amounts from pass- through entities                                                                                      0                           0                         0
  c Gross capital losses from Schedule D, excluding
    amounts from pass- through entities, abandonment
    losses, and worthless stock losses                                                                     0                                             0                         0
  d Net gain/loss reported on Form 4797, line 17,
    excluding amounts from pass- through entities,
    abandonment losses, and worthless stock losses                                                         0                                             0                         0
  e Abandonment losses                                                                                     0                                             0                         0
  f Worthless stock losses (attach statement)                                                              0                                             0                         0
  g Ot h er gain/ loss on d isposit ion of asset s ot h er t h an invent ory                               0                                             0                         0
24 Capital loss limitation and carryforward used                                                           0                                             0                         0
25 Ot h er income (loss) it ems w it h d if f erences (at t ach st at ement )                0             0                                             0                         0
26 Total income (loss) items. Combine lines 1 through 25                              43 , 080             0                                             0                  43 , 080
27 Total expense/deduction items (from Part III, line 39)                     - 10 , 364 , 712 4 , 601 , 408                                  221 , 271               - 5 , 542 , 033
28 Other items with no differences                         STATEMENT 14            - 249 , 627                                                                           - 249 , 627
29a Mixed groups, see instructions. All others, combine
    lines 26 through 28                                                       - 10 , 571 , 259 4 , 601 , 408                                  221 , 271               - 5 , 748 , 580
  b PC insurance subgroup reconciliation totals                                              0             0                                             0                         0
  c Life insurance subgroup reconciliation totals                                            0             0                                             0                         0
30 Reconciliation totals. Combine lines 29a through 29c                       - 10 , 571 , 259 4 , 601 , 408                                  221 , 271               - 5 , 748 , 580
    Note. Line 30, column (a), must equal Part I, line 11, and column (d) must equal Form 1120, page 1, line 28.
                                                                                     F2.00.01           US20M3P2             Schedule M- 3 (Form 1120) (Rev. 12- 2019)
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Schedule M- 3 (Form 1120) (Rev. 12- 2019)                                                                                                                              Page 3
Name of corporation (common parent, if consolidated return)                                                                                   Employer identification number
HISTOGEN, INC. AND SUBSIDIARIES                                                                                                               XX-XXXXXXX
Ch eck applicab le b ox(es): (1)    X    Consolid at ed group (2)     Parent corp (3)          Consolid at ed eliminat ions (4)       Sub sid iary corp (5)       M ixed 1120/ L / PC group

Ch eck if a sub - consolid at ed : (6)       1120 group   (7)       1120 eliminat ions

Name of subsidiary (if consolidated return)                                                                                                   Employer identification number


 Part III          Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                   Taxable Income per Return- Expense/Deduction Items (see instructions)
                                                                                    (a)                            (b)                        (c)                       (d)
                   Expense/Deduction Items                                      Expense per                    Temporary                  Permanent                 Deduction per
                                                                             Income Statement                  Difference                 Difference                 Tax Return
 1 U.S. current income tax expense                                                                   0                            0                           0
 2 U.S. deferred income tax expense                                                                  0                            0                           0
 3 State and local current income tax expense                                                   1 , 600                    1 , 600                   - 1 , 600                  1 , 600
 4 State and local deferred income tax expense                                                       0                            0                           0
 5 Foreign current income tax expense (other than
   foreign withholding taxes)                                                                        0                            0                           0                       0
 6 Foreign deferred income tax expense                                                               0                            0                           0
 7 Foreign withholding taxes                                                                         0                            0                           0                       0
 8 Interest expense (see instructions)                                                          1 , 916                           0                           0                 1 , 916
 9 Stock option expense                                                                      502 , 766                 - 283 , 095                - 219 , 671                         0
10 Other equity- based compensation                                                                  0                            0                           0                       0
11 Meals and entertainment                                                                      6 , 944                           0                           0                 6 , 944
12 Fines and penalties                                                                               0                            0                           0                       0
13 Judgments, damages, awards, and similar costs                                                     0                            0                           0                       0
14 Parachute payments                                                                                0                            0                           0                       0
15 Compensation with section 162(m) limitation                                                       0                            0                           0                       0
16 Pension and profit- sharing                                                                       0                            0                           0                       0
17 Other post- retirement benefits                                                                   0                            0                           0                       0
18 Deferred compensation                                                                             0                            0                           0                       0
19 Charitable contribution of cash and tangible
   property                                                                                          0                            0                           0                       0
20 Charitable contribution of intangible property                                                    0                            0                           0                       0
21 Charitable contribution limitation/carryforward                                                                                0                           0                       0
22 Domestic production activities deduction (See inst r.)                                                                         0                           0                       0
23 Current year acquisition or reorganization investment
   banking fees                                                                                      0                            0                           0                       0
24 Current year acquisition or reorganization legal and
   accounting fees                                                                                   0                            0                           0                       0
25 Current year acquisition/reorganization other costs                                               0                            0                           0                       0
26 Amortization/impairment of goodwill                                                               0                            0                           0                       0
27 Amortization of acquisition, reorganization, and
   start- up costs                                                                                   0                            0                           0                       0
28 Other amortization or impairment write- offs                                                      0                  153 , 895                             0              153 , 895
29 Reserved
30 Depletion                                                                                         0                            0                           0                       0
31 Depreciation                                                                              139 , 507                    78 , 313                            0              217 , 820
32 Bad debt expense                                                                                  0                            0                           0                       0
33 Corporate owned life insurance premiums                                                           0                            0                           0                       0
34 Purchase versus lease (for purchasers and/or lessees)                                             0                            0                           0                       0
35 Research and development costs                                                         1 , 428 , 797                - 878 , 506                            0              550 , 291
36 Section 118 exclusion (attach statement)                                                          0                            0                           0                       0
37 Section 162(r)- FDIC premiums paid by certain
   large financial institutions (see instructions)                                                   0                            0                           0                       0
38 Other expense/deduction items with differences
   (attach statement)                        STATEMENT 15                                 8 , 283 , 182             - 3 , 673 , 615                           0           4 , 609 , 567
39 Total expense/deduction items. Combine lines 1
   through 38. Enter here and on Part II, line 27,
   reporting positive amounts as negative and
   negative amounts as positive                                                          10 , 364 , 712             - 4 , 601 , 408               - 221 , 271             5 , 542 , 033
                                                                                            F2.00.01          US20M3P3            Schedule M- 3 (Form 1120) (Rev. 12- 2019)
         Case 24-01357-11                          Filed 04/18/24               Entered 04/18/24 12:51:17                              Doc 1            Pg. 48 of 145
 Schedule M- 3 (Form 1120) (Rev. 12- 2019)                                                                                                                            Page 2
 Name of corporation (common parent, if consolidated return)                                                                                  Employer identification number
     HISTOGEN, INC. AND SUBSIDIARIES                                                                                                          XX-XXXXXXX
 Ch eck applicab le b ox(es): (1)         Consolid at ed group (2)    Parent corp (3)     X   Consolid at ed eliminat ions (4)       Sub sid iary corp (5)         M ixed 1120/ L / PC group

 Ch eck if a sub - consolid at ed : (6)       1120 group    (7)      1120 eliminat ions

 Name of subsidiary (if consolidated return)                                                                                                  Employer identification number


  Part II         Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                  Taxable Income per Return (see instructions)
                                                                                      (a)                          (b)                        (c)                         (d)
                      Income (Loss) Items                                      Income (Loss) per               Temporary                 Permanent                 Income (Loss) per
              (Attach statements for lines 1 through 12)                       Income Statement                Difference                Difference                   Tax Return


 1    Income (loss) from equity method foreign corporations                                         0                            0                           0
 2    Gross foreign dividends not previously taxed                                                  0                            0                           0                         0
 3    Subpart F, QEF, and similar income inclusions                                                                              0                           0                         0
 4    Gross- up for foreign taxes deemed paid                                                                                    0                           0                         0
 5    Gross foreign distributions previously taxed                                                  0                            0                           0
 6    Income (loss) from equity method U.S. corporations                                            0                            0                           0
 7    U.S. dividends not eliminated in tax consolidation                                            0                            0                           0                         0
 8    Minority interest for includible corporations                                                 0                            0                           0
 9    Income (loss) from U.S. partnerships                                                          0                            0                           0                         0
10    Income (loss) from foreign partnerships                                                       0                            0                           0                         0
11    Income (loss) from other pass- through entities                                               0                            0                           0                         0
12 Items relating to reportable transactions                                                        0                            0                           0                         0
13 Interest income (see instructions)                                                               0                            0                           0                         0
14 Total accrual to cash adjustment                                                                 0                            0                           0                         0
15 Hedging transactions                                                                             0                            0                           0                         0
16 Mark- to- market income (loss)                                                                   0                            0                           0                         0
17 Cost of goods sold (see instructions)                                   (                        0)                           0                           0 (                       0 )
18 Sale versus lease (for sellers and/or lessors)                                                   0                            0                           0                         0
19 Section 481(a) adjustments                                                                                                    0                           0                         0
20 Unearned/deferred revenue                                                                        0                            0                           0                         0
21 Income recognition from long- term contracts                                                     0                            0                           0                         0
22 Original issue discount and other imputed interest                                               0                            0                           0                         0
23a Income statement gain/loss on sale, exchange,
    abandonment, worthlessness, or other disposition of
    assets other than inventory and pass- through entities                                          0                            0                           0
  b Gross capital gains from Schedule D, excluding
    amounts from pass- through entities                                                                                          0                           0                         0
  c Gross capital losses from Schedule D, excluding
    amounts from pass- through entities, abandonment
    losses, and worthless stock losses                                                              0                                                        0                         0
  d Net gain/loss reported on Form 4797, line 17,
    excluding amounts from pass- through entities,
    abandonment losses, and worthless stock losses                                                  0                                                        0                         0
  e Abandonment losses                                                                              0                                                        0                         0
  f Worthless stock losses (attach statement)                                                       0                                                        0                         0
  g Ot h er gain/ loss on d isposit ion of asset s ot h er t h an invent ory                        0                                                        0                         0
24 Capital loss limitation and carryforward used                                                    0                                                        0                         0
25 Ot h er income (loss) it ems w it h d if f erences (at t ach st at ement )   0                   0                                                        0                         0
26 Total income (loss) items. Combine lines 1 through 25                        0                   0                                                        0                         0
27 Total expense/deduction items (from Part III, line 39)                       0                   0                                                        0                         0
28 Other items with no differences                         STATEMENT 14         0                                                                                                      0
29a Mixed groups, see instructions. All others, combine
    lines 26 through 28                                                         0                   0                                                        0                         0
  b PC insurance subgroup reconciliation totals                                 0                   0                                                        0                         0
  c Life insurance subgroup reconciliation totals                               0                   0                                                        0                         0
30 Reconciliation totals. Combine lines 29a through 29c                         0                   0                                                        0                         0
    Note. Line 30, column (a), must equal Part I, line 11, and column (d) must equal Form 1120, page 1, line 28.
                                                                                     F2.00.01               US20M3P2             Schedule M- 3 (Form 1120) (Rev. 12- 2019)
        Case 24-01357-11                          Filed 04/18/24               Entered 04/18/24 12:51:17                               Doc 1           Pg. 49 of 145
Schedule M- 3 (Form 1120) (Rev. 12- 2019)                                                                                                                            Page 3
Name of corporation (common parent, if consolidated return)                                                                                 Employer identification number
HISTOGEN, INC. AND SUBSIDIARIES                                                                                                             XX-XXXXXXX
Ch eck applicab le b ox(es): (1)         Consolid at ed group (2)     Parent corp (3)    X   Consolid at ed eliminat ions (4)       Sub sid iary corp (5)       M ixed 1120/ L / PC group

Ch eck if a sub - consolid at ed : (6)       1120 group   (7)       1120 eliminat ions

Name of subsidiary (if consolidated return)                                                                                                 Employer identification number


 Part III          Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                   Taxable Income per Return- Expense/Deduction Items (see instructions)
                                                                                    (a)                          (b)                        (c)                       (d)
                   Expense/Deduction Items                                      Expense per                  Temporary                  Permanent                 Deduction per
                                                                             Income Statement                Difference                 Difference                 Tax Return
 1 U.S. current income tax expense                                                                 0                            0                           0
 2 U.S. deferred income tax expense                                                                0                            0                           0
 3 State and local current income tax expense                                                      0                            0                           0                       0
 4 State and local deferred income tax expense                                                     0                            0                           0
 5 Foreign current income tax expense (other than
   foreign withholding taxes)                                                                      0                            0                           0                       0
 6 Foreign deferred income tax expense                                                             0                            0                           0
 7 Foreign withholding taxes                                                                       0                            0                           0                       0
 8 Interest expense (see instructions)                                                             0                            0                           0                       0
 9 Stock option expense                                                                            0                            0                           0                       0
10 Other equity- based compensation                                                                0                            0                           0                       0
11 Meals and entertainment                                                                         0                            0                           0                       0
12 Fines and penalties                                                                             0                            0                           0                       0
13 Judgments, damages, awards, and similar costs                                                   0                            0                           0                       0
14 Parachute payments                                                                              0                            0                           0                       0
15 Compensation with section 162(m) limitation                                                     0                            0                           0                       0
16 Pension and profit- sharing                                                                     0                            0                           0                       0
17 Other post- retirement benefits                                                                 0                            0                           0                       0
18 Deferred compensation                                                                           0                            0                           0                       0
19 Charitable contribution of cash and tangible
   property                                                                                        0                            0                           0                       0
20 Charitable contribution of intangible property                                                  0                            0                           0                       0
21 Charitable contribution limitation/carryforward                                                                              0                           0                       0
22 Domestic production activities deduction (See inst r.)                                                                       0                           0                       0
23 Current year acquisition or reorganization investment
   banking fees                                                                                    0                            0                           0                       0
24 Current year acquisition or reorganization legal and
   accounting fees                                                                                 0                            0                           0                       0
25 Current year acquisition/reorganization other costs                                             0                            0                           0                       0
26 Amortization/impairment of goodwill                                                             0                            0                           0                       0
27 Amortization of acquisition, reorganization, and
   start- up costs                                                                                 0                            0                           0                       0
28 Other amortization or impairment write- offs                                                    0                            0                           0                       0
29 Reserved
30 Depletion                                                                                       0                            0                           0                       0
31 Depreciation                                                                                    0                            0                           0                       0
32 Bad debt expense                                                                                0                            0                           0                       0
33 Corporate owned life insurance premiums                                                         0                            0                           0                       0
34 Purchase versus lease (for purchasers and/or lessees)                                           0                            0                           0                       0
35 Research and development costs                                                                  0                            0                           0                       0
36 Section 118 exclusion (attach statement)                                                        0                            0                           0                       0
37 Section 162(r)- FDIC premiums paid by certain
   large financial institutions (see instructions)                                                 0                            0                           0                       0
38 Other expense/deduction items with differences
   (attach statement)                        STATEMENT 15                                          0                            0                           0                       0
39 Total expense/deduction items. Combine lines 1
   through 38. Enter here and on Part II, line 27,
   reporting positive amounts as negative and
   negative amounts as positive                                                                    0                            0                           0                       0
                                                                                         F2.00.01           US20M3P3            Schedule M- 3 (Form 1120) (Rev. 12- 2019)
         Case 24-01357-11                          Filed 04/18/24                   Entered 04/18/24 12:51:17                          Doc 1            Pg. 50 of 145
 Schedule M- 3 (Form 1120) (Rev. 12- 2019)                                                                                                                            Page 2
 Name of corporation (common parent, if consolidated return)                                                                                  Employer identification number
     HISTOGEN, INC. AND SUBSIDIARIES                                                                                                          XX-XXXXXXX
 Ch eck applicab le b ox(es): (1)         Consolid at ed group (2)   X    Parent corp (3)     Consolid at ed eliminat ions (4)       Sub sid iary corp (5)         M ixed 1120/ L / PC group

 Ch eck if a sub - consolid at ed : (6)       1120 group    (7)          1120 eliminat ions

 Name of subsidiary (if consolidated return)                                                                                                  Employer identification number
     HISTOGEN, INC.                                                                                                                           XX-XXXXXXX
  Part II         Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                  Taxable Income per Return (see instructions)
                                                                                          (a)                      (b)                        (c)                         (d)
                      Income (Loss) Items                                          Income (Loss) per           Temporary                 Permanent                 Income (Loss) per
              (Attach statements for lines 1 through 12)                           Income Statement            Difference                Difference                   Tax Return


 1    Income (loss) from equity method foreign corporations                                         0                            0                           0
 2    Gross foreign dividends not previously taxed                                                  0                            0                           0                         0
 3    Subpart F, QEF, and similar income inclusions                                                                              0                           0                         0
 4    Gross- up for foreign taxes deemed paid                                                                                    0                           0                         0
 5    Gross foreign distributions previously taxed                                                  0                            0                           0
 6    Income (loss) from equity method U.S. corporations                                            0                            0                           0
 7    U.S. dividends not eliminated in tax consolidation                                            0                            0                           0                         0
 8    Minority interest for includible corporations                                                 0                            0                           0
 9    Income (loss) from U.S. partnerships                                                          0                            0                           0                         0
10    Income (loss) from foreign partnerships                                                       0                            0                           0                         0
11    Income (loss) from other pass- through entities                                               0                            0                           0                         0
12 Items relating to reportable transactions                                                        0                            0                           0                         0
13 Interest income (see instructions)                                                         43 , 080                           0                           0                  43 , 080
14 Total accrual to cash adjustment                                                                 0                            0                           0                         0
15 Hedging transactions                                                                             0                            0                           0                         0
16 Mark- to- market income (loss)                                                                   0                            0                           0                         0
17 Cost of goods sold (see instructions)                                       (                    0)                           0                           0 (                       0 )
18 Sale versus lease (for sellers and/or lessors)                                                   0                            0                           0                         0
19 Section 481(a) adjustments                                                                                                    0                           0                         0
20 Unearned/deferred revenue                                                                        0                            0                           0                         0
21 Income recognition from long- term contracts                                                     0                            0                           0                         0
22 Original issue discount and other imputed interest                                               0                            0                           0                         0
23a Income statement gain/loss on sale, exchange,
    abandonment, worthlessness, or other disposition of
    assets other than inventory and pass- through entities                                          0                            0                           0
  b Gross capital gains from Schedule D, excluding
    amounts from pass- through entities                                                                                          0                           0                         0
  c Gross capital losses from Schedule D, excluding
    amounts from pass- through entities, abandonment
    losses, and worthless stock losses                                                                     0                                                 0                         0
  d Net gain/loss reported on Form 4797, line 17,
    excluding amounts from pass- through entities,
    abandonment losses, and worthless stock losses                                                         0                                                 0                         0
  e Abandonment losses                                                                                     0                                                 0                         0
  f Worthless stock losses (attach statement)                                                              0                                                 0                         0
  g Ot h er gain/ loss on d isposit ion of asset s ot h er t h an invent ory                               0                                                 0                         0
24 Capital loss limitation and carryforward used                                                           0                                                 0                         0
25 Ot h er income (loss) it ems w it h d if f erences (at t ach st at ement )                0             0                                                 0                         0
26 Total income (loss) items. Combine lines 1 through 25                              43 , 080             0                                                 0                  43 , 080
27 Total expense/deduction items (from Part III, line 39)                     - 10 , 364 , 712 4 , 601 , 408                                      221 , 271               - 5 , 542 , 033
28 Other items with no differences                         STATEMENT 14            - 249 , 627                                                                               - 249 , 627
29a Mixed groups, see instructions. All others, combine
    lines 26 through 28                                                       - 10 , 571 , 259 4 , 601 , 408                                      221 , 271               - 5 , 748 , 580
  b PC insurance subgroup reconciliation totals                                              0             0                                                 0                         0
  c Life insurance subgroup reconciliation totals                                            0             0                                                 0                         0
30 Reconciliation totals. Combine lines 29a through 29c                       - 10 , 571 , 259 4 , 601 , 408                                      221 , 271               - 5 , 748 , 580
    Note. Line 30, column (a), must equal Part I, line 11, and column (d) must equal Form 1120, page 1, line 28.
                                                                                         F2.00.01           US20M3P2             Schedule M- 3 (Form 1120) (Rev. 12- 2019)
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Schedule M- 3 (Form 1120) (Rev. 12- 2019)                                                                                                                              Page 3
Name of corporation (common parent, if consolidated return)                                                                                   Employer identification number
HISTOGEN, INC. AND SUBSIDIARIES                                                                                                               XX-XXXXXXX
Ch eck applicab le b ox(es): (1)         Consolid at ed group (2)   X   Parent corp (3)        Consolid at ed eliminat ions (4)       Sub sid iary corp (5)       M ixed 1120/ L / PC group

Ch eck if a sub - consolid at ed : (6)       1120 group   (7)       1120 eliminat ions

Name of subsidiary (if consolidated return)                                                                                                   Employer identification number
HISTOGEN, INC.                                                                                                                                XX-XXXXXXX
 Part III          Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                   Taxable Income per Return- Expense/Deduction Items (see instructions)
                                                                                     (a)                           (b)                        (c)                       (d)
                   Expense/Deduction Items                                       Expense per                   Temporary                  Permanent                 Deduction per
                                                                              Income Statement                 Difference                 Difference                 Tax Return
 1 U.S. current income tax expense                                                                   0                            0                           0
 2 U.S. deferred income tax expense                                                                  0                            0                           0
 3 State and local current income tax expense                                                   1 , 600                    1 , 600                   - 1 , 600                  1 , 600
 4 State and local deferred income tax expense                                                       0                            0                           0
 5 Foreign current income tax expense (other than
   foreign withholding taxes)                                                                        0                            0                           0                       0
 6 Foreign deferred income tax expense                                                               0                            0                           0
 7 Foreign withholding taxes                                                                         0                            0                           0                       0
 8 Interest expense (see instructions)                                                          1 , 916                           0                           0                 1 , 916
 9 Stock option expense                                                                      502 , 766                 - 283 , 095                - 219 , 671                         0
10 Other equity- based compensation                                                                  0                            0                           0                       0
11 Meals and entertainment                                                                      6 , 944                           0                           0                 6 , 944
12 Fines and penalties                                                                               0                            0                           0                       0
13 Judgments, damages, awards, and similar costs                                                     0                            0                           0                       0
14 Parachute payments                                                                                0                            0                           0                       0
15 Compensation with section 162(m) limitation                                                       0                            0                           0                       0
16 Pension and profit- sharing                                                                       0                            0                           0                       0
17 Other post- retirement benefits                                                                   0                            0                           0                       0
18 Deferred compensation                                                                             0                            0                           0                       0
19 Charitable contribution of cash and tangible
   property                                                                                          0                            0                           0                       0
20 Charitable contribution of intangible property                                                    0                            0                           0                       0
21 Charitable contribution limitation/carryforward                                                                                0                           0                       0
22 Domestic production activities deduction (See inst r.)                                                                         0                           0                       0
23 Current year acquisition or reorganization investment
   banking fees                                                                                      0                            0                           0                       0
24 Current year acquisition or reorganization legal and
   accounting fees                                                                                   0                            0                           0                       0
25 Current year acquisition/reorganization other costs                                               0                            0                           0                       0
26 Amortization/impairment of goodwill                                                               0                            0                           0                       0
27 Amortization of acquisition, reorganization, and
   start- up costs                                                                                   0                            0                           0                       0
28 Other amortization or impairment write- offs                                                      0                  153 , 895                             0              153 , 895
29 Reserved
30 Depletion                                                                                         0                            0                           0                       0
31 Depreciation                                                                              139 , 507                    78 , 313                            0              217 , 820
32 Bad debt expense                                                                                  0                            0                           0                       0
33 Corporate owned life insurance premiums                                                           0                            0                           0                       0
34 Purchase versus lease (for purchasers and/or lessees)                                             0                            0                           0                       0
35 Research and development costs                                                         1 , 428 , 797                - 878 , 506                            0              550 , 291
36 Section 118 exclusion (attach statement)                                                          0                            0                           0                       0
37 Section 162(r)- FDIC premiums paid by certain
   large financial institutions (see instructions)                                                   0                            0                           0                       0
38 Other expense/deduction items with differences
   (attach statement)                        STATEMENT 15                                 8 , 283 , 182             - 3 , 673 , 615                           0           4 , 609 , 567
39 Total expense/deduction items. Combine lines 1
   through 38. Enter here and on Part II, line 27,
   reporting positive amounts as negative and
   negative amounts as positive                                                          10 , 364 , 712             - 4 , 601 , 408               - 221 , 271             5 , 542 , 033
                                                                                            F2.00.01          US20M3P3            Schedule M- 3 (Form 1120) (Rev. 12- 2019)
         Case 24-01357-11                          Filed 04/18/24               Entered 04/18/24 12:51:17                          Doc 1            Pg. 52 of 145
 Schedule M- 3 (Form 1120) (Rev. 12- 2019)                                                                                                                        Page 2
 Name of corporation (common parent, if consolidated return)                                                                              Employer identification number
     HISTOGEN, INC. AND SUBSIDIARIES                                                                                                      XX-XXXXXXX
 Ch eck applicab le b ox(es): (1)         Consolid at ed group (2)    Parent corp (3)     Consolid at ed eliminat ions (4)   X   Sub sid iary corp (5)         M ixed 1120/ L / PC group

 Ch eck if a sub - consolid at ed : (6)       1120 group    (7)      1120 eliminat ions

 Name of subsidiary (if consolidated return)                                                                                              Employer identification number
     HISTOGEN THERAPEUTICS, INC.                                                                                                          XX-XXXXXXX
  Part II         Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                  Taxable Income per Return (see instructions)
                                                                                      (a)                      (b)                        (c)                         (d)
                      Income (Loss) Items                                      Income (Loss) per           Temporary                 Permanent                 Income (Loss) per
              (Attach statements for lines 1 through 12)                       Income Statement            Difference                Difference                   Tax Return


 1    Income (loss) from equity method foreign corporations                                     0                            0                           0
 2    Gross foreign dividends not previously taxed                                              0                            0                           0                         0
 3    Subpart F, QEF, and similar income inclusions                                                                          0                           0                         0
 4    Gross- up for foreign taxes deemed paid                                                                                0                           0                         0
 5    Gross foreign distributions previously taxed                                              0                            0                           0
 6    Income (loss) from equity method U.S. corporations                                        0                            0                           0
 7    U.S. dividends not eliminated in tax consolidation                                        0                            0                           0                         0
 8    Minority interest for includible corporations                                             0                            0                           0
 9    Income (loss) from U.S. partnerships                                                      0                            0                           0                         0
10    Income (loss) from foreign partnerships                                                   0                            0                           0                         0
11    Income (loss) from other pass- through entities                                           0                            0                           0                         0
12 Items relating to reportable transactions                                                    0                            0                           0                         0
13 Interest income (see instructions)                                                           0                            0                           0                         0
14 Total accrual to cash adjustment                                                             0                            0                           0                         0
15 Hedging transactions                                                                         0                            0                           0                         0
16 Mark- to- market income (loss)                                                               0                            0                           0                         0
17 Cost of goods sold (see instructions)                                   (                    0)                           0                           0 (                       0 )
18 Sale versus lease (for sellers and/or lessors)                                               0                            0                           0                         0
19 Section 481(a) adjustments                                                                                                0                           0                         0
20 Unearned/deferred revenue                                                                    0                            0                           0                         0
21 Income recognition from long- term contracts                                                 0                            0                           0                         0
22 Original issue discount and other imputed interest                                           0                            0                           0                         0
23a Income statement gain/loss on sale, exchange,
    abandonment, worthlessness, or other disposition of
    assets other than inventory and pass- through entities                                      0                            0                           0
  b Gross capital gains from Schedule D, excluding
    amounts from pass- through entities                                                                                      0                           0                         0
  c Gross capital losses from Schedule D, excluding
    amounts from pass- through entities, abandonment
    losses, and worthless stock losses                                                              0                                                    0                         0
  d Net gain/loss reported on Form 4797, line 17,
    excluding amounts from pass- through entities,
    abandonment losses, and worthless stock losses                                                  0                                                    0                         0
  e Abandonment losses                                                                              0                                                    0                         0
  f Worthless stock losses (attach statement)                                                       0                                                    0                         0
  g Ot h er gain/ loss on d isposit ion of asset s ot h er t h an invent ory                        0                                                    0                         0
24 Capital loss limitation and carryforward used                                                    0                                                    0                         0
25 Ot h er income (loss) it ems w it h d if f erences (at t ach st at ement )   0                   0                                                    0                         0
26 Total income (loss) items. Combine lines 1 through 25                        0                   0                                                    0                         0
27 Total expense/deduction items (from Part III, line 39)                       0                   0                                                    0                         0
28 Other items with no differences                         STATEMENT 14         0                                                                                                  0
29a Mixed groups, see instructions. All others, combine
    lines 26 through 28                                                         0                   0                                                    0                         0
  b PC insurance subgroup reconciliation totals                                 0                   0                                                    0                         0
  c Life insurance subgroup reconciliation totals                               0                   0                                                    0                         0
30 Reconciliation totals. Combine lines 29a through 29c                         0                   0                                                    0                         0
    Note. Line 30, column (a), must equal Part I, line 11, and column (d) must equal Form 1120, page 1, line 28.
                                                                                     F2.00.01           US20M3P2             Schedule M- 3 (Form 1120) (Rev. 12- 2019)
        Case 24-01357-11                          Filed 04/18/24               Entered 04/18/24 12:51:17                             Doc 1           Pg. 53 of 145
Schedule M- 3 (Form 1120) (Rev. 12- 2019)                                                                                                                          Page 3
Name of corporation (common parent, if consolidated return)                                                                               Employer identification number
HISTOGEN, INC. AND SUBSIDIARIES                                                                                                           XX-XXXXXXX
Ch eck applicab le b ox(es): (1)         Consolid at ed group (2)     Parent corp (3)      Consolid at ed eliminat ions (4)   X   Sub sid iary corp (5)       M ixed 1120/ L / PC group

Ch eck if a sub - consolid at ed : (6)       1120 group   (7)       1120 eliminat ions

Name of subsidiary (if consolidated return)                                                                                               Employer identification number
HISTOGEN THERAPEUTICS, INC.                                                                                                               XX-XXXXXXX
 Part III          Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                   Taxable Income per Return- Expense/Deduction Items (see instructions)
                                                                                    (a)                        (b)                        (c)                       (d)
                   Expense/Deduction Items                                      Expense per                Temporary                  Permanent                 Deduction per
                                                                             Income Statement              Difference                 Difference                 Tax Return
 1 U.S. current income tax expense                                                               0                            0                           0
 2 U.S. deferred income tax expense                                                              0                            0                           0
 3 State and local current income tax expense                                                    0                            0                           0                       0
 4 State and local deferred income tax expense                                                   0                            0                           0
 5 Foreign current income tax expense (other than
   foreign withholding taxes)                                                                    0                            0                           0                       0
 6 Foreign deferred income tax expense                                                           0                            0                           0
 7 Foreign withholding taxes                                                                     0                            0                           0                       0
 8 Interest expense (see instructions)                                                           0                            0                           0                       0
 9 Stock option expense                                                                          0                            0                           0                       0
10 Other equity- based compensation                                                              0                            0                           0                       0
11 Meals and entertainment                                                                       0                            0                           0                       0
12 Fines and penalties                                                                           0                            0                           0                       0
13 Judgments, damages, awards, and similar costs                                                 0                            0                           0                       0
14 Parachute payments                                                                            0                            0                           0                       0
15 Compensation with section 162(m) limitation                                                   0                            0                           0                       0
16 Pension and profit- sharing                                                                   0                            0                           0                       0
17 Other post- retirement benefits                                                               0                            0                           0                       0
18 Deferred compensation                                                                         0                            0                           0                       0
19 Charitable contribution of cash and tangible
   property                                                                                      0                            0                           0                       0
20 Charitable contribution of intangible property                                                0                            0                           0                       0
21 Charitable contribution limitation/carryforward                                                                            0                           0                       0
22 Domestic production activities deduction (See inst r.)                                                                     0                           0                       0
23 Current year acquisition or reorganization investment
   banking fees                                                                                  0                            0                           0                       0
24 Current year acquisition or reorganization legal and
   accounting fees                                                                               0                            0                           0                       0
25 Current year acquisition/reorganization other costs                                           0                            0                           0                       0
26 Amortization/impairment of goodwill                                                           0                            0                           0                       0
27 Amortization of acquisition, reorganization, and
   start- up costs                                                                               0                            0                           0                       0
28 Other amortization or impairment write- offs                                                  0                            0                           0                       0
29 Reserved
30 Depletion                                                                                     0                            0                           0                       0
31 Depreciation                                                                                  0                            0                           0                       0
32 Bad debt expense                                                                              0                            0                           0                       0
33 Corporate owned life insurance premiums                                                       0                            0                           0                       0
34 Purchase versus lease (for purchasers and/or lessees)                                         0                            0                           0                       0
35 Research and development costs                                                                0                            0                           0                       0
36 Section 118 exclusion (attach statement)                                                      0                            0                           0                       0
37 Section 162(r)- FDIC premiums paid by certain
   large financial institutions (see instructions)                                               0                            0                           0                       0
38 Other expense/deduction items with differences
   (attach statement)                        STATEMENT 15                                        0                            0                           0                       0
39 Total expense/deduction items. Combine lines 1
   through 38. Enter here and on Part II, line 27,
   reporting positive amounts as negative and
   negative amounts as positive                                                                  0                            0                           0                       0
                                                                                         F2.00.01         US20M3P3            Schedule M- 3 (Form 1120) (Rev. 12- 2019)
                                          Case 24-01357-11                         Filed 04/18/24         Entered 04/18/24 12:51:17                                       Doc 1      Pg. 54 of 145
 SCHEDULE UTP                                                                              Uncertain Tax Position Statement
 (Form 1120)                                                                                                                                                                                                       OMB No. 1545- 0123
                                                                                              File with Form 1120, 1120- F, 1120- L, or 1120- PC.
 (Rev. D ecemb er 2022)
 D epart ment of t h e Treasury                                                    Go to www.irs.gov/ScheduleUTP for instructions and the latest information.
 Int ernal Revenue Service
 Name of entity as shown on page 1 of tax return                                                                                                                                            EIN of entity
 HISTOGEN, INC. AND SUBSIDIARIES                                                                                                                                                              XX-XXXXXXX


                                                                                 This Part I, Schedule UTP (Form 1120) is page 1                     of     1        Part I pages.
 Part I           Uncertain Tax Positions for the Current Tax Year. See instructions for how to complete columns (a) through (k).
                  Enter, in Part III, a description for each uncertain tax position (UTP).
                  Check this box if the corporation was unable to obtain information from related parties sufficient to determine whether a tax position is a UTP. See instructions


                                              (b)                                                (c)                 (d)                              (e)
                                                                                                                Regulation Section
  (a)                                Primary IRC Sections                                   Rev. Rul.(RR),      (f or example,"1.482- 7")            Timing               (f)          (g)         (h)         (i)       (j)     (k)
                                  (f or example, "61", "108", "263A")                                                                                Codes
UTP No.                                                                                     Rev. Proc.(RP),                                           (ch eck if     Pass- Through    Major      Ranking     Form or     Line   Amount
                                                                                                                       Regulation                    Permanent ,
                                  Primary IRC Subsections                                        etc.                                                Temporary ,        Entity         Tax        of Tax    Schedule     No.
                                     (f or example, "(f )(2)(A)(ii)")                                                Subsection                        or b ot h )
                                                                                                                (f or example, "(d )(1)(iii)")                             EIN       Position    Position
                    41                                                                                                                                 X                                X                   FORM
 C       1 ( )( )( )(             ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(     )(       )(               )                                                G1        6765        17         330 , 389


 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(     )(       )(               )


 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(     )(       )(               )


 C          ( )( )( )(             ) ( )( )( )(                   ) ( )( )( )(         )                      ( )(     )(       )(               )

 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(      )(      )(               )


 C          ( )( )( )(             ) ( )( )( )(                   ) ( )( )( )(         )                      ( )(      )(      )(               )


 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(      )(      )(               )


 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(      )(      )(               )


 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(      )(      )(               )


 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(     )(       )(               )

 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(     )(       )(               )


 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(     )(       )(               )

 C          ( )( )( )(            ) ( )( )( )(                    ) ( )( )( )(         )                      ( )(     )(       )(               )


 C      ( )( )( )(       ) ( )( )( )(         ) ( )( )( )(       )                                            ( )(     )(       )(               )
For Paperwork Reduction Act Notice, see the Instructions for Form 1120.                                                                                                                          Schedule UTP (Form 1120) (Rev. 12- 2022)
ERF                                                                                                                                                                                                                F2.00.01 US1120U1
                                    Case 24-01357-11                Filed 04/18/24            Entered 04/18/24 12:51:17                       Doc 1     Pg. 55 of 145
Schedule UTP (Form 1120) (Rev. 12- 2022)                                                                                                                                                              Page   2
Name of entity as shown on page 1 of tax return                                                                                                           EIN of entity
 HISTOGEN, INC. AND SUBSIDIARIES                                                                                                                           XX-XXXXXXX


                                                    This Part II, Schedule UTP (Form 1120) is page       1        of 1       Part II pages.
 Part II       Uncertain Tax Positions for Prior Tax Years. See instructions for how to complete columns (a) through (l).
               Enter, in Part III, a description for each uncertain tax position (UTP).
               Check this box if the corporation was unable to obtain information from related parties sufficient to determine whether a tax position is a UTP. See instructions
                                       (b)                                                               (d)                     (e)
                                                                                    (c)       Regulation Section
  (a)                      Primary IRC Sections                                                (f or example,"1.482- 7")     Timing              (f)       (g)      (h)     (i)      (j)      (k)      (l)
                                                                               Rev. Rul.(RR),                                 Codes
UTP No.
                       (f or example, "61", "108", "263A")                                                                    (ch eck if   Pass- Through Major Ranking Form or       Line   Amount   Year of
                                                                              Rev. Proc.(RP),        Regulation              Permanent ,      Entity       Tax     of Tax Schedule                     Tax
                       Primary IRC Subsections                                                      Subsection               Temporary ,                                             No.
                           (f or example, "(f )(2)(A)(ii)")                         etc.      (f or example, "(d )(1)(iii)")
                                                                                                                               or b ot h )     EIN       Position Position                           Position


 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(          )                  ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(      )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )

 P         ( )( )( )(         ) ( )( )( )(         ) ( )( )( )(         )                   ( )(    )(       )(          )
                                                                                                                                                                    Schedule UTP (Form 1120) (Rev. 12- 2022)
                                                                                                                                                                                   F2.00.03     US1120U2
           Case 24-01357-11              Filed 04/18/24          Entered 04/18/24 12:51:17                     Doc 1      Pg. 56 of 145
Schedule UTP (Form 1120) (Rev. 12- 2022)                                                                                                     Page   3
Name of entity as shown on page 1 of tax return                                                          EIN of entity
  HISTOGEN, INC. AND SUBSIDIARIES                                                                            XX-XXXXXXX
                            This Part III, Schedule UTP (Form 1120), is page 1   of 1      Part III pages.
  Part III      Concise Descriptions of UTPs
                Indicate the corresponding UTP number from Part I, column (a) (for example, C1), or Part II, column (a) (for example, P2).
                Use as many Part III pages as necessary. See instructions.

 UTP No.      Concise Description of Uncertain Tax Position

  C     1     STATEMENT 1




                                                                                                             Schedule UTP (Form 1120) (Rev. 12- 2022)
                                                                                                                              F2.00.01    US1120U3
                     Case 24-01357-11         Filed 04/18/24     Entered 04/18/24 12:51:17         Doc 1   Pg. 57 of 145




                                                  STATEMENT 1 - SCHEDULE UTP, PART III, UTP
                                                    Part III, Concise Descriptions of UTPs
Entity: HISTOGEN, INC. AND SUBSIDIARIES
Period: 2022


                            STATEMENT 1   -   SCHEDULE UTP, PART III, UTP
   THE TAXPAYER IS A CLINICAL-STAGE THERAPEUTICS COMPANY FOCUSED ON DEVELOPING POTENTIAL FIRST-
   IN-CLASS RESTORATIVE THERAPEUTICS. DURING TAX YEAR 2022, THE TAXPAYER INCURRED EMPLOYEE
   WAGES, COST OF SUPPLIES EXPENSES, AND CONTRACT LABOR IN CONNECTION WITH THE DEVELOPMENT OF
   NEW AND/OR IMPROVED INNOVATE BUSINESS COMPONENTS ASSOCIATED WITH THEIR REGENERATIVE PRODUCTS.
   EMPLOYEE WAGES FOR QUALIFIED SERVICES IN THE AMOUNT OF $1,761,291 WERE REPORTED ON LINE 5 OF
   FORM 6765, QUALIFYING COST OF SUPPLIES IN THE AMOUNT OF $649,411 WRE REPORTED ON LINE 6 OF
   FORM 6765, AND THE APPLICABLE PERCENTAGE OF CONTRACT RESEARCH EXPENSES IN THE AMOUNT OF
   $893,185 WERE REPORTED ON LINE 8 OF FORM 6765. THERE IS UNCERTAINTY ON WHETHER THE DIRECT
   SUPPORT ACTIVITY CONDUCTED BY THE EMPLOYEES OF THE TAXPAYER IS CONSIDERED QUALIFIED RESEARCH
   UNDER SECTION 41 OF THE INTERNAL REVENUE CODE AND THE REGULATIONS THEREUNDER.
               Case 24-01357-11                    Filed 04/18/24           Entered 04/18/24 12:51:17                            Doc 1         Pg. 58 of 145

Form   1125- E                                                    Compensation of Officers
                                                                                                                                                               OM B No. 1545- 0123
(Rev. Oct ob er 2016)
                                                   Attach to Form 1120, 1120- C, 1120- F, 1120- REIT, 1120- RIC, or 1120S.
D epart ment of t h e Treasury
Int ernal Revenue Service                Information about Form 1125- E and its separate instructions is at www.irs.gov/form1125e.
Name                                                                                                                       Employer identification number
           HISTOGEN, INC. AND SUBSIDIARIES                                                                                              XX-XXXXXXX

Note. Complete Form 1125- E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                           (a) Name of of f icer                  (b) Social securit y numb er   (c) Percent of        Percent of st ock ow ned                (f) Amount of
                                                                        (see inst ruct ions)      t ime d evot ed                                               compensat ion
                                                                                                    t o b usiness   (d) Common       (e) Pref erred


   1     SUSAN A. KNUDSON                                                                                      %                 %                %                       681 , 237


         STEVEN J. MENTO                                                                                       %                 %                %                       560 , 322


         JOYCE REYES                                                                                           %                 %                %                       281 , 462


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


                                                                                                               %                 %                %                                  0


   2       Total compensation of officers                                                                                                         2                    1 , 523 , 021


   3       Compensation of officers claimed on Form 1125- A or elsewhere on return                                                                3                                  0


   4   Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
       appropriate line of your tax return                                                                                                        4                    1 , 523 , 021
For Paperwork Reduction Act Notice, see separate instructions.                                                                                        Form   1125- E (Rev. 10- 2016)

ERF
                                                                                                                                                      F2.00.01          US1125E1
            Case 24-01357-11                         Filed 04/18/24                     Entered 04/18/24 12:51:17                                          Doc 1           Pg. 59 of 145
                                                             Depreciation and Amortization
          4562
                                                                                                                                                                               OM B No. 1545- 0172

Form                                                    (Including Information on Listed Property)                                                                                   2022
D epart ment of t h e Treasury
                                                                       Attach to your tax return.                                                                               At t ach ment
                                                  Go to www.irs.gov/Form4562 for instructions and the latest information.                                                       Seq uence No. 179
Int ernal Revenue Service
Name(s) sh ow n on ret urn                                                                     B usiness or act ivit y t o w h ich t h is f orm relat es                    Identifying number
  HISTOGEN, INC. AND SUBSIDIARIES                                                                R&D REGENERATIVE                                                           XX-XXXXXXX
Part I            Election To Expense Certain Property Under Section 179
                  Note: If you have any listed property, complete Part V before you complete Part I.
 1   Maximum amount (see instructions)                                                                                                                                1                     1 , 080 , 000
 2   Total cost of section 179 property placed in service (see instructions)                                                                                          2                                  0
 3   Threshold cost of section 179 property before reduction in limitation (see instructions)                                                                         3                     2 , 700 , 000
 4   Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter - 0-                                                                                4                                  0
 5   Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter - 0- . If married filing
     separately, see instructions                                                                                                                                     5                     1 , 080 , 000
 6                               (a) D escript ion of propert y                                    (b) Cost (b usiness use only )             (c) Elect ed cost
                                                                                                                                  0                                   0
                                                                                                                                  0                                   0
 7     Listed property. Enter the amount from line 29                                                                                 7                               0
 8     Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7                                                                            8                                 0
 9     Tentative deduction. Enter the smaller of line 5 or line 8                                                                                                      9                                 0
10     Carryover of disallowed deduction from line 13 of your 2021 Form 4562                                                                                          10                                 0
11     Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instructions                                              11                                 0
12     Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                           12                                 0
13     Carryover of disallowed deduction to 2023. Add lines 9 and 10, less line 12                 13                                                                 0
Note: Don't use Part II or Part III below for listed property. Instead, use Part V.

Part II           Special Depreciation Allowance and Other Depreciation (Don't include listed property. See instructions.)
14 Special depreciation allowance for qualified property (other than listed property) placed in service
   during the tax year. See instructions                                                                                                                              14                       215 , 520
15 Property subject to section 168(f)(1) election                                                                                                                     15                                 0
16 Other depreciation (including ACRS)                                                                                                                                16                                 0
Part III         MACRS Depreciation (Don't include listed property. See instructions.)
                                                                                                Section A
17 MACRS deductions for assets placed in service in tax years beginning before 2022                                           17                                                                  2 , 300
18 If you are electing to group any assets placed in service during the tax year into one or more general
    asset accounts, check here
             Section B - Assets Placed in Service During 2022 Tax Year Using the General Depreciation System
                                    (b) M ont h and (c) B asis f or d epreciat ion
  (a) Classif icat ion of propert y year placed in   (b usiness/ invest ment use   (d) Recovery (e) Convent ion (f) M et h od                                              (g) D epreciat ion d ed uct ion
                                              service             only   see inst ruct ions)            period
19a 3- year property                                                                       0              0.0                                                                                            0
  b 5- year property                                                                       0              0.0                                                                                            0
  c 7- year property                                                                       0              0.0                                                                                            0
  d 10- year property                                                                      0              0.0                                                                                            0
  e 15- year property                                                                      0              0.0                                                                                            0
  f 20- year property                                                                      0              0.0                                                                                            0
  g 25- year property                                                                      0           25 yrs.                                              S/L                                          0
   h Residential rental                                                                    0          27.5 yrs.                    MM                       S/L                                          0
     property                                                                              0          27.5 yrs.                    MM                       S/L                                          0
   i Nonresidential real                                                                   0
                                                                                           MM          39 yrs.
                                                                                                           S/L                                                                                           0
     property                                                     0        0.0             MM              S/L                                                                                           0
               Section C - Assets Placed in Service During 2022 Tax Year Using the Alternative Depreciation System
20a Class life                                                                             0              0.0                                               S/L                                          0
  b 12- year                                                                               0           12 yrs.                                              S/L                                          0
  c 30- year                                                                               0           30 yrs.                    MM                        S/L                                          0
  d 40- year                                                                               0           40 yrs.                    MM                        S/L                                          0
Part IV           Summary (See instructions.)
21 Listed property. Enter amount from line 28                                                                                                                         21                                 0
22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
   here and on the appropriate lines of your return. Partnerships and S corporations - see instructions                                                               22                       217 , 820
23 For assets shown above and placed in service during the current year, enter the
   portion of the basis attributable to section 263A costs                                                                        23                              0
ERF       For Paperwork Reduction Act Notice, see separate instructions.                                                                      F2.00.01            US4562P1            Form 4562 (2022)
         Case 24-01357-11
        HISTOGEN, INC. AND SUBSIDIARIES           Filed 04/18/24                     Entered 04/18/24 12:51:17                                          Doc 120-3183915
                                                                                                                                                                 Pg. 60 of 145
Form 4562 (2022)                                                                                                                                                                                            Page 2

 Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
               entertainment, recreation, or amusement.)
               Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
               24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.

         Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
24a D o y ou h ave evid ence t o support t h e b usiness/ invest ment use claimed ?                Yes             No           24b If "Yes," is the evidence written?                              Yes        No
           (a)                       (b)              (c)                (d)                             (e)                   (f)     (g)                (h)                                         (i)
  Ty pe of propert y (list      D at e placed in B usiness/        Cost or ot h er           B asis f or d epreciat ion      Reco-        M et h od /          D epreciat ion                     Elect ed
      veh icles f irst )                         invest ment                                                                  very                                                              sect ion 179
                                    service          use              b asis                 (b usiness/ invest ment                     Convent ion            d ed uct ion
                                                 percent age                                        use only )               period                                                                cost

25 Special depreciation allowance for qualified listed property placed in service during the tax
   year and used more than 50% in a qualified business use. See instructions.                                                                      25                              0
26 Property used more than 50% in a qualified business use:
                                                      0 . 00%                            0                              0      0.0                                                 0                           0
                                                      0 . 00%                            0                              0      0.0                                                 0                           0
                                                      0 . 00%                            0                              0      0.0                                                 0                           0
27 Property used 50% or less in a qualified business use:
                                          0 . 00%                 0                  0                                         0 . 0 S/L                                           0
                                          0 . 00%                 0                  0                                         0 . 0 S/L                                           0
                                          0 . 00%                 0                  0                                         0 . 0 S/L                                           0
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1.                                                              28                              0
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1.                                                                                                          29                           0
                                                    Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided
vehicles to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.
                                                                         (a)                       (b)                      (c)                    (d)                      (e)                       (f)
30 Total business/investment miles driven during                     Veh icle 1               Veh icle 2                Veh icle 3              Veh icle 4               Veh icle 5              Veh icle 6

   the year ( don't include commuting miles)                                         0                         0                       0                      0                         0                      0
31 Total commuting miles driven during the year                                      0                         0                       0                      0                         0                      0
32 Total other personal (noncommuting)
   miles driven                                                                      0                         0                       0                      0                         0                      0
33 Total miles driven during the year.
   Add lines 30 through 32                                                           0                         0                       0                      0                         0                      0
34 Was the vehicle available for personal                         Yes          No            Yes         No         Yes             No       Yes         No         Yes           No          Yes           No
   use during off- duty hours?
35 Was the vehicle used primarily by a
    more than 5% owner or related person?

36 Is another vehicle available for personal use?
                          Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons. See instructions.
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting,                                                                               Yes            No
   by your employees?
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your employees?
   See the instructions for vehicles used by corporate officers, directors, or 1% or more owners
39 Do you treat all use of vehicles by employees as personal use?
40 Do you provide more than five vehicles to your employees, obtain information from your employees about
   the use of the vehicles, and retain the information received?
41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions.
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
 Part VI           Amortization
             (a)                              (b)                           (c)                                               (d)                             (e)                             (f)
    D escript ion of cost s           D at e amort izat ion            Amort izab le                                         Cod e                       Amort izat ion               Amort izat ion f or
                                              b egins                    amount                                             sect ion                       period or                    t h is year
                                                                                                                                                          percent age
42 Amortization of costs that begins during your 2022 tax year (see instructions):
  CAPITALIZED R&D                       06 30       2022                       5 , 481 , 625                                174                              5 YRS                                    548 , 162
  CAPITALIZED R&D                       06 30       2022                             63 , 858                               174                              15 YRS                                     2 , 129
43 Amortization of costs that began before your 2022 tax year                                                                                                       43                                153 , 895
44 Total. Add amounts in column (f). See the instructions for where to report                                                                                       44                                704 , 186
                                                                                                                                                                                            Form 4562 (2022)

                                                                                                                                                                             F2.00.01                US4562P2
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Form    6765
(Rev. D ecemb er 2020)
                                       Credit for Increasing Research Activities
                                                             Attach to your tax return.
                                                                                                                                        OM B No. 1545- 0619



D epart ment of t h e Treasury                                                                                                            At t ach ment
Int ernal Revenue Service               Go to www.irs.gov/Form6765 for instructions and the latest information.                           Seq uence No. 676
Name(s) sh ow n on ret urn                                                                                                        Identifying number
HISTOGEN, INC. AND SUBSIDIARIES                                                                                                   XX-XXXXXXX
Section A Regular Credit. Skip this section and go to Section B if you are electing or previously elected (and are not revoking) the
alternative simplified credit.
  1      Certain amounts paid or incurred to energy consortia (see instructions)                                                   1                           0
  2      Basic research payments to qualified organizations (see instructions)                2                          0
  3      Qualified organization base period amount                                            3                          0
  4      Subtract line 3 from line 2. If zero or less, enter - 0-                                                                  4                           0
  5      Wages for qualified services (do not include wages used in figuring
         the work opportunity credit)                                                         5               1 , 761 , 291
  6      Cost of supplies                                                                     6                 649 , 411
  7      Rental or lease costs of computers (see instructions)                                7                          0
  8      Enter the applicable percentage of contract research expenses. See
         instructions                                                                         8                 893 , 185
  9      Total qualified research expenses. Add lines 5 through 8                             9               3 , 303 , 887
 10      Enter fixed- base percentage, but not more than 16% (0.16) (see instructions)       10                 16 . 0000 %
 11      Enter average annual gross receipts. See instructions                               11                         0
 12      Multiply line 11 by the percentage on line 10                                       12                          0
 13      Subtract line 12 from line 9. If zero or less, enter - 0-                           13               3 , 303 , 887
 14      Multiply line 9 by 50% (0.50)                                                       14               1 , 651 , 944
 15      Enter the smaller of line 13 or line 14                                                                                  15                1 , 651 , 944
 16      Add lines 1, 4, and 15                                                                                                   16                1 , 651 , 944
 17      Are you electing the reduced credit under section 280C?              Yes         No X
         If "Yes," multiply line 16 by 15.8% (0.158). If "No," multiply line 16 by 20% (0.20) and see the instructions
         for the statement that must be attached. Members of controlled groups or businesses under
         common control, see instructions for the statement that must be attached                                                 17                   330 , 389
Section B Alternative Simplified Credit.    Skip this section if you are completing Section A.
 18   Certain amounts paid or incurred to energy consortia (see the line 1 instructions)                                          18                           0
 19   Basic research payments to qualified organizations (see the line 2
         instructions)                                                                       19                               0
 20      Qualified organization base period amount (see the line 3 instructions)             20                               0
 21      Subtract line 20 from line 19. If zero or less, enter - 0-                                                               21                           0
 22      Add lines 18 and 21                                                                                                      22                           0
 23      Multiply line 22 by 20% (0.20)                                                                                           23                           0
 24      Wages for qualified services (do not include wages used in figuring the
         work opportunity credit)                                                            24                               0
 25      Cost of supplies                                                                    25                               0
 26      Rental or lease costs of computers (see the line 7 instructions)                    26                               0
 27      Enter the applicable percentage of contract research expenses. See the
         line 8 instructions                                                                 27                               0
 28      Total qualified research expenses. Add lines 24 through 27                          28                               0
 29      Enter your total qualified research expenses for the prior 3 tax years. If
         you had no qualified research expenses in any one of those years, skip
         lines 30 and 31                                                                     29                               0
 30      Divide line 29 by 6.0                                                               30                               0
 31      Subtract line 30 from line 28. If zero or less, enter - 0-                          31                               0
 32      Multiply line 31 by 14% (0.14). If you skipped lines 30 and 31, multiply line 28 by 6% (0.06)                            32                           0
 33      Add lines 23 and 32                                                                                                      33                           0
 34      Are you electing the reduced credit under section 280C?          Yes            No
         If "Yes," multiply line 33 by 79% (0.79). If "No," enter the amount from line 33 and see the line 17
         instructions for the statement that must be attached. Members of controlled groups or businesses
         under common control, see instructions for the statement that must be attached                                           34                           0
 For Paperwork Reduction Act Notice, see separate instructions.                                                                         Form 6765 (Rev. 12- 2020)




 ERF                                                                                                                                    F2.00.01       US6765P1
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Form 6765 (Rev. 12- 2020)            HISTOGEN, INC. AND SUBSIDIARIES                                                              XX-XXXXXXX          Page 2


Section C - Current Year Credit

 35   Enter the portion of the credit from Form 8932, line 2, that is attributable to wages that were also
      used to figure the credit on line 17 or line 34 (whichever applies)                                                    35                            0
 36   Subtract line 35 from line 17 or line 34 (whichever applies). If zero or less, enter - 0-                              36                    330 , 389
 37   Credit for increasing research activities from partnerships, S corporations, estates, and trusts                       37                            0
 38   Add lines 36 and 37                                                                                                    38                    330 , 389
      · Estates and trusts, go to line 39.
      · Partnerships and S corporations not electing the payroll tax credit, stop here and report this
       amount on Schedule K.
      · Partnerships and S corporations electing the payroll tax credit, complete Section D and report on
       Schedule K the amount on this line reduced by the amount on line 44.
      · Eligible small businesses, stop here and report the credit on Form 3800, Part III, line 4i. See
       instructions for the definition of eligible small business.
      · Filers other than eligible small businesses, stop here and report the credit on Form 3800, Part III,
       line 1c.
       Note: Qualified small business filers, other than partnerships and S corporations, electing the payroll
       tax credit must complete Form 3800 before completing Section D.
 39   Amount allocated to beneficiaries of the estate or trust (see instructions)                                            39
 40   Estates and trusts, subtract line 39 from line 38. For eligible small businesses, report the credit on
      Form 3800, Part III, line 4i. See instructions. For filers other than eligible small businesses, report
      the credit on Form 3800, Part III, line 1c                                                                       40
Section D - Qualified Small Business Payroll Tax Election and Payroll Tax Credit. Skip this section if the payroll tax election does
not apply. See instructions.
 41   Check this box if you are a qualified small business electing the payroll tax credit. See instructions
 42   Enter the portion of line 36 elected as a payroll tax credit (do not enter more than $250,000). See
      instructions                                                                                                           42                            0
 43   General business credit carryforward from the current year (see instructions). Partnerships and
      S corporations, skip this line and go to line 44                                                                       43                            0
 44   Partnerships and S corporations, enter the smaller of line 36 or line 42. All others, enter the smallest of line 36,
      line 42, or line 43. Enter here and on the applicable line of Form 8974, Part 1, column (e). Members of controlled
      groups or businesses under common control, see instructions for the statement that must be attached                    44                            0
                                                                                                                                    Form 6765 (Rev. 12- 2020)




                                                                                                                                   F2.00.01      US6765P2
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                                              Supplemental Attachment to Schedule M- 3
Form       8916- A                                                                                                                  OM B No. 1545- 0123
                                              Attach to Schedule M- 3 for Form 1065, 1120, 1120- L, 1120- PC, or 1120S.
(Rev. Novemb er 2019)
                                                   Go to www.irs.gov/Form1120 for the latest information.
D epart ment of t h e Treasury
Int ernal Revenue Service

Name of common parent                                                                                           Employer identification number
   HISTOGEN, INC. AND SUBSIDIARIES                                                                              XX-XXXXXXX
Name of subsidiary                                                                                              Employer identification number

 Part I Cost of Goods Sold
                                                                             (a)                  (b)                  (c)                  (d)
                      Cost of Goods Sold Items                           Expense per          Temporary            Permanent            Deduction per
                                                                      Income Statement        Difference           Difference            Tax Return


   1        Amounts attributable to cost flow assumptions                              0                    0                   0                         0


   2        Amounts attributable to:

       a    Stock option expense                                                       0                    0                   0                         0


       b    Other equity- based compensation                                           0                    0                   0                         0


       c    Meals and entertainment                                                    0                    0                   0                         0


       d    Parachute payments                                                         0                    0                   0                         0


       e    Compensation with section 162(m) limitation                                0                    0                   0                         0


       f    Pension and profit sharing                                                 0                    0                   0                         0


       g    Other post- retirement benefits                                            0                    0                   0                         0


       h    Deferred compensation                                                      0                    0                   0                         0


       i    Reserved

       j    Amortization                                                               0                    0                   0                         0


       k    Depletion                                                                  0                    0                   0                         0


       l    Depreciation                                                               0                    0                   0                         0


       m    Corporate- owned life insurance premiums                                   0                    0                   0                         0


       n    Other section 263A costs                                                   0                    0                   0                         0


   3        Inventory shrinkage accruals                                               0                    0                   0                         0


   4        Excess inventory and obsolescence reserves                                 0                    0                   0                         0


   5        Lower of cost or market write- downs                                       0                    0                   0                         0


   6        Other items with differences (attach statement)                            0                    0                   0                         0


   7        Other items with no differences                                            0                                                                  0
   8        Total cost of goods sold. Add lines 1 through 7 in
            columns a, b, c, and d. Enter totals on the
            applicable Schedule M- 3. See instructions                                 0                    0                   0                         0
 For Paperwork Reduction Act Notice, see instructions.                                                                    Form 8916- A (Rev. 11- 2019)
 ERF                                                                                                                            F2.00.01        US8916A1
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Form 8916- A (Rev. 11- 2019)                                                                                                       Page     2
Part II    Interest Income
                                                  (a)                       (b)                  (c)                       (d)
           Interest Income Item        Income (Loss) per Income         Temporary            Permanent              Income (Loss) per
                                              Statement                 Difference           Difference                Tax Return
1     Tax- exempt interest
      income                                                 0                       0                    0
2     Interest income from hybrid
      securities                                             0                       0                    0                             0
3     Sale/lease interest income
                                                             0                       0                    0                             0
4a    Intercompany interest
      income - From outside tax
      affiliated group                                       0                       0                    0                             0
4b    Intercompany interest
      income - From tax affiliated
      group                                                  0                       0                    0                             0


5     Other interest income                            43 , 080                      0                    0                     43 , 080
6     Total interest income. Add
      lines 1 through 5 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M- 3.
      See instructions.                                43 , 080                      0                    0                     43 , 080
Part III Interest Expense
                                                 (a)                        (b)                  (c)                       (d)
          Interest Expense Item          Expense per Income             Temporary            Permanent              Deduction per Tax
                                             Statement                  Difference           Difference                 Return
1     Interest expense from hybrid
      securities                                             0                           0                0                             0
2     Lease/purchase interest
      expense                                                0                           0                0                             0
3a    Intercompany interest
      expense - Paid to outside
      tax affiliated group                                   0                           0                0                             0
3b    Intercompany interest
      expense - Paid to tax
      affiliated group                                       0                           0                0                             0


4     Other interest expense                            1 , 916                          0                0                      1 , 916
5     Total interest expense. Add
      lines 1 through 4 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M- 3.
      See instructions.                                 1 , 916                          0                0                      1 , 916
                                                                                                              Form 8916- A (Rev. 11- 2019)




                                                                                                                   F2.00.01      US8916A2
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                                              Supplemental Attachment to Schedule M- 3
Form       8916- A                                                                                                                  OM B No. 1545- 0123
                                              Attach to Schedule M- 3 for Form 1065, 1120, 1120- L, 1120- PC, or 1120S.
(Rev. Novemb er 2019)
                                                   Go to www.irs.gov/Form1120 for the latest information.
D epart ment of t h e Treasury
Int ernal Revenue Service

Name of common parent                                                                                           Employer identification number
   HISTOGEN, INC. AND SUBSIDIARIES                                                                              XX-XXXXXXX
Name of subsidiary                                                                                              Employer identification number

 Part I Cost of Goods Sold
                                                                             (a)                  (b)                  (c)                  (d)
                      Cost of Goods Sold Items                           Expense per          Temporary            Permanent            Deduction per
                                                                      Income Statement        Difference           Difference            Tax Return


   1        Amounts attributable to cost flow assumptions                              0                    0                   0                         0


   2        Amounts attributable to:

       a    Stock option expense                                                       0                    0                   0                         0


       b    Other equity- based compensation                                           0                    0                   0                         0


       c    Meals and entertainment                                                    0                    0                   0                         0


       d    Parachute payments                                                         0                    0                   0                         0


       e    Compensation with section 162(m) limitation                                0                    0                   0                         0


       f    Pension and profit sharing                                                 0                    0                   0                         0


       g    Other post- retirement benefits                                            0                    0                   0                         0


       h    Deferred compensation                                                      0                    0                   0                         0


       i    Reserved

       j    Amortization                                                               0                    0                   0                         0


       k    Depletion                                                                  0                    0                   0                         0


       l    Depreciation                                                               0                    0                   0                         0


       m    Corporate- owned life insurance premiums                                   0                    0                   0                         0


       n    Other section 263A costs                                                   0                    0                   0                         0


   3        Inventory shrinkage accruals                                               0                    0                   0                         0


   4        Excess inventory and obsolescence reserves                                 0                    0                   0                         0


   5        Lower of cost or market write- downs                                       0                    0                   0                         0


   6        Other items with differences (attach statement)                            0                    0                   0                         0


   7        Other items with no differences                                            0                                                                  0
   8        Total cost of goods sold. Add lines 1 through 7 in
            columns a, b, c, and d. Enter totals on the
            applicable Schedule M- 3. See instructions                                 0                    0                   0                         0
 For Paperwork Reduction Act Notice, see instructions.                                                                    Form 8916- A (Rev. 11- 2019)
 ERF                                                                                                                            F2.00.01        US8916A1
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Form 8916- A (Rev. 11- 2019)                                                                                                       Page     2
Part II    Interest Income
                                                  (a)                       (b)                  (c)                       (d)
           Interest Income Item        Income (Loss) per Income         Temporary            Permanent              Income (Loss) per
                                              Statement                 Difference           Difference                Tax Return
1     Tax- exempt interest
      income                                             0                           0                    0
2     Interest income from hybrid
      securities                                         0                           0                    0                             0
3     Sale/lease interest income
                                                         0                           0                    0                             0
4a    Intercompany interest
      income - From outside tax
      affiliated group                                   0                           0                    0                             0
4b    Intercompany interest
      income - From tax affiliated
      group                                              0                           0                    0                             0


5     Other interest income                              0                           0                    0                             0
6     Total interest income. Add
      lines 1 through 5 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M- 3.
      See instructions.                                  0                           0                    0                             0
Part III Interest Expense
                                                 (a)                        (b)                  (c)                       (d)
          Interest Expense Item          Expense per Income             Temporary            Permanent              Deduction per Tax
                                             Statement                  Difference           Difference                 Return
1     Interest expense from hybrid
      securities                                         0                               0                0                             0
2     Lease/purchase interest
      expense                                            0                               0                0                             0
3a    Intercompany interest
      expense - Paid to outside
      tax affiliated group                               0                               0                0                             0
3b    Intercompany interest
      expense - Paid to tax
      affiliated group                                   0                               0                0                             0


4     Other interest expense                             0                               0                0                             0
5     Total interest expense. Add
      lines 1 through 4 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M- 3.
      See instructions.                                  0                               0                0                             0
                                                                                                              Form 8916- A (Rev. 11- 2019)




                                                                                                                   F2.00.01      US8916A2
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                                              Supplemental Attachment to Schedule M- 3
Form       8916- A                                                                                                                  OM B No. 1545- 0123
                                              Attach to Schedule M- 3 for Form 1065, 1120, 1120- L, 1120- PC, or 1120S.
(Rev. Novemb er 2019)
                                                   Go to www.irs.gov/Form1120 for the latest information.
D epart ment of t h e Treasury
Int ernal Revenue Service

Name of common parent                                                                                           Employer identification number
   HISTOGEN, INC. AND SUBSIDIARIES                                                                              XX-XXXXXXX
Name of subsidiary                                                                                              Employer identification number
   HISTOGEN, INC.                                                                                               XX-XXXXXXX
 Part I Cost of Goods Sold
                                                                             (a)                  (b)                  (c)                  (d)
                      Cost of Goods Sold Items                           Expense per          Temporary            Permanent            Deduction per
                                                                      Income Statement        Difference           Difference            Tax Return


   1        Amounts attributable to cost flow assumptions                              0                    0                   0                         0


   2        Amounts attributable to:

       a    Stock option expense                                                       0                    0                   0                         0


       b    Other equity- based compensation                                           0                    0                   0                         0


       c    Meals and entertainment                                                    0                    0                   0                         0


       d    Parachute payments                                                         0                    0                   0                         0


       e    Compensation with section 162(m) limitation                                0                    0                   0                         0


       f    Pension and profit sharing                                                 0                    0                   0                         0


       g    Other post- retirement benefits                                            0                    0                   0                         0


       h    Deferred compensation                                                      0                    0                   0                         0


       i    Reserved

       j    Amortization                                                               0                    0                   0                         0


       k    Depletion                                                                  0                    0                   0                         0


       l    Depreciation                                                               0                    0                   0                         0


       m    Corporate- owned life insurance premiums                                   0                    0                   0                         0


       n    Other section 263A costs                                                   0                    0                   0                         0


   3        Inventory shrinkage accruals                                               0                    0                   0                         0


   4        Excess inventory and obsolescence reserves                                 0                    0                   0                         0


   5        Lower of cost or market write- downs                                       0                    0                   0                         0


   6        Other items with differences (attach statement)                            0                    0                   0                         0


   7        Other items with no differences                                            0                                                                  0
   8        Total cost of goods sold. Add lines 1 through 7 in
            columns a, b, c, and d. Enter totals on the
            applicable Schedule M- 3. See instructions                                 0                    0                   0                         0
 For Paperwork Reduction Act Notice, see instructions.                                                                    Form 8916- A (Rev. 11- 2019)
 ERF                                                                                                                            F2.00.01        US8916A1
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Form 8916- A (Rev. 11- 2019)                                                                                                       Page     2
Part II    Interest Income
                                                  (a)                       (b)                  (c)                       (d)
           Interest Income Item        Income (Loss) per Income         Temporary            Permanent              Income (Loss) per
                                              Statement                 Difference           Difference                Tax Return
1     Tax- exempt interest
      income                                                 0                       0                    0
2     Interest income from hybrid
      securities                                             0                       0                    0                             0
3     Sale/lease interest income
                                                             0                       0                    0                             0
4a    Intercompany interest
      income - From outside tax
      affiliated group                                       0                       0                    0                             0
4b    Intercompany interest
      income - From tax affiliated
      group                                                  0                       0                    0                             0


5     Other interest income                            43 , 080                      0                    0                     43 , 080
6     Total interest income. Add
      lines 1 through 5 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M- 3.
      See instructions.                                43 , 080                      0                    0                     43 , 080
Part III Interest Expense
                                                 (a)                        (b)                  (c)                       (d)
          Interest Expense Item          Expense per Income             Temporary            Permanent              Deduction per Tax
                                             Statement                  Difference           Difference                 Return
1     Interest expense from hybrid
      securities                                             0                           0                0                             0
2     Lease/purchase interest
      expense                                                0                           0                0                             0
3a    Intercompany interest
      expense - Paid to outside
      tax affiliated group                                   0                           0                0                             0
3b    Intercompany interest
      expense - Paid to tax
      affiliated group                                       0                           0                0                             0


4     Other interest expense                            1 , 916                          0                0                      1 , 916
5     Total interest expense. Add
      lines 1 through 4 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M- 3.
      See instructions.                                 1 , 916                          0                0                      1 , 916
                                                                                                              Form 8916- A (Rev. 11- 2019)




                                                                                                                   F2.00.01      US8916A2
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                                              Supplemental Attachment to Schedule M- 3
Form       8916- A                                                                                                                  OM B No. 1545- 0123
                                              Attach to Schedule M- 3 for Form 1065, 1120, 1120- L, 1120- PC, or 1120S.
(Rev. Novemb er 2019)
                                                   Go to www.irs.gov/Form1120 for the latest information.
D epart ment of t h e Treasury
Int ernal Revenue Service

Name of common parent                                                                                           Employer identification number
   HISTOGEN, INC. AND SUBSIDIARIES                                                                              XX-XXXXXXX
Name of subsidiary                                                                                              Employer identification number
   HISTOGEN THERAPEUTICS, INC.                                                                                  XX-XXXXXXX
 Part I Cost of Goods Sold
                                                                             (a)                  (b)                  (c)                  (d)
                      Cost of Goods Sold Items                           Expense per          Temporary            Permanent            Deduction per
                                                                      Income Statement        Difference           Difference            Tax Return


   1        Amounts attributable to cost flow assumptions                              0                    0                   0                         0


   2        Amounts attributable to:

       a    Stock option expense                                                       0                    0                   0                         0


       b    Other equity- based compensation                                           0                    0                   0                         0


       c    Meals and entertainment                                                    0                    0                   0                         0


       d    Parachute payments                                                         0                    0                   0                         0


       e    Compensation with section 162(m) limitation                                0                    0                   0                         0


       f    Pension and profit sharing                                                 0                    0                   0                         0


       g    Other post- retirement benefits                                            0                    0                   0                         0


       h    Deferred compensation                                                      0                    0                   0                         0


       i    Reserved

       j    Amortization                                                               0                    0                   0                         0


       k    Depletion                                                                  0                    0                   0                         0


       l    Depreciation                                                               0                    0                   0                         0


       m    Corporate- owned life insurance premiums                                   0                    0                   0                         0


       n    Other section 263A costs                                                   0                    0                   0                         0


   3        Inventory shrinkage accruals                                               0                    0                   0                         0


   4        Excess inventory and obsolescence reserves                                 0                    0                   0                         0


   5        Lower of cost or market write- downs                                       0                    0                   0                         0


   6        Other items with differences (attach statement)                            0                    0                   0                         0


   7        Other items with no differences                                            0                                                                  0
   8        Total cost of goods sold. Add lines 1 through 7 in
            columns a, b, c, and d. Enter totals on the
            applicable Schedule M- 3. See instructions                                 0                    0                   0                         0
 For Paperwork Reduction Act Notice, see instructions.                                                                    Form 8916- A (Rev. 11- 2019)
 ERF                                                                                                                            F2.00.01        US8916A1
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Form 8916- A (Rev. 11- 2019)                                                                                                       Page     2
Part II    Interest Income
                                                  (a)                       (b)                  (c)                       (d)
           Interest Income Item        Income (Loss) per Income         Temporary            Permanent              Income (Loss) per
                                              Statement                 Difference           Difference                Tax Return
1     Tax- exempt interest
      income                                             0                           0                    0
2     Interest income from hybrid
      securities                                         0                           0                    0                             0
3     Sale/lease interest income
                                                         0                           0                    0                             0
4a    Intercompany interest
      income - From outside tax
      affiliated group                                   0                           0                    0                             0
4b    Intercompany interest
      income - From tax affiliated
      group                                              0                           0                    0                             0


5     Other interest income                              0                           0                    0                             0
6     Total interest income. Add
      lines 1 through 5 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M- 3.
      See instructions.                                  0                           0                    0                             0
Part III Interest Expense
                                                 (a)                        (b)                  (c)                       (d)
          Interest Expense Item          Expense per Income             Temporary            Permanent              Deduction per Tax
                                             Statement                  Difference           Difference                 Return
1     Interest expense from hybrid
      securities                                         0                               0                0                             0
2     Lease/purchase interest
      expense                                            0                               0                0                             0
3a    Intercompany interest
      expense - Paid to outside
      tax affiliated group                               0                               0                0                             0
3b    Intercompany interest
      expense - Paid to tax
      affiliated group                                   0                               0                0                             0


4     Other interest expense                             0                               0                0                             0
5     Total interest expense. Add
      lines 1 through 4 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M- 3.
      See instructions.                                  0                               0                0                             0
                                                                                                              Form 8916- A (Rev. 11- 2019)




                                                                                                                   F2.00.01      US8916A2
                         Case 24-01357-11        Filed 04/18/24     Entered 04/18/24 12:51:17              Doc 1     Pg. 71 of 145


                                                        2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                         CONSOL         Elimination       Subtotal           HISTOGEN        THERAPEUTICS
                                                       XX-XXXXXXX                                           XX-XXXXXXX        XX-XXXXXXX


                                      ****************************************************
                                      *    1120 - U.S. CORPORATION INCOME TAX RETURN       *
                                      ****************************************************


  TOTAL ASSETS                                            20,140,944                  0    20,140,944         20,140,944                    0
 1A GROSS RECEIPTS OR SALES. . . . . . . . . . . 1A        3,769,404                  0        3,769,404       3,769,404                    0
  B RETURNS & ALLOWANCES . . . . . . . . . . . . 1B                 0                 0                0                 0                  0
  C SUBTRACT LINE 1B FROM LINE 1A. . . . . . . . 1C        3,769,404                  0        3,769,404       3,769,404                    0
 2 COST OF GOODS SOLD (FORM 1125-A). . . . . . . .2                 0                 0                0                 0                  0
 3 GROSS PROFIT (LINE 1(C) LESS LINE 2). . . . . .3        3,769,404                  0        3,769,404       3,769,404                    0
 4 DIVIDENDS (SCHEDULE C). . . . . . . . . . . . .4                 0                 0                0                 0                  0
 5 INTEREST. . . . . . . . . . . . . . . . . . . .5           43,080                  0           43,080            43,080                  0
 6 GROSS RENTS . . . . . . . . . . . . . . . . . .6                 0                 0                0                 0                  0
 7 GROSS ROYALTIES . . . . . . . . . . . . . . . .7                 0                 0                0                 0                  0
 8 CAPITAL GAIN NET INCOME (SCHEDULE D). . . . . .8                 0                 0                0                 0                  0
 9 NET GAIN (LOSS) FROM FORM 4797. . . . . . . . .9                 0                 0                0                 0                  0
10 OTHER INCOME (ATTACH SCHEDULE). . . . . . . . 10                 0                 0                0                 0                  0
11      TOTAL INCOME (LINES 3 THROUGH 10). . . .>11        3,812,484                  0        3,812,484       3,812,484                    0
12 COMPENSATION OF OFFICERS (FORM 1125-E). . . . 12        1,523,021                  0        1,523,021       1,523,021                    0
13 SALARIES AND WAGES. . . . . . . . . . . . . . 13           76,561                  0           76,561            76,561                  0
14 REPAIRS . . . . . . . . . . . . . . . . . . . 14           71,951                  0           71,951            71,951                  0
15 BAD DEBTS . . . . . . . . . . . . . . . . . . 15                 0                 0                0                 0                  0
16 RENTS . . . . . . . . . . . . . . . . . . . . 16        1,848,417                  0        1,848,417       1,848,417                    0
17 TAXES . . . . . . . . . . . . . . . . . . . . 17          379,894                  0          379,894           379,894                  0
18 INTEREST. . . . . . . . . . . . . . . . . . . 18            1,916                  0           1,916              1,916                  0
19 CONTRIBUTIONS (SEE INSTRUCTIONS). . . . . . . 19                 0                 0                0                 0                  0
20 DEPRECIATION FROM FORM 4562 NOT CLAIMED ON
     FORM 1125-A OR ELSEWHERE. . . . . . . . . . 20          217,820                  0          217,820           217,820                  0
21 DEPLETION . . . . . . . . . . . . . . . . . . 21                 0                 0                0                 0                  0
22 ADVERTISING . . . . . . . . . . . . . . . . . 22                 0                 0                0                 0                  0
23 PENSION, PROFIT SHARING, ETC. PLANS . . . . . 23                 0                 0                0                 0                  0
24 EMPLOYEE BENEFIT PROGRAMS . . . . . . . . . . 24          148,147                  0          148,147           148,147                  0
25 RESERVED                                     25                  0                 0                0                 0                  0
26 OTHER DEDUCTIONS. . . . . . . . . . . . . . . 26        5,293,337                  0        5,293,337       5,293,337                    0
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                                                        2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                         CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                       XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX
27 TOTAL DEDUCTIONS (LINES 12 THROUGH 26). . . . 27       9,561,064                   0     9,561,064        9,561,064                    0
28 TAXABLE INCOME BEFORE NOL & SPECIAL DEDUCT. . 28     (5,748,580)                   0   (5,748,580)      (5,748,580)                    0
29 LESS: A. NET OPERATING LOSS DEDUCTION . . . .29A                 0                 0              0                 0                  0
         B. SPECIAL DEDUCTIONS (SCHEDULE C). . .29B                 0                 0              0                 0                  0
         C. TOTAL. . . . . . . . . . . . . . . .29C                 0                 0              0                 0                  0
30 TAXABLE INCOME (LINE 28 LESS 29C) . . . . . . 30     (5,748,580)                   0   (5,748,580)      (5,748,580)                    0
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                                                          2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                            CONSOL         Elimination       Subtotal          HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                          XX-XXXXXXX        XX-XXXXXXX


                                       ****************************************************
                                       *     SCHEDULE L - BALANCE SHEET, BEGINNING OF YEAR    *
                                       ****************************************************


                    ASSETS
 1 CASH. . . . . . . . . . . . . . . . . . . . . . .         18,685,367                  0    18,685,367        18,685,367                    0
 2(A)TRADE NOTES AND ACCOUNTS RECEIVABLE . . . . . .            805,510                  0          805,510        805,510                    0
  (B) LESS ALLOWANCE FOR BAD DEBTS . . . . . . . . .            397,412                  0          397,412        397,412                    0
      NET TRADE RECEIVABLES. . . . . . . . . . . . .            408,098                  0          408,098        408,098                    0
 3 INVENTORIES . . . . . . . . . . . . . . . . . . .             60,685                  0          60,685          60,685                    0
 4 U.S. GOVERNMENT OBLIGATIONS . . . . . . . . . . .                   0                 0               0                 0                  0
 5 TAX-EXEMPT SECURITIES (SEE INSTRUCTIONS). . . . .                   0                 0               0                 0                  0
 6 OTHER CURRENT ASSETS (ATTACH SCHEDULE). . . . . .          2,610,753                  0        2,610,753       2,610,753                   0
 7 LOANS TO STOCKHOLDERS . . . . . . . . . . . . . .                   0                 0               0                 0                  0
 8 MORTGAGE & REAL ESTATE LOANS. . . . . . . . . . .                   0                 0               0                 0                  0
 9 OTHER INVESTMENTS (ATTACH SCHEDULE) . . . . . . .            339,365                  0          339,365        339,365                    0
10(A)BUILDINGS AND OTHER DEPRECIABLE ASSETS. . . . .            460,287                  0          460,287        460,287                    0
  (B) LESS ACCUMULATED DEPRECIATION. . . . . . . . .                   0                 0               0                 0                  0
      NET DEPRECIABLE ASSETS . . . . . . . . . . . .            460,287                  0          460,287        460,287                    0
11(A) DEPLETABLE ASSETS. . . . . . . . . . . . . . .                   0                 0               0                 0                  0
  (B) LESS ACCUMULATED DEPLETION . . . . . . . . . .                   0                 0               0                 0                  0
      NET DEPLETABLE ASSETS. . . . . . . . . . . . .                   0                 0               0                 0                  0
12 LAND (NET OF ANY AMORTIZATION). . . . . . . . . .                   0                 0               0                 0                  0
13(A) INTANGIBLE ASSETS (AMORTIZABLE ONLY). . . . .                    0                 0               0                 0                  0
  (B) LESS ACCUMULATED AMORTIZATION. . . . . . . . .                   0                 0               0                 0                  0
      NET INTANGIBLE ASSETS. . . . . . . . . . . . .                   0                 0               0                 0                  0
14 OTHER ASSETS (ATTACH SCHEDULE). . . . . . . . . .          5,576,792                  0        5,576,792       5,576,792                   0
15 TOTAL ASSETS. . . . . . . . . . . . . . . . . . .         28,141,347                  0    28,141,347        28,141,347                    0
      LIABILITIES AND STOCKHOLDERS' EQUITY
16 ACCOUNTS PAYABLE. . . . . . . . . . . . . . . . .          1,364,434                  0        1,364,434       1,364,434                   0
17 MORTGAGES, NOTES, BONDS PAYABLE UNDER 1 YEAR. . .                   0                 0               0                 0                  0
18 OTHER CURRENT LIABILITIES (ATTACH SCHEDULE) . . .            826,323                  0          826,323        826,323                    0
19 LOANS FROM STOCKHOLDERS . . . . . . . . . . . . .                   0                 0               0                 0                  0
20 MORTGAGES, NOTES, BONDS PAYABLE OVER 1 YEAR . . .                   0                 0               0                 0                  0
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                                                        2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                         CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                       XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
21 OTHER LIABILITIES (ATTACH SCHEDULE) . . . . . . .       4,748,872                  0      4,748,872       4,748,872                   0
22 CAPITAL STOCK: A PREFERRED. . . . . . . . . . . .                0                 0              0                0                  0
                  B COMMON . . . . . . . . . . . . .                0                 0              0                0                  0
      TOTAL CAPITAL STOCK. . . . . . . . . . . . . .                0                 0              0                0                  0
23 PAID-IN OR CAPITAL SURPLUS. . . . . . . . . . . .      98,843,551                  0     98,843,551     98,843,551                    0
24 RETAINED EARNINGS-APPROPRIATED (ATTACH SCHEDULE).                0                 0              0                0                  0
25 RETAINED EARNINGS-UNAPPROPRIATED. . . . . . . . .    (77,641,832)                  0   (77,641,832)   (77,641,832)                    0
26 ADJUSTMENTS TO SHAREHOLDERS' EQUITY (ATTACH SCH).                0                 0              0                0                  0
27 LESS COST OF TREASURY STOCK . . . . . . . . . . .                1                 0              1                1                  0
28 TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY. . . .      28,141,347                  0     28,141,347     28,141,347                    0
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                                                         2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                           CONSOL         Elimination       Subtotal          HISTOGEN        THERAPEUTICS
                                                         XX-XXXXXXX                                          XX-XXXXXXX        XX-XXXXXXX


                                        ****************************************************
                                        *      SCHEDULE L - BALANCE SHEET, END OF YEAR       *
                                        ****************************************************


                    ASSETS
 1 CASH. . . . . . . . . . . . . . . . . . . . . . .        12,509,060                  0    12,509,060        12,509,060                    0
 2(A) TRADE NOTES AND ACCOUNTS RECEIVABLE . . . . .            782,355                  0          782,355        782,355                    0
  (B) LESS ALLOWANCE FOR BAD DEBTS . . . . . . . . .           397,412                  0          397,412        397,412                    0
      NET TRADE RECEIVABLES. . . . . . . . . . . . .           384,943                  0          384,943        384,943                    0
 3 INVENTORIES . . . . . . . . . . . . . . . . . . .                  0                 0               0                 0                  0
 4 U.S. GOVERNMENT OBLIGATIONS . . . . . . . . . . .                  0                 0               0                 0                  0
 5 TAX-EXEMPT SECURITIES (SEE INSTRUCTIONS). . . . .                  0                 0               0                 0                  0
 6 OTHER CURRENT ASSETS (ATTACH SCHEDULE). . . . . .         1,291,190                  0        1,291,190       1,291,190                   0
 7 LOANS TO STOCKHOLDERS . . . . . . . . . . . . . .                  0                 0               0                 0                  0
 8 MORTGAGE & REAL ESTATE LOANS. . . . . . . . . . .                  0                 0               0                 0                  0
 9 OTHER INVESTMENTS (ATTACH SCHEDULE) . . . . . . .           339,365                  0          339,365        339,365                    0
10(A) BUILDINGS AND OTHER DEPRECIABLE ASSETS . . . .         1,209,506                  0        1,209,506       1,209,506                   0
  (B) LESS ACCUMULATED DEPRECIATION. . . . . . . . .           774,007                  0          774,007        774,007                    0
      NET DEPRECIABLE ASSETS . . . . . . . . . . . .           435,499                  0          435,499        435,499                    0
11(A) DEPLETABLE ASSETS   . . . . . . . . . . . . . .                 0                 0               0                 0                  0
  (B) LESS ACCUMULATED DEPLETION . . . . . . . . . .                  0                 0               0                 0                  0
      NET DEPLETABLE ASSETS. . . . . . . . . . . . .                  0                 0               0                 0                  0
12 LAND (NET OF ANY AMORTIZATION). . . . . . . . . .                  0                 0               0                 0                  0
13(A) INTANGIBLE ASSETS (AMORTIZABLE ONLY) . . . . .                  0                 0               0                 0                  0
  (B) LESS ACCUMULATED AMORTIZATION. . . . . . . . .                  0                 0               0                 0                  0
      NET INTANGIBLE ASSETS. . . . . . . . . . . . .                  0                 0               0                 0                  0
14 OTHER ASSETS (ATTACH SCHEDULE). . . . . . . . . .         5,180,887                  0        5,180,887       5,180,887                   0
15 TOTAL ASSETS. . . . . . . . . . . . . . . . . . .        20,140,944                  0    20,140,944        20,140,944                    0
      LIABILITIES AND STOCKHOLDERS' EQUITY
16 ACCOUNTS PAYABLE. . . . . . . . . . . . . . . . .           359,118                  0          359,118        359,118                    0
17 MORTGAGES, NOTES, BONDS PAYABLE UNDER 1 YEAR. . .                  0                 0               0                 0                  0
18 OTHER CURRENT LIABILITIES (ATTACH SCHEDULE) . . .           833,341                  0          833,341        833,341                    0
19 LOANS FROM STOCKHOLDERS . . . . . . . . . . . . .                  0                 0               0                 0                  0
20 MORTGAGES, NOTES, BONDS PAYABLE OVER 1 YEAR . . .                  0                 0               0                 0                  0
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HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                         CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                       XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
21 OTHER LIABILITIES (ATTACH SCHEDULE) . . . . . . .       4,483,119                  0      4,483,119       4,483,119                   0
22 CAPITAL STOCK: A PREFERRED. . . . . . . . . . . .                0                 0              0                0                  0
                  B COMMON . . . . . . . . . . . . .                0                 0              0                0                  0
      TOTAL CAPITAL STOCK. . . . . . . . . . . . . .                0                 0              0                0                  0
23 PAID-IN OR CAPITAL SURPLUS. . . . . . . . . . . .     102,678,458                  0    102,678,458    102,678,458                    0
24 RETAINED EARNINGS-APPROPRIATED (ATTACH SCHEDULE).                0                 0              0                0                  0
25 RETAINED EARNINGS-UNAPPROPRIATED. . . . . . . . .    (88,213,091)                  0   (88,213,091)   (88,213,091)                    0
26 ADJUSTMENTS TO SHAREHOLDERS' EQUITY (ATTACH SCH).                0                 0              0                0                  0
27 LESS COST OF TREASURY STOCK . . . . . . . . . . .                1                 0              1                1                  0
28 TOTAL LIABILITIES AND STOCKHOLDERS' EQUITY. . . .      20,140,944                  0     20,140,944     20,140,944                    0
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HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                          CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX


                                       ****************************************************
                                       *                  SCHEDULE M-2                      *
                                       ****************************************************


 1 BALANCE AT BEGINNING OF YEAR. . . . . . . . . . .     (77,641,832)                  0   (77,641,832)   (77,641,832)                    0
 2 NET INCOME PER BOOKS. . . . . . . . . . . . . . .     (10,571,259)                  0   (10,571,259)   (10,571,259)                    0
 3 OTHER INCREASES . . . . . . . . . . . . . . . . .                 0                 0              0                0                  0
 4 TOTAL OF LINES 1, 2, AND 3. . . . . . . . . . . .     (88,213,091)                  0   (88,213,091)   (88,213,091)                    0


 5 DISTRIBUTIONS: A CASH . . . . . . . . . . . . . .                 0                 0              0                0                  0
                  B STOCK. . . . . . . . . . . . . .                 0                 0              0                0                  0
                  C PROPERTY . . . . . . . . . . . .                 0                 0              0                0                  0


 6 OTHER DECREASES . . . . . . . . . . . . . . . . .                 0                 0              0                0                  0
 7 TOTAL OF LINES 5 AND 6. . . . . . . . . . . . . .                 0                 0              0                0                  0
 8 BALANCE AT END OF YEAR (LINE 4 LESS LINE 7) . . .     (88,213,091)                  0   (88,213,091)   (88,213,091)                    0
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HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                         CONSOL         Elimination       Subtotal          HISTOGEN        THERAPEUTICS
                                                       XX-XXXXXXX                                          XX-XXXXXXX        XX-XXXXXXX


                                      ****************************************************
                                      *         FORM 1125-A - COST OF GOODS SOLD           *
                                      ****************************************************


  1 INVENTORY AT BEGINNING OF YEAR. . . . . . . . 1           60,685                  0          60,685           60,685                   0


  2 PURCHASES . . . . . . . . . . . . . . . . . . 2         (60,685)                  0        (60,685)        (60,685)                    0


  3 COST OF LABOR . . . . . . . . . . . . . . . . 3                 0                 0               0                 0                  0


  4 ADDITIONAL SECTION 263A COSTS (ATTACH SCH). . 4                 0                 0               0                 0                  0


  5 OTHER COSTS (ATTACH SCHEDULE) . . . . . . . . 5                 0                 0               0                 0                  0
  6 TOTAL - ADD LINES 1 THROUGH 5 . . . . . . . . 6                 0                 0               0                 0                  0


  7 INVENTORY AT END OF YEAR. . . . . . . . . . . 7                 0                 0               0                 0                  0
  8 COST OF GOODS SOLD (ENTER ON LINE 2, PAGE 1). 8                 0                 0               0                 0                  0
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HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                            CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX


                                        ****************************************************
                                        *                    SCHEDULE M-3                      *
                                        ****************************************************


PART I   FINANCIAL INFO AND NET INCOME (LOSS) RECON
 4A WORLDWIDE CONSOL NET INC IDENTIFIED IN PT 1 LN 1       (10,645,277)
 5A NET INCOME FROM NONINCLUDIBLE FOREIGN ENTITIES                     0
  B NET LOSS FROM NONINCLUDIBLE FOREIGN ENTITIES                       0
 6A NET INCOME FROM NONINCLUDIBLE U.S. ENTITIES                        0
  B NET LOSS FROM NONINCLUDIBLE U.S. ENTITIES                    74,018
 7A NET INC(LOSS) OF OTHER INCL FRGN DISREGARDED ENT                   0
  B NET INC(LOSS) OF OTHER INCL U.S. DISREGARDED ENT                   0
  C NET INC(LOSS) OF OTHER INCLUDIBLE ENTITIES                         0
 8   ADJ TO ELIM TRANS BTWN INCLDBL & NONINCLDBL ENT                   0
 9   ADJ TO RECON INCOME STMT YR TO TAX YR OF TAX RTN                  0
10A INTERCOMPANY DIV ADJ TO RECONCILE TO LINE 11                       0
  B OTHER STATUTORY ACCOUNTING ADJ TO RECON TO LN 11                   0
  C OTHER ADJ TO RECONCILE TO AMOUNT ON LINE 11                        0
11   NET INCOME PER INCOME STMT OF INCLUDIBLE CORPS        (10,571,259)


12   TOTAL ASSETS & LIAB INCLUDED OR REMOVED ON
       FOLLOWING LINES:
  A INCLUDED ON PART I LINE 4 - TOTAL ASSETS                 20,140,944                   0              0                0                  0
  A INCLUDED ON PART I LINE 4 - TOTAL LIABILITIES             6,823,747                   0              0                0                  0
  B REMOVED ON PART I LINE 5 - TOTAL ASSETS                            0                  0              0                0                  0
  B REMOVED ON PART I LINE 5 - TOTAL LIABILITIES                       0                  0              0                0                  0
  C REMOVED ON PART I LINE 6 - TOTAL ASSETS                            0                  0              0                0                  0
  C REMOVED ON PART I LINE 6 - TOTAL LIABILITIES              1,148,169                   0              0                0                  0
  D INCLUDED ON PART I LINE 7 - TOTAL ASSETS                           0                  0              0                0                  0
  D INCLUDED ON PART I LINE 7 - TOTAL LIABILITIES                      0                  0              0                0                  0



PART II RECON OF NET INCOME (LOSS) PER INCOME STMT
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HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
         OF INCLUDIBLE CORPS WITH TAXABLE INC PER RTN


COL A - INCOME (LOSS) PER INCOME STATEMENT
 1   INCOME (LOSS) FROM EQUITY METHOD FGN CORPS                         0                 0              0                0                  0
 2   GROSS FGN DIVIDENDS NOT PREVIOUS TAXED                             0                 0              0                0                  0
 5   GROSS FGN DISTRIBUTIONS PREVIOUSLY TAXED                           0                 0              0                0                  0
 6   INCOME (LOSS) FROM EQUITY METHOD U.S. CORPS                        0                 0              0                0                  0
 7   U.S. DIVIDENDS NOT ELIMINATED IN TAX CONSOL                        0                 0              0                0                  0
 8   MINORITY INTEREST FOR INCLUDIBLE CORPS                             0                 0              0                0                  0
 9   INCOME (LOSS) FROM U.S. PARTNERSHIPS                               0                 0              0                0                  0
10   INCOME (LOSS) FROM FGN PARTNERSHIPS                                0                 0              0                0                  0
11   INCOME (LOSS) FROM OTHER PASS-THRU ENTITIES                        0                 0              0                0                  0
12   ITEMS RELATING TO REPORTABLE TRANSACTIONS                          0                 0              0                0                  0
13   INTEREST INCOME                                              43,080                  0        43,080          43,080                    0
14   TOTAL ACCRUAL TO CASH ADJUSTMENT                                   0                 0              0                0                  0
15   HEDGING TRANSACTIONS                                               0                 0              0                0                  0
16   MARK-TO-MARKET INCOME (LOSS)                                       0                 0              0                0                  0
17   COST OF GOODS SOLD                                                 0                 0              0                0                  0
18   SALES VERSUS LEASE                                                 0                 0              0                0                  0
20   UNEARNED/DEFERRED REVENUE                                          0                 0              0                0                  0
21   INCOME RECOGNITION FROM LONG-TERM CONTRACTS                        0                 0              0                0                  0
22   ORIGINAL ISSUE DISCOUNT AND OTHER IMPUTED INT                      0                 0              0                0                  0
23A INCOME STMT GAIN/LOSS ON SALES OTHER THAN
       INVENTORY AND FLOW THRU ENTITIES                                 0                 0              0                0                  0
25   OTHER INCOME (LOSS) ITEMS WITH DIFFERENCES                         0                 0              0                0                  0
26   TOTAL INCOME (LOSS) ITEMS.   COMBINE LNS 1 TO 25             43,080                  0        43,080          43,080                    0
27   TOTAL EXPENSE/DEDUCTION ITEM FROM PT III, LN 38        (10,364,712)                  0   (10,364,712)   (10,364,712)                    0


28   OTHER INC (LOSS) EXP (DED) ITEMS WITH NO DIFF             (249,627)                  0      (249,627)       (249,627)                   0
29A 1120 SUBGROUP RECON TOTALS. ADD LINES 26 THRU 28        (10,571,259)                  0   (10,571,259)   (10,571,259)                    0
30   RECONCILIATION TOTALS.   ADD LINES 29A THRU 29C        (10,571,259)                  0   (10,571,259)   (10,571,259)                    0
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HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
COL B - TEMPORARY DIFFERENCE
 1   INCOME (LOSS) FROM EQUITY METHOD FGN CORPS                         0                 0              0                0                  0
 2   GROSS FGN DIVIDENDS NOT PREVIOUS TAXED                             0                 0              0                0                  0
 3   SUBPART F, QEF AND SIMILAR INCOME INCLUSIONS                       0                 0              0                0                  0
 4   GROSS-UP FOR FOREIGN TAXES DEEMED PAID                             0                 0              0                0                  0
 5   GROSS FGN DISTRIBUTIONS PREVIOUSLY TAXED                           0                 0              0                0                  0
 6   INCOME (LOSS) FROM EQUITY METHOD U.S. CORPS                        0                 0              0                0                  0
 7   U.S. DIVIDENDS NOT ELIMINATED IN TAX CONSOL                        0                 0              0                0                  0
 8   MINORITY INTEREST FOR INCLUDIBLE CORPS                             0                 0              0                0                  0
 9   INCOME (LOSS) FROM U.S. PARTNERSHIPS                               0                 0              0                0                  0
10   INCOME (LOSS) FROM FGN PARTNERSHIPS                                0                 0              0                0                  0
11   INCOME (LOSS) FROM OTHER PASS-THRU ENTITIES                        0                 0              0                0                  0
12   ITEMS RELATING TO REPORTABLE TRANSACTIONS                          0                 0              0                0                  0
13   INTEREST INCOME                                                    0                 0              0                0                  0
14   TOTAL ACCRUAL TO CASH ADJUSTMENT                                   0                 0              0                0                  0
15   HEDGING TRANSACTIONS                                               0                 0              0                0                  0
16   MARK-TO-MARKET INCOME (LOSS)                                       0                 0              0                0                  0
17   COST OF GOODS SOLD                                                 0                 0              0                0                  0
18   SALES VERSUS LEASE                                                 0                 0              0                0                  0
19   SECTION 481(A) ADJUSTMENTS                                         0                 0              0                0                  0
20   UNEARNED/DEFERRED REVENUE                                          0                 0              0                0                  0
21   INCOME RECOGNITION FROM LONG-TERM CONTRACTS                        0                 0              0                0                  0
22   ORIGINAL ISSUE DISCOUNT AND OTHER IMPUTED INT                      0                 0              0                0                  0
23A INCOME STMT GAIN/LOSS ON SALES OTHER THAN
       INVENTORY AND FLOW THRU ENTITIES                                 0                 0              0                0                  0
  B GROSS CAP GAIN FROM SCH D EXCLUDING FLOW THRU                       0                 0              0                0                  0
  C GROSS CAP LOSS FROM SCH D EXCLUDING FLOW THRU                       0                 0              0                0                  0
  D GAIN/LOSS REPORTED ON FORM 4797 LINE 17,
       EXCL FLOW THRU, ABNDNMT LOSSES & WORTHLESS STK                   0                 0              0                0                  0
  E ABANDONMENT LOSSES                                                  0                 0              0                0                  0
  F WORTHLESS STOCK LOSSES                                              0                 0              0                0                  0
  G OTHER GAIN/LOSS ON DISPOSITION OF ASSETS OTHER
       THAN INVENTORY                                                   0                 0              0                0                  0
24   CAPITAL LOSS LIMITATION AND CARRYFORWARD USED                      0                 0              0                0                  0
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HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
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                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
25   OTHER INCOME (LOSS) ITEMS WITH DIFFERENCES                         0                 0              0                0                  0
26   TOTAL INCOME (LOSS) ITEMS.   COMBINE LNS 1 TO 25                   0                 0              0                0                  0
27   TOTAL EXPENSE/DEDUCTION ITEM FROM PT III, LN 38           4,601,408                  0      4,601,408       4,601,408                   0
29A 1120 SUBGROUP RECON TOTALS. ADD LINES 26 THRU 28           4,601,408                  0      4,601,408       4,601,408                   0
30   RECONCILIATION TOTALS.   ADD LINES 29A THRU 29C           4,601,408                  0      4,601,408       4,601,408                   0


COL C - PERMANENT DIFFERENCE
 1   INCOME (LOSS) FROM EQUITY METHOD FGN CORPS                         0                 0              0                0                  0
 2   GROSS FGN DIVIDENDS NOT PREVIOUS TAXED                             0                 0              0                0                  0
 3   SUBPART F, QEF AND SIMILAR INCOME INCLUSIONS                       0                 0              0                0                  0
 4   GROSS-UP FOR FOREIGN TAXES DEEMED PAID                             0                 0              0                0                  0
 5   GROSS FGN DISTRIBUTIONS PREVIOUSLY TAXED                           0                 0              0                0                  0
 6   INCOME (LOSS) FROM EQUITY METHOD U.S. CORPS                        0                 0              0                0                  0
 7   U.S. DIVIDENDS NOT ELIMINATED IN TAX CONSOL                        0                 0              0                0                  0
 8   MINORITY INTEREST FOR INCLUDIBLE CORPS                             0                 0              0                0                  0
 9   INCOME (LOSS) FROM U.S. PARTNERSHIPS                               0                 0              0                0                  0
10   INCOME (LOSS) FROM FGN PARTNERSHIPS                                0                 0              0                0                  0
11   INCOME (LOSS) FROM OTHER PASS-THRU ENTITIES                        0                 0              0                0                  0
12   ITEMS RELATING TO REPORTABLE TRANSACTIONS                          0                 0              0                0                  0
13   INTEREST INCOME                                                    0                 0              0                0                  0
14   TOTAL ACCRUAL TO CASH ADJUSTMENT                                   0                 0              0                0                  0
15   HEDGING TRANSACTIONS                                               0                 0              0                0                  0
16   MARK-TO-MARKET INCOME (LOSS)                                       0                 0              0                0                  0
17   COST OF GOODS SOLD                                                 0                 0              0                0                  0
18   SALES VERSUS LEASE                                                 0                 0              0                0                  0
19   SECTION 481(A) ADJUSTMENTS                                         0                 0              0                0                  0
20   UNEARNED/DEFERRED REVENUE                                          0                 0              0                0                  0
21   INCOME RECOGNITION FROM LONG-TERM CONTRACTS                        0                 0              0                0                  0
22   ORIGINAL ISSUE DISCOUNT AND OTHER IMPUTED INT                      0                 0              0                0                  0
23A INCOME STMT GAIN/LOSS ON SALES OTHER THAN
       INVENTORY AND FLOW THRU ENTITIES                                 0                 0              0                0                  0
  B GROSS CAP GAIN FROM SCH D EXCLUDING FLOW THRU                       0                 0              0                0                  0
  C GROSS CAP LOSS FROM SCH D EXCLUDING FLOW THRU                       0                 0              0                0                  0
  D GAIN/LOSS REPORTED ON FORM 4797, LINE 17
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HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
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                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
       EXCL FLOW THRU, ABNDNMT LOSSES & WORTHLESS STK                   0                 0              0                0                  0
  E ABANDONMENT LOSSES                                                  0                 0              0                0                  0
  F WORTHLESS STOCK LOSSES                                              0                 0              0                0                  0
  G OTHER GAIN/LOSS ON DISPOSITION OF ASSETS OTHER
       THAN INVENTORY                                                   0                 0              0                0                  0
24   CAPITAL LOSS LIMITATION AND CARRYFORWARD USED                      0                 0              0                0                  0
25   OTHER INCOME (LOSS) ITEMS WITH DIFFERENCES                         0                 0              0                0                  0
26   TOTAL INCOME (LOSS) ITEMS.   COMBINE LNS 1 TO 25                   0                 0              0                0                  0
27   TOTAL EXPENSE/DEDUCTION ITEM FROM PT III, LN 38             221,271                  0       221,271         221,271                    0
29A 1120 SUBGROUP RECON TOTAL. ADD LINES 26 THRU 28              221,271                  0       221,271         221,271                    0
30   RECONCILIATION TOTALS.   ADD LINES 29A THRU 29C             221,271                  0       221,271         221,271                    0


COL D - INCOME (LOSS) PER TAX RETURN                                    0                 0              0                0                  0
 2   GROSS FGN DIVIDENDS NOT PREVIOUS TAXED                             0                 0              0                0                  0
 3   SUBPART F, QEF AND SIMILAR INCOME INCLUSIONS                       0                 0              0                0                  0
 4   GROSS-UP FOR FOREIGN TAXES DEEMED PAID                             0                 0              0                0                  0
 7   U.S. DIVIDENDS NOT ELIMINATED IN TAX CONSOL                        0                 0              0                0                  0
 9   INCOME (LOSS) FROM U.S. PARTNERSHIPS                               0                 0              0                0                  0
10   INCOME (LOSS) FROM FGN PARTNERSHIPS                                0                 0              0                0                  0
11   INCOME (LOSS) FROM OTHER PASS-THRU ENTITIES                        0                 0              0                0                  0
12   ITEMS RELATING TO REPORTABLE TRANSACTIONS                          0                 0              0                0                  0
13   INTEREST INCOME                                              43,080                  0        43,080          43,080                    0
14   TOTAL ACCRUAL TO CASH ADJUSTMENT                                   0                 0              0                0                  0
15   HEDGING TRANSACTIONS                                               0                 0              0                0                  0
16   MARK-TO-MARKET INCOME (LOSS)                                       0                 0              0                0                  0
17   COST OF GOODS SOLD                                                 0                 0              0                0                  0
18   SALES VERSUS LEASE                                                 0                 0              0                0                  0
19   SECTION 481(A) ADJUSTMENTS                                         0                 0              0                0                  0
20   UNEARNED/DEFERRED REVENUE                                          0                 0              0                0                  0
21   INCOME RECOGNITION FROM LONG-TERM CONTRACTS                        0                 0              0                0                  0
22   ORIGINAL ISSUE DISCOUNT AND OTHER IMPUTED INT                      0                 0              0                0                  0
23B GROSS CAP GAIN FROM SCH D EXCLUDING FLOW THRU                       0                 0              0                0                  0
  C GROSS CAP LOSS FROM SCH D EXCLUDING FLOW THRU                       0                 0              0                0                  0
  D GAIN/LOSS REPORTED ON FORM 4797, LINE 17
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HISTOGEN, INC. AND SUBSIDIARIES
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                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
       EXCL FLOW THRU, ABNDNMT LOSSES & WORTHLESS STK                   0                 0              0                0                  0
  E ABANDONMENT LOSSES                                                  0                 0              0                0                  0
  F WORTHLESS STOCK LOSSES                                              0                 0              0                0                  0
  G OTHER GAIN/LOSS ON DISPOSITION OF ASSETS OTHER
       THAN INVENTORY                                                   0                 0              0                0                  0
24   CAPITAL LOSS LIMITATION AND CARRYFORWARD USED                      0                 0              0                0                  0
25   OTHER INCOME (LOSS) ITEMS WITH DIFFERENCES                         0                 0              0                0                  0
26   TOTAL INCOME (LOSS) ITEMS.   COMBINE LNS 1 TO 25             43,080                  0        43,080          43,080                    0
27   TOTAL EXPENSE/DEDUCTION ITEM FROM PT III, LN 38         (5,542,033)                  0   (5,542,033)     (5,542,033)                    0
28   OTHER INC (LOSS) EXP (DED) ITEMS WITH NO DIFF             (249,627)                  0      (249,627)       (249,627)                   0
29A 1120 SUBGROUP RECON TOTALS. ADD LINES 26 THRU 28         (5,748,580)                  0   (5,748,580)     (5,748,580)                    0
30   RECONCILIATION TOTALS.   ADD LINES 29A THRU 29C         (5,748,580)                  0   (5,748,580)     (5,748,580)                    0
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HISTOGEN, INC. AND SUBSIDIARIES
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                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
PART III RECON OF NET INCOME (LOSS) PER INCOME STMT
         OF INCLUDIBLE CORPS WITH TAXABLE INC PER RTN
         - EXPENSE/DEDUCTION ITEMS                                      0                 0              0                0                  0


COL A - EXPENSE PER INCOME STATEMENT
 1   U.S. CURRENT INCOME TAX EXPENSE                                    0                 0              0                0                  0
 2   U.S. DEFERRED INCOME TAX EXPENSE                                   0                 0              0                0                  0
 3   STATE AND LOCAL CURRENT INCOME TAX EXPENSE                    1,600                  0         1,600           1,600                    0
 4   STATE AND LOCAL DEFERRED INCOME TAX EXPENSE                        0                 0              0                0                  0
 5   FOREIGN CURRENT INCOME TAX EXPENSE                                 0                 0              0                0                  0
 6   FOREIGN DEFERRED INCOME TAX EXPENSE                                0                 0              0                0                  0
 7   FOREIGN WITHHOLDING TAXES                                          0                 0              0                0                  0
 8   INTEREST EXPENSE                                              1,916                  0         1,916           1,916                    0
 9   STOCK OPTION EXPENSE                                        502,766                  0       502,766         502,766                    0
10   OTHER EQUITY-BASED COMPENSATION                                    0                 0              0                0                  0
11   MEALS AND ENTERTAINMENT                                       6,944                  0         6,944           6,944                    0
12   FINES AND PENALTIES                                                0                 0              0                0                  0
13   JUDGMENTS, DAMAGES, AWARDS AND SIMILAR COSTS                       0                 0              0                0                  0
14   EXCESS PARACHUTE PAYMENTS                                          0                 0              0                0                  0
15   EXCESS SECTION 162(M) COMPENSATION                                 0                 0              0                0                  0
16   PENSION AND PROFIT SHARING                                         0                 0              0                0                  0
17   OTHER POST-RETIREMENT BENEFITS                                     0                 0              0                0                  0
18   DEFERRED COMPENSATION                                              0                 0              0                0                  0
19   CHARITABLE CONTRIBUTION OF CASH AND TANG PROP                      0                 0              0                0                  0
20   CHARITABLE CONTRIBUTION OF INTANGIBLE PROPERTY                     0                 0              0                0                  0
23   CURR YR ACQUISITION OR REORG INVEST BANKING FEES                   0                 0              0                0                  0
24   CURR YR ACQUISITION OR REORG LEGAL & ACCTNG FEES                   0                 0              0                0                  0
25   CURR YR ACQUISITION/REORG OTHER COSTS                              0                 0              0                0                  0
26   AMORTIZATION/IMPAIRMENT OF GOODWILL                                0                 0              0                0                  0
27   AMORT OF ACQUISITION, REORG AND START-UP COSTS                     0                 0              0                0                  0
28   OTHER AMORTIZATION OR IMPAIRMENT WRITE-OFFS                        0                 0              0                0                  0
29   RESERVE                                                            0                 0              0                0                  0
30   DEPLETION                                                          0                 0              0                0                  0
31   DEPRECIATION                                                139,507                  0       139,507         139,507                    0
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                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
32   BAD DEBT EXPENSE                                                   0                 0              0                0                  0
33   CORPORATE OWNED LIFE INSURANCE PREMIUMS                            0                 0              0                0                  0
34   PURCHASE VERSUS LEASE                                              0                 0              0                0                  0
35   RESEARCH AND DEVELOPMENT COSTS                            1,428,797                  0      1,428,797       1,428,797                   0
36   SECTION 118 EXCLUSION                                              0                 0              0                0                  0
37   FDIC PREMIUMS PAID BY LARGE FIN INSTITUTIONS                       0                 0              0                0                  0
38   OTHER EXPENSE/DEDUCTION ITEMS WITH DIFFERENCES            8,283,182                  0      8,283,182       8,283,182                   0
39   TOTAL EXPENSE/DEDUCTION ITEMS (ADD LNS 1 TO 38)          10,364,712                  0    10,364,712      10,364,712                    0


COL B - TEMPORARY DIFFERENCE
 1   U.S. CURRENT INCOME TAX EXPENSE                                    0                 0              0                0                  0
 2   U.S. DEFERRED INCOME TAX EXPENSE                                   0                 0              0                0                  0
 3   STATE AND LOCAL CURRENT INCOME TAX EXPENSE                    1,600                  0         1,600           1,600                    0
 4   STATE AND LOCAL DEFERRED INCOME TAX EXPENSE                        0                 0              0                0                  0
 5   FOREIGN CURRENT INCOME TAX EXPENSE                                 0                 0              0                0                  0
 6   FOREIGN DEFERRED INCOME TAX EXPENSE                                0                 0              0                0                  0
 7   FOREIGN WITHHOLDING TAXES                                          0                 0              0                0                  0
 8   INTEREST EXPENSE                                                   0                 0              0                0                  0
 9   STOCK OPTION EXPENSE                                      (283,095)                  0      (283,095)       (283,095)                   0
10   OTHER EQUITY-BASED COMPENSATION                                    0                 0              0                0                  0
11   MEALS AND ENTERTAINMENT                                            0                 0              0                0                  0
12   FINES AND PENALTIES                                                0                 0              0                0                  0
13   JUDGMENTS, DAMAGES, AWARDS AND SIMILAR COSTS                       0                 0              0                0                  0
14   EXCESS PARACHUTE PAYMENTS                                          0                 0              0                0                  0
15   EXCESS SECTION 162(M) COMPENSATION                                 0                 0              0                0                  0
16   PENSION AND PROFIT SHARING                                         0                 0              0                0                  0
17   OTHER POST-RETIREMENT BENEFITS                                     0                 0              0                0                  0
18   DEFERRED COMPENSATION                                              0                 0              0                0                  0
19   CHARITABLE CONTRIBUTION OF CASH AND TANG PROP                      0                 0              0                0                  0
20   CHARITABLE CONTRIBUTION OF INTANGIBLE PROPERTY                     0                 0              0                0                  0
21   CHARITABLE CONTRIBUTION LIMITATION/CARRYFORWARD                    0                 0              0                0                  0
22   DOMESTIC PRODUCTION ACTIVITIES DEDUCTION                           0                 0              0                0                  0
23   CURR YR ACQUISITION OR REORG INVEST BANKING FEES                   0                 0              0                0                  0
24   CURR YR ACQUISITION OR REORG LEGAL & ACCTNG FEES                   0                 0              0                0                  0
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                                                            CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
25   CURR YR ACQUISITION/REORG OTHER COSTS                             0                 0              0                0                  0
26   AMORTIZATION/IMPAIRMENT OF GOODWILL                               0                 0              0                0                  0
27   AMORT OF ACQUISITION, REORG AND START-UP COSTS                    0                 0              0                0                  0
28   OTHER AMORTIZATION OR IMPAIRMENT WRITE-OFFS                153,895                  0        153,895        153,895                    0
29   RESERVE                                                           0                 0              0                0                  0
30   DEPLETION                                                         0                 0              0                0                  0
31   DEPRECIATION                                                78,313                  0        78,313          78,313                    0
32   BAD DEBT EXPENSE                                                  0                 0              0                0                  0
33   CORPORATE OWNED LIFE INSURANCE PREMIUMS                           0                 0              0                0                  0
34   PURCHASE VERSUS LEASE                                             0                 0              0                0                  0
35   RESEARCH AND DEVELOPMENT COSTS                           (878,506)                  0      (878,506)       (878,506)                   0
36   SECTION 118 EXCLUSION                                             0                 0              0                0                  0
37   FDIC PREMIUMS PAID BY LARGE FIN INSTITUTIONS                      0                 0              0                0                  0
38   OTHER EXPENSE/DEDUCTION ITEMS WITH DIFFERENCES         (3,673,615)                  0   (3,673,615)     (3,673,615)                    0
39   TOTAL EXPENSE/DEDUCTION ITEMS (ADD LNS 1 TO 38)        (4,601,408)                  0   (4,601,408)     (4,601,408)                    0


COL C - PERMANENT DIFFERENCE
 1   U.S. CURRENT INCOME TAX EXPENSE                                   0                 0              0                0                  0
 2   U.S. DEFERRED INCOME TAX EXPENSE                                  0                 0              0                0                  0
 3   STATE AND LOCAL CURRENT INCOME TAX EXPENSE                 (1,600)                  0        (1,600)        (1,600)                    0
 4   STATE AND LOCAL DEFERRED INCOME TAX EXPENSE                       0                 0              0                0                  0
 5   FOREIGN CURRENT INCOME TAX EXPENSE                                0                 0              0                0                  0
 6   FOREIGN DEFERRED INCOME TAX EXPENSE                               0                 0              0                0                  0
 7   FOREIGN WITHHOLDING TAXES                                         0                 0              0                0                  0
 8   INTEREST EXPENSE                                                  0                 0              0                0                  0
 9   STOCK OPTION EXPENSE                                     (219,671)                  0      (219,671)       (219,671)                   0
10   OTHER EQUITY-BASED COMPENSATION                                   0                 0              0                0                  0
11   MEALS AND ENTERTAINMENT                                           0                 0              0                0                  0
12   FINES AND PENALTIES                                               0                 0              0                0                  0
13   JUDGMENTS, DAMAGES, AWARDS AND SIMILAR COSTS                      0                 0              0                0                  0
14   EXCESS PARACHUTE PAYMENTS                                         0                 0              0                0                  0
15   EXCESS SECTION 162(M) COMPENSATION                                0                 0              0                0                  0
16   PENSION AND PROFIT SHARING                                        0                 0              0                0                  0
17   OTHER POST-RETIREMENT BENEFITS                                    0                 0              0                0                  0
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                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
18   DEFERRED COMPENSATION                                              0                 0              0                0                  0
19   CHARITABLE CONTRIBUTION OF CASH AND TANG PROP                      0                 0              0                0                  0
20   CHARITABLE CONTRIBUTION OF INTANGIBLE PROPERTY                     0                 0              0                0                  0
21   CHARITABLE CONTRIBUTION LIMITATION/CARRYFORWARD                    0                 0              0                0                  0
22   DOMESTIC PRODUCTION ACTIVITIES DEDUCTION                           0                 0              0                0                  0
23   CURR YR ACQUISITION OR REORG INVEST BANKING FEES                   0                 0              0                0                  0
24   CURR YR ACQUISITION OR REORG LEGAL & ACCTNG FEES                   0                 0              0                0                  0
25   CURR YR ACQUISITION/REORG OTHER COSTS                              0                 0              0                0                  0
26   AMORTIZATION/IMPAIRMENT OF GOODWILL                                0                 0              0                0                  0
27   AMORT OF ACQUISITION, REORG AND START-UP COSTS                     0                 0              0                0                  0
28   OTHER AMORTIZATION OR IMPAIRMENT WRITE-OFFS                        0                 0              0                0                  0
29   RESERVE                                                            0                 0              0                0                  0
30   DEPLETION                                                          0                 0              0                0                  0
31   DEPRECIATION                                                       0                 0              0                0                  0
32   BAD DEBT EXPENSE                                                   0                 0              0                0                  0
33   CORPORATE OWNED LIFE INSURANCE PREMIUMS                            0                 0              0                0                  0
34   PURCHASE VERSUS LEASE                                              0                 0              0                0                  0
35   RESEARCH AND DEVELOPMENT COSTS                                     0                 0              0                0                  0
36   SECTION 118 EXCLUSION                                              0                 0              0                0                  0
37   FDIC PREMIUMS PAID BY LARGE FIN INSTITUTIONS                       0                 0              0                0                  0
38   OTHER EXPENSE/DEDUCTION ITEMS WITH DIFFERENCES                     0                 0              0                0                  0
39   TOTAL EXPENSE/DEDUCTION ITEMS (ADD LNS 1 TO 38)           (221,271)                  0      (221,271)       (221,271)                   0


COL D - DEDUCTION PER TAX RETURN
 3   STATE AND LOCAL CURRENT INCOME TAX EXPENSE                    1,600                  0         1,600           1,600                    0
 5   FOREIGN CURRENT INCOME TAX EXPENSE                                 0                 0              0                0                  0
 7   FOREIGN WITHHOLDING TAXES                                          0                 0              0                0                  0
 8   INTEREST EXPENSE                                              1,916                  0         1,916           1,916                    0
 9   STOCK OPTION EXPENSE                                               0                 0              0                0                  0
10   OTHER EQUITY-BASED COMPENSATION                                    0                 0              0                0                  0
11   MEALS AND ENTERTAINMENT                                       6,944                  0         6,944           6,944                    0
12   FINES AND PENALTIES                                                0                 0              0                0                  0
13   JUDGMENTS, DAMAGES, AWARDS AND SIMILAR COSTS                       0                 0              0                0                  0
14   EXCESS PARACHUTE PAYMENTS                                          0                 0              0                0                  0
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HISTOGEN, INC. AND SUBSIDIARIES
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                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
15   EXCESS SECTION 162(M) COMPENSATION                                 0                 0              0                0                  0
16   PENSION AND PROFIT SHARING                                         0                 0              0                0                  0
17   OTHER POST-RETIREMENT BENEFITS                                     0                 0              0                0                  0
18   DEFERRED COMPENSATION                                              0                 0              0                0                  0
19   CHARITABLE CONTRIBUTION OF CASH AND TANG PROP                      0                 0              0                0                  0
20   CHARITABLE CONTRIBUTION OF INTANGIBLE PROPERTY                     0                 0              0                0                  0
21   CHARITABLE CONTRIBUTION LIMITATION                                 0                 0              0                0                  0
22   DOMESTIC PRODUCTION ACTIVITIES DEDUCTION                           0                 0              0                0                  0
23   CURR YR ACQUISITION OR REORG INVEST BANKING FEES                   0                 0              0                0                  0
24   CURR YR ACQUISITION OR REORG LEGAL & ACCTNG FEES                   0                 0              0                0                  0
25   CURR YR ACQUISITION/REORG OTHER COSTS                              0                 0              0                0                  0
26   AMORTIZATION/IMPAIRMENT OF GOODWILL                                0                 0              0                0                  0
27   AMORT OF ACQUISITION, REORG AND START-UP COSTS                     0                 0              0                0                  0
28   OTHER AMORTIZATION OR IMPAIRMENT WRITE-OFFS                 153,895                  0        153,895        153,895                    0
29   RESERVE                                                            0                 0              0                0                  0
30   DEPLETION                                                          0                 0              0                0                  0
31   DEPRECIATION                                                217,820                  0        217,820        217,820                    0
32   BAD DEBT EXPENSE                                                   0                 0              0                0                  0
33   CORPORATE OWNED LIFE INSURANCE PREMIUMS                            0                 0              0                0                  0
34   PURCHASE VERSUS LEASE                                              0                 0              0                0                  0
35   RESEARCH AND DEVELOPMENT COSTS                              550,291                  0        550,291        550,291                    0
36   SECTION 118 EXCLUSION                                              0                 0              0                0                  0
37   FDIC PREMIUMS PAID BY LARGE FIN INSTITUTIONS                       0                 0              0                0                  0
38   OTHER EXPENSE/DEDUCTION ITEMS WITH DIFFERENCES            4,609,567                  0      4,609,567       4,609,567                   0
39   TOTAL EXPENSE/DEDUCTION ITEMS (ADD LNS 1 TO 38)           5,542,033                  0      5,542,033       5,542,033                   0
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                                                            CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX


PART III    GENERAL BUS CR FROM A NON-PASSIVE ACTIVITY


 1A INVESTMENT CREDIT (FORM 3468, PART II)                             0                 0              0                 0                  0
  B ADVANCED MANUFACTURING PRODUCTION (FORM 7207)                      0                 0              0                 0                  0
  C CREDIT FOR INCREASING RESEARCH ACTIVITIES                  330,389                   0       330,389            330,389                  0
  D LOW-INCOME HOUSING CREDIT (CARRYFORWARD ONLY)                      0                 0              0                 0                  0
  E DISABLED ACCESS CREDIT (FORM 8826)                                 0                 0              0                 0                  0
  F RENEWABLE ELECTRICITY PROD CR (FORM 8835 PART I)                   0                 0              0                 0                  0
  G INDIAN EMPLOYMENT CREDIT                                           0                 0              0                 0                  0
  H ORPHAN DRUG CREDIT (FORM 8820)                                     0                 0              0                 0                  0
  I NEW MARKET CREDIT (FORM 8874)                                      0                 0              0                 0                  0
  J CR FOR SMALL EMPLOYER PENSION STARTUP COST                         0                 0              0                 0                  0
  K CR FOR EMPLOYER-PROVIDED CHILD CARE FAC & SVC                      0                 0              0                 0                  0
  L BIODIESEL AND RENEWABLE DIESEL FUELS CREDIT                        0                 0              0                 0                  0
  M LOW SULFUR DIESEL FUEL PRODUCTION CREDIT                           0                 0              0                 0                  0
  N DISTILLED SPIRITS CREDIT                                           0                 0              0                 0                  0
  O NON-CONVENTIONAL SOURCE FUEL CREDIT                                0                 0              0                 0                  0
  P ENERGY EFFICIENT HOME CREDIT                                       0                 0              0                 0                  0
  Q ENERGY EFFICIENT APPLIANCE CREDIT                                  0                 0              0                 0                  0
  R ALTERNATIVE MOTOR VEHICLE CREDIT                                   0                 0              0                 0                  0
  S ALTERNATIVE FUEL VEHICLE REFUELING PROPERTY CR                     0                 0              0                 0                  0
  T ENHANCED OIL RECOVERY CREDIT                                       0                 0              0                 0                  0
  U MINE RESCUE TEAM TRAINING CREDIT                                   0                 0              0                 0                  0
  V AGRICULTURAL CHEMICALS SECURITY CREDIT                             0                 0              0                 0                  0
  W CREDIT FOR EMPLOYER DIFFERENTIAL WAGE PAYMENTS                     0                 0              0                 0                  0
  X CARBON OXIDE SEQUESTRATION CREDIT                                  0                 0              0                 0                  0
  Y QUALIFIED PLUG-IN ELEC DRIVE MOTOR VEHICLE CR                      0                 0              0                 0                  0
 AA EMPLOYEE RETENTION CREDIT                                          0                 0              0                 0                  0
 BB GENERAL CR FROM AN ELECTING LARGE PARTNERSHIP                      0                 0              0                 0                  0
 ZZ OTHER                                                              0                 0              0                 0                  0
 2   ADD LINES 1A THRU 1ZZ                                     330,389                   0       330,389            330,389                  0
 3   ENTER AMOUNT FROM FORM 8844                                       0                 0              0                 0                  0
 4A INVESTMENT CREDIT (FORM 3468, PART III)                            0                 0              0                 0                  0
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                                                            CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX
  B WORK OPPORTUNITY CREDIT (FORM 5884)                                0                 0              0                 0                  0
  C BIOFUEL PRODUCER CREDIT (FORM 6478)                                0                 0              0                 0                  0
  D LOW-INCOME HOUSING CR (FORM 8586, PART II)                         0                 0              0                 0                  0
  E RENEWABLE ELECTRICTY (FORM 8835)                                   0                 0              0                 0                  0
  F EMPLOYER SOC SEC & MEDICARE TAXES (FORM 8846)                      0                 0              0                 0                  0
  G QUALIFIED RAILROAD TRACK MAINTENANCE (FORM 8900)                   0                 0              0                 0                  0
  H CR FOR SMALL EMPLOYER HEALTH INSURANCE PREMIUMS                    0                 0              0                 0                  0
  I INCREASING RESEARCH ACTIVITIES                                     0                 0              0                 0                  0
  J EMPLOYER CR FOR PAID FAMILY & MEDICAL LEAVE                        0                 0              0                 0                  0
  Z OTHER                                                              0                 0              0                 0                  0
 5   ADD LINES 4A THRU 4Z                                              0                 0              0                 0                  0
 6   ADD LINES 2, 3 AND 5                                      330,389                   0       330,389            330,389                  0
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                                                            CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX


PART III    GENERAL BUSINESS CREDIT CARRYFORWARDS


 1A INVESTMENT CREDIT (FORM 3468, PART II)                             0                 0              0                 0                  0
  B ADVANCED MANUFACTURING PRODUCTION (FORM 7207)                      0                 0              0                 0                  0
  C CREDIT FOR INCREASING RESEARCH ACTIVITIES                1,360,591                   0     1,360,591        1,360,591                    0
  D LOW-INCOME HOUSING CREDIT (FORM 8586 PART I)                       0                 0              0                 0                  0
  E DISABLED ACCESS CREDIT (FORM 8826)                                 0                 0              0                 0                  0
  F RENEWABLE ELECTRICITY PROD CR (FORM 8835 PART I)                   0                 0              0                 0                  0
  G INDIAN EMPLOYMENT CREDIT                                           0                 0              0                 0                  0
  H ORPHAN DRUG CREDIT (FORM 8820)                                     0                 0              0                 0                  0
  I NEW MARKET CREDIT (FORM 8874)                                      0                 0              0                 0                  0
  J CR FOR SMALL EMPLOYER PENSION STARTUP COST                         0                 0              0                 0                  0
  K CR FOR EMPLOYER-PROVIDED CHILD CARE FAC & SVC                      0                 0              0                 0                  0
  L BIODIESEL AND RENEWABLE DIESEL FUELS CREDIT                        0                 0              0                 0                  0
  M LOW SULFUR DIESEL FUEL PRODUCTION CREDIT                           0                 0              0                 0                  0
  N DISTILLED SPIRITS CREDIT                                           0                 0              0                 0                  0
  O NON-CONVENTIONAL SOURCE FUEL CREDIT                                0                 0              0                 0                  0
  P ENERGY EFFICIENT HOME CREDIT                                       0                 0              0                 0                  0
  Q ENERGY EFFICIENT APPLIANCE CREDIT                                  0                 0              0                 0                  0
  R ALTERNATIVE MOTOR VEHICLE CREDIT                                   0                 0              0                 0                  0
  S ALTERNATIVE FUEL VEHICLE REFUELING PROPERTY CR                     0                 0              0                 0                  0
  T ENHANCED OIL RECOVERY CREDIT                                       0                 0              0                 0                  0
  U MINE RESCUE TEAM TRAINING CREDIT                                   0                 0              0                 0                  0
  V AGRICULTURAL CHEMICALS SECURITY CREDIT                             0                 0              0                 0                  0
  W CREDIT FOR EMPLOYER DIFFERENTIAL WAGE PAYMENTS                     0                 0              0                 0                  0
  X CARBON OXIDE SEQUESTRATION CREDIT                                  0                 0              0                 0                  0
  Y QUALIFIED PLUG-IN ELEC DRIVE MOTOR VEHICLE CR                      0                 0              0                 0                  0
  Z QUALIFIED PLUG-IN ELECTRIC VEHICLE CR (C/F ONLY)                   0                 0              0                 0                  0
 AA EMPLOYEE RETENTION CREDIT                                          0                 0              0                 0                  0
 BB GENERAL CR FROM AN ELECTING LARGE PARTNERSHIP                      0                 0              0                 0                  0
 ZZ OTHER                                                              0                 0              0                 0                  0
 2   ADD LINES 1A THRU 1ZZ                                   1,360,591                   0     1,360,591        1,360,591                    0
 3   ENTER AMOUNT FROM FORM 8844                                       0                 0              0                 0                  0
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                                                            CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX
 4A INVESTMENT CREDIT (FORM 3468, PART III)                            0                 0              0                 0                  0
  B WORK OPPORTUNITY CREDIT (FORM 5884)                                0                 0              0                 0                  0
  C BIOFUEL PRODUCER CREDIT (FORM 6478)                                0                 0              0                 0                  0
  D LOW-INCOME HOUSING CR (FORM 8586, PART II)                         0                 0              0                 0                  0
  E RENEWABLE ELECTRICTY (FORM 8835)                                   0                 0              0                 0                  0
  F EMPLOYER SOC SEC & MEDICARE TAXES (FORM 8846)                      0                 0              0                 0                  0
  G QUALIFIED RAILROAD TRACK MAINTENANCE (FORM 8900)                   0                 0              0                 0                  0
  H SMALL EMPLOYER HEALTH INSURANCE PREMIUMS                           0                 0              0                 0                  0
  I INCREASING RESEARCH ACTIVITIES                                     0                 0              0                 0                  0
  J EMPLOYER CR FOR PAID FAMILY & MEDICAL LEAVE                        0                 0              0                 0                  0
  Z OTHER                                                              0                 0              0                 0                  0
 5   ADD LINES 4A THRU 4Z                                              0                 0              0                 0                  0
 6   ADD LINES 2, 3 AND 5                                    1,360,591                   0     1,360,591        1,360,591                    0
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                                                            CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX
                                         ****************************************************
                                         *     FORM 3800, PART III WITH BOXES A AND B         *
                                         ****************************************************


 1A INVESTMENT CREDIT (FORM 3468, PART II):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1B ADVANCED MANUFACTURING PROD CREDIT (FORM 7207)
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1C CREDIT FOR INCREASING RESEARCH ACT (FORM 6765):                    0                 0              0                 0                  0
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU             330,389                  0        330,389           330,389                  0
      CREDITS FROM PASS-THRU ENTITIES:
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                                                            CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                        330,389                   0       330,389            330,389                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE             330,389                   0       330,389            330,389                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                   330,389                   0       330,389            330,389                  0


 1E DISABLED ACCESS CREDIT (FORM 8826):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1F RENEWABLE ELECTRICITY PROD CR (FORM 8835 PT I):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
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                                                            CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1G INDIAN EMPLOYMENT CREDIT (FORM 8845):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1H ORPHAN DRUG CREDIT (FORM 8820):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1I NEW MARKET CREDIT (FORM 8874):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
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                                                            CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1J CR FOR SMALL EMPLR PEN STARTUP COST (FORM 8881):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1K CR FOR EMPLR-PROVIDED CHLDCR SVC (FORM 8882):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0
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                                                            CONSOL         Elimination       Subtotal         HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX
 1L BIODIESEL & RENEW DIESEL FUELS CR (FORM 8864):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1M LOW SULFUR DIESEL FUEL PROD CR (FORM 8896):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1N DISTILLED SPIRITS CREDIT (FORM 8906):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
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                                                          XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1P ENERGY EFFICIENT HOME CREDIT (FORM 8908):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1R ALTERNATIVE MOTOR VEHICLE CREDIT (FORM 8910):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                 0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                 0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                 0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                 0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                 0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                 0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                 0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                 0                  0


 1S ALT FUEL VEHICLE REFUELING PROP CR (FORM 8911):
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                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 1T ENHANCED OIL RECOVERY CREDIT (FORM 8830):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 1U MINE RESCUE TEAM TRAINING CREDIT (FORM 8923):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
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                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 1W CR FOR EMPLOYER DIFFL WAGE PYMTS (FORM 8932):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 1X CARBON OXIDE SEQUESTRATION CR (FORM 8933):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 1Y QUAL PLUG-IN ELEC MOTOR VEHICLE CR (FORM 8936):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
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                                                           CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                0                  0


1AA CR FOR DISASTER AREA EMPLOYERS (FORM 5884-A)
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                     0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                         0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                           0                 0              0                0                  0


1ZZ QUAL COMML CLEAN VEHICLE CR (FORM 8936-A):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                    0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                    0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                        0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                                0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                    0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
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                                                          CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                         XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
         (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
         (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
       TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


1ZZ MARGINAL WELLS CREDIT (FORM 8904):
       TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
       CREDITS FROM PASS-THRU ENTITIES:
         (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
         (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
       CREDITS FROM NON-PASS THRU ENTITIES:
         (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
         (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
       TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
         (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
         (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
       TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 3   AMOUNT FROM FORM 8844:
       TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
       CREDITS FROM PASS-THRU ENTITIES:
         (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
         (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
       CREDITS FROM NON-PASS THRU ENTITIES:
         (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
         (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
       TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
         (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
         (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
       TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 4A INVESTMENT CREDIT (FORM 3468, PT III):
       TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
       CREDITS FROM PASS-THRU ENTITIES:
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                                                         CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 4B WORK OPPORTUNITY CREDIT (FORM 5884):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 4C BIOFUEL PRODUCER CREDIT (FORM 6478):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
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                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 4D LOW INCOME HOUSING CREDIT (FORM 8586, PT II):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 4E RENEW ELEC, REFINED COAL CR (FORM 8835, PT II):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 4F EMPLYR SOC SEC & MED TAXES ON TIPS (FORM 8846):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
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                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 4G QUAL RAILROAD TRACK MAINTENANCE CR (FORM 8900):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 4H SMALL EMPLYR HEALTH INSUR PREMIUM (FORM 8941):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
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                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0


 4I CREDIT FOR INCREASING RESEARCH ACT (FORM 6765):                  0                 0              0                0                  0


 4J EMPL CR FOR PAID FAMILY & MED LEAVE (FORM 8994):
      TOTAL CURRENT YEAR CREDIT EXCLUDING PASS-THRU                  0                 0              0                0                  0
      CREDITS FROM PASS-THRU ENTITIES:
        (A) PTE GEN BUS NON-PASSIVE                                  0                 0              0                0                  0
        (B) PTE GEN BUS PASSIVE                                      0                 0              0                0                  0
      CREDITS FROM NON-PASS THRU ENTITIES:
        (A) NON-PTE GEN BUS NON-PASSIVE                              0                 0              0                0                  0
        (B) NON-PTE GEN BUS PASSIVE                                  0                 0              0                0                  0
      TOTAL CY GENERAL BUS CREDITS INCLUDING PTE:
        (A) CY GENERAL BUS CR INCL PTE NON-PASSIVE                   0                 0              0                0                  0
        (B) CY GENERAL BUS CR INCL PTE PASSIVE                       0                 0              0                0                  0
      TOTAL OF TYPES A AND B                                         0                 0              0                0                  0
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                                                          XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX


                                      ****************************************************
                                      *   FORM 3800, PART III CREDITS SUMMARY EXCLUDING       *
                                      *                GEN BUS CR C/F AND C/B                 *
                                      ****************************************************



 TTL FOR LN 2 GEN BUS NON-PASSIVE EXCL PASS-THRU (A)           330,389                   0        330,389        330,389                    0
 TTL FOR LN 2 GEN BUS NON-PASSIVE PASS-THRU (A)                        0                 0              0                0                  0
 1. GEN BUS CR FROM LN 2 OF ALL PT 3 BOX A CHECKED             330,389                   0        330,389        330,389                    0



 TTL FOR LN 2 GEN BUS PASSIVE EXCL PASS-THRU (B)                       0                 0              0                0                  0
 TTL FOR LN 2 GEN BUS PASSIVE PASS-THRU (B)                            0                 0              0                0                  0
 2. PASS ACT CR FROM LN 2 OF ALL PT 3 BOX B CHECKED                    0                 0              0                0                  0



 FORM 8844 CREDIT NON-PASSIVE EXCL PASS-THRU (A)                       0                 0              0                0                  0
 FORM 8844 CREDIT NON-PASSIVE PASS-THRU (A)                            0                 0              0                0                  0
 FORM 8844 CREDIT CARRYFORWARD (C)                                     0                 0              0                0                  0
 FORM 8844 CREDIT CARRYBACK (D)                                        0                 0              0                0                  0
 22. AMT FROM LN 3 OF ALL PT 3 BOX A, C OR D CHECKED                   0                 0              0                0                  0



 FORM 8844 CREDIT PASSIVE EXCL PASS-THRU (B)                           0                 0              0                0                  0
 FORM 8844 CREDIT PASSIVE PASS-THRU (B)                                0                 0              0                0                  0
 23. PASS ACT CR FROM LN 3 OF ALL PT 3 BOX B CHECKED                   0                 0              0                0                  0



 TTL FOR LN 5 GEN BUS NON-PASSIVE EXCL PASS-THRU (A)                   0                 0              0                0                  0
 TTL FOR LN 5 GEN BUS NON-PASSIVE PASS-THRU (A)                        0                 0              0                0                  0
 30. GEN BUS CR FROM LN 5 OF ALL PT 3 BOX A CHECKED                    0                 0              0                0                  0
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                                                           CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX



 TTL FOR LN 5 GEN BUS PASSIVE EXCL PASS-THRU (B)                       0                 0              0                0                  0
 TTL FOR LN 5 GEN BUS PASSIVE PASS-THRU (B)                            0                 0              0                0                  0
 32. PASS ACT FROM LN 5 OF ALL PT 3 WITH BOX B CHKED                   0                 0              0                0                  0
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                                                             CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX


                                         ****************************************************
                                         *     FORM 4562 - DEPRECIATION AND AMORTIZATION       *
                                         ****************************************************


PART I - ELECTION TO EXPENSE CERTAIN TANGIBLE PROP.
 1 MAXIMUM DOLLAR LIMITATION                                   1,080,000
 2 TOTAL COST OF SEC 179 PROPERTY PLACED IN SERVICE                     0                 0              0                0                  0
 3 THRESHOLD COST OF SECTION 179 PROPERTY                      2,700,000
 4 REDUCTION IN LIMITATION (LINE 2 LESS LINE 3)                         0
 5 DOLLAR LIMITATION FOR TAX YEAR (LINE 1 LESS 4)              1,080,000
 6 COLUMN (B) COST                                                      0                 0              0                0                  0
 6 COLUMN (C) ELECTED COST                                              0                 0              0                0                  0
 7 LISTED PROPERTY - ENTER AMOUNT FROM LINE 29                          0                 0              0                0                  0
 8 TOTAL ELECTED COST OF SEC 179 PROP. COL C LN 6&7                     0                 0              0                0                  0
 9 TENTATIVE DEDUCTION, ENTER LESSOR OF LINE 5 OR 8                     0
10 CARRYOVER OF DISALLOWED DEDUCTION FROM PRIOR YEAR                    0                 0              0                0                  0
11 TAXABLE INCOME LIMITATION-LESSOR OF T/I OR LN 5                      0
12 SECTION 179 EXPENSE DEDUCTION - LESSOR 9+10 OR 11                    0
13 CARRYOVER OF DISALLOWED DEDUCTION TO NEXT YEAR                       0


PART II SPECIAL DEPRECIATION ALLOWANCE AND OTHER
          DEPRECIATION                                                  0                 0              0                0                  0
14 SPECIAL DEPRE ALLOWANCE FOR QUALIFIED PROPERTY
       PLACED IN SERVICE DURING THE TAX YEAR                     215,520                  0        215,520        215,520                    0
15 PROPERTY SUBJECT TO SECTION 168(F)(1) ELECTION                       0                 0              0                0                  0
16 ACRS AND OTHER DEPRECIATION (SEE INSTRUCTIONS)                       0                 0              0                0                  0


PART III MACRS DEPRECIATION
17 MACRS DEDUCTIONS FOR ASSETS PLACED IN SERVICE IN
       TAX YEARS BEGINNING BEFORE CURRENT YEAR                     2,300                  0         2,300           2,300                    0
19 GENERAL DEPRECIATION SYSTEM (GDS)
        COLUMN C:   BASIS FOR DEPRECIATION
   A    3-YEAR PROPERTY                                                 0                 0              0                0                  0
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                                                         CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
   B   5-YEAR PROPERTY                                               0                 0              0                0                  0
   C   7-YEAR PROPERTY                                               0                 0              0                0                  0
   D   10-YEAR PROPERTY                                              0                 0              0                0                  0
   E   15-YEAR PROPERTY                                              0                 0              0                0                  0
   F   20-YEAR PROPERTY                                              0                 0              0                0                  0
   G   25-YEAR PROPERTY                                              0                 0              0                0                  0
   H   RESIDENTIAL RENTAL PROPERTY                                   0                 0              0                0                  0
   H   RESIDENTIAL RENTAL PROPERTY                                   0                 0              0                0                  0
   I   NONRESIDENTIAL REAL PROPERTY - 39 YEARS                       0                 0              0                0                  0
   I   NONRESIDENTIAL REAL PROPERTY                                  0                 0              0                0                  0
       COLUMN D:   RECOVERY PERIOD
   A   3-YEAR PROPERTY                                               0                 0              0                0                  0
   B   5-YEAR PROPERTY                                               0                 0              0                0                  0
   C   7-YEAR PROPERTY                                               0                 0              0                0                  0
   D   10-YEAR PROPERTY                                              0                 0              0                0                  0
   E   15-YEAR PROPERTY                                              0                 0              0                0                  0
   F   20-YEAR PROPERTY                                              0                 0              0                0                  0
   I   NONRESIDENTIAL REAL PROPERTY                                  0                 0              0                0                  0
       COLUMN E:   CONVENTION
   A   3-YEAR PROPERTY                                               0                 0              0                0                  0
   B   5-YEAR PROPERTY                                               0                 0              0                0                  0
   C   7-YEAR PROPERTY                                               0                 0              0                0                  0
   D   10-YEAR PROPERTY                                              0                 0              0                0                  0
   E   15-YEAR PROPERTY                                              0                 0              0                0                  0
   F   20-YEAR PROPERTY                                              0                 0              0                0                  0
   G   25-YEAR PROPERTY                                              0                 0              0                0                  0
       COLUMN F:   METHOD
   A   3-YEAR PROPERTY                                               0                 0              0                0                  0
   B   5-YEAR PROPERTY                                               0                 0              0                0                  0
   C   7-YEAR PROPERTY                                               0                 0              0                0                  0
   D   10-YEAR PROPERTY                                              0                 0              0                0                  0
   E   15-YEAR PROPERTY                                              0                 0              0                0                  0
   F   20-YEAR PROPERTY                                              0                 0              0                0                  0
       COLUMN G:   DEPRECIATION DEDUCTION
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                                                         CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
   A   3-YEAR PROPERTY                                               0                 0              0                0                  0
   B   5-YEAR PROPERTY                                               0                 0              0                0                  0
   C   7-YEAR PROPERTY                                               0                 0              0                0                  0
   D   10-YEAR PROPERTY                                              0                 0              0                0                  0
   E   15-YEAR PROPERTY                                              0                 0              0                0                  0
   F   20-YEAR PROPERTY                                              0                 0              0                0                  0
   G   25-YEAR PROPERTY                                              0                 0              0                0                  0
   H   RESIDENTIAL RENTAL PROPERTY                                   0                 0              0                0                  0
   H   RESIDENTIAL RENTAL PROPERTY                                   0                 0              0                0                  0
   I   NONRESIDENTIAL REAL PROPERTY - 39 YEARS                       0                 0              0                0                  0
   I   NONRESIDENTIAL REAL PROPERTY                                  0                 0              0                0                  0
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                                                           CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
20 ALTERNATIVE DEPRECIATION SYSTEM (ADS)
       COLUMN B:    BASIS FOR DEPRECIATION
   A   CLASS LIFE                                                      0                 0              0                0                  0
   B   12-YEAR                                                         0                 0              0                0                  0
   C   30-YEAR                                                         0                 0              0                0                  0
   D   40-YEAR                                                         0                 0              0                0                  0
       COLUMN D:    RECOVERY PERIOD
   A   CLASS LIFE                                                      0                 0              0                0                  0
       COLUMN E:    CONVENTION                                         0                 0              0                0                  0
   A   CLASS LIFE                                                      0                 0              0                0                  0
   B   12-YEAR                                                         0                 0              0                0                  0
       COLUMN G:    DEPRECIATION DEDUCTION
   A   CLASS LIFE                                                      0                 0              0                0                  0
   B   12-YEAR                                                         0                 0              0                0                  0
   C   30-YEAR                                                         0                 0              0                0                  0
   D   40-YEAR                                                         0                 0              0                0                  0


PART IV SUMMARY
21 LISTED PROPERTY - AMOUNT FROM LINE 28                               0                 0              0                0                  0
22 TOTAL (ADD LN 12, 14-17, COL. G OF 19,20 & LN 21)           217,820                   0       217,820         217,820                    0
23 FOR ASSETS PLACED IN SERVICE THIS YEAR, ENTER
   PORTION OF BASIS ATTRIBUTABLE TO 263A COSTS.                        0                 0              0                0                  0


PART V LISTED PROPERTY
25(H) SPECIAL DEPR ALLOWANCE FOR QUAL LISTED PROP
         USED MORE THAN 50% IN A QUALIFIED BUS USE                     0                 0              0                0                  0
26(H) DEPR FOR LISTED PROP USED MORE THAN 50%                          0                 0              0                0                  0
26(I) ELECTED 179 COST FOR PROP USED MORE THAN 50%                     0                 0              0                0                  0
27(H) DEPR FOR LISTED PROP USED 50% OR LESS                            0                 0              0                0                  0
28(H) ADD LINES 25 THRU 27                                             0                 0              0                0                  0
29(I) ADD LINE 26                                                      0                 0              0                0                  0


PART VI - AMORTIZATION
42 AMORTIZATION OF COSTS THAT BEGAN DURING TAX YEAR
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                                                        CONSOL         Elimination       Subtotal       HISTOGEN      THERAPEUTICS
                                                       XX-XXXXXXX                                      XX-XXXXXXX      XX-XXXXXXX
   (C) AMORTIZABLE AMOUNT                                 5,481,625                  0     5,481,625      5,481,625                  0
   (C) AMORTIZABLE AMOUNT                                    63,858                  0        63,858         63,858                  0
   (F) AMORTIZATION FOR THIS YEAR                           548,162                  0       548,162        548,162                  0
   (F) AMORTIZATION FOR THIS YEAR                             2,129                  0         2,129          2,129                  0
43 AMORTIZATION OF COSTS THAT BEGAN BEFORE TAX YEAR         153,895                  0       153,895        153,895                  0
44 TOTAL. ENTER HERE AND ON OTHER DEDUCTIONS.               704,186                  0       704,186        704,186                  0
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                                                            CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                          XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX


                                         ****************************************************
                                         * FORM 6765 - CR FOR INCREASING RESEARCH ACTIVITIES*
                                         ****************************************************


  SECTION A - REGULAR CREDIT
  1 AMOUNT PAID TO ENERGY CONSORTIA                 1                  0                 0              0                0                  0
  2 BASIC RESEARCH PAYMENTS TO QUALIFIED ORGS       2                  0                 0              0                0                  0
  3 QUALIFIED ORGANIZATION BASE PERIOD AMOUNT       3                  0                 0              0                0                  0
  4 SUBTRACT LINE 3 FROM LINE 2                     4                  0                 0              0                0                  0
  5 WAGES FOR QUALIFIED SERVICES                    5         1,761,291                  0      1,761,291      1,761,291                    0
  6 COST OF SUPPLIES                                6           649,411                  0        649,411        649,411                    0
  7 RENTAL OR LEASE COSTS OF COMPUTERS              7                  0                 0              0                0                  0
  8 APPLIC. PERCENTAGE OF CONTRACT RESEARCH EXP.    8           893,185                  0        893,185        893,185                    0
  9 TOTAL QUALIFIED RESEARCH EXPENSES               9         3,303,887                  0      3,303,887      3,303,887                    0
 10 FIXED BASE PERCENTAGE. NOT MORE THAN 16%       10         16.000000
 11 AVERAGE ANNUAL GROSS RECEIPTS                  11                  0
 12 LINE 11 TIMES LINE 10                          12                  0
 13 SUBTRACT LINE 12 FROM LINE 9                   13         3,303,887
 14 MULTIPLY LINE 9 BY 50% (.50)                   14         1,651,944
 15 SMALLER OF LINE 13 OR LINE 14                  15         1,651,944
 16 ADD LINES 1, 4 AND 15                          16         1,651,944
 17 MULTIPLY LINE 16 BY 15.8% OR 20%               17           330,389


  SECTION C - CURRENT YEAR CREDIT
 35 AMT FROM FORM 8932 LN 2 ATTRIB TO FIGURE CR                        0                 0              0                0                  0
 36 SUBTRACT LINE 35 FROM LN 17 OR 34                           330,389
 37 CREDITS FROM PASS-THRU ENTITIES                                    0                 0              0                0                  0
 38 ADD LINE 36 AND 37                                          330,389
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                                                            CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX


                                       ****************************************************
                                       * FORM 8916-A - SUPPLEMENTAL ATTACHMENT TO SCH M-3 *
                                       ****************************************************


PART I - COST OF GOODS SOLD


COLUMN A - EXPENSE PER INCOME STATEMENT
 1   AMOUNTS ATTRIB TO COST FLOW ASSUMPTIONS                            0                 0              0                0                  0
 2A STOCK OPTION EXPENSE                                                0                 0              0                0                  0
  B OTHER EQUITY BASED COMPENSATION                                     0                 0              0                0                  0
  C MEALS AND ENTERTAINMENT                                             0                 0              0                0                  0
  D PARACHUTE PAYMENTS                                                  0                 0              0                0                  0
  E COMPENSATION WITH SECTION 162(M) LIMITATION                         0                 0              0                0                  0
  F PENSION AND PROFIT SHARING                                          0                 0              0                0                  0
  G OTHER POST-RETIREMENT BENEFITS                                      0                 0              0                0                  0
  H DEFERRED COMPENSATION                                               0                 0              0                0                  0
  I RESERVE                                                             0                 0              0                0                  0
  J AMORTIZATION                                                        0                 0              0                0                  0
  K DEPLETION                                                           0                 0              0                0                  0
  L DEPRECIATION                                                        0                 0              0                0                  0
  M CORPORATE OWNED LIFE INSURANCE PREMIUMS                             0                 0              0                0                  0
  N OTHER SECTION 263A COSTS                                            0                 0              0                0                  0
 3   INVENTORY SHRINKAGE ACCRUALS                                       0                 0              0                0                  0
 4   EXCESS INVENTORY AND OBSOLESCENCE RESERVES                         0                 0              0                0                  0
 5   LOWER OF COST OR MARKET WRITE-DOWNS                                0                 0              0                0                  0
 6   OTHER ITEMS WITH DIFFERENCES (ATTACH SCHEDULE)                     0                 0              0                0                  0
 7   OTHER ITEMS WITH NO DIFFERENCES
     COGS: INVENTORY AT BEGIN. OF PERIOD                       (60,685)                   0      (60,685)        (60,685)                    0
     COGS: PRODUCT BOUGHT FOR MFG OR SALE                        60,685                   0        60,685          60,685                    0
              TOTAL                                                     0                 0              0                0                  0
 8   TOTAL COST OF GOODS SOLD. ADD LINES 1 THRU 7                       0                 0              0                0                  0


COLUMN B - TEMPORARY DIFFERENCE
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                                                            CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
 1   AMOUNTS ATTRIB TO COST FLOW ASSUMPTIONS                            0                 0              0                0                  0
 2A STOCK OPTION EXPENSE                                                0                 0              0                0                  0
  B OTHER EQUITY BASED COMPENSATION                                     0                 0              0                0                  0
  C MEALS AND ENTERTAINMENT                                             0                 0              0                0                  0
  D PARACHUTE PAYMENTS                                                  0                 0              0                0                  0
  E COMPENSATION WITH SECTION 162(M) LIMITATION                         0                 0              0                0                  0
  F PENSION AND PROFIT SHARING                                          0                 0              0                0                  0
  G OTHER POST-RETIREMENT BENEFITS                                      0                 0              0                0                  0
  H DEFERRED COMPENSATION                                               0                 0              0                0                  0
  I RESERVE                                                             0                 0              0                0                  0
  J AMORTIZATION                                                        0                 0              0                0                  0
  K DEPLETION                                                           0                 0              0                0                  0
  L DEPRECIATION                                                        0                 0              0                0                  0
  M CORPORATE OWNED LIFE INSURANCE PREMIUMS                             0                 0              0                0                  0
  N OTHER SECTION 263A COSTS                                            0                 0              0                0                  0
 3   INVENTORY SHRINKAGE ACCRUALS                                       0                 0              0                0                  0
 4   EXCESS INVENTORY AND OBSOLESCENCE RESERVES                         0                 0              0                0                  0
 5   LOWER OF COST OR MARKET WRITE-DOWNS                                0                 0              0                0                  0
 6   OTHER ITEMS WITH DIFFERENCES (ATTACH SCHEDULE)                     0                 0              0                0                  0
 8   TOTAL COST OF GOODS SOLD. ADD LINES 1 THRU 7                       0                 0              0                0                  0


COLUMN C - PERMANENT DIFFERENCE
 1   AMOUNTS ATTRIB TO COST FLOW ASSUMPTIONS                            0                 0              0                0                  0
 2A STOCK OPTION EXPENSE                                                0                 0              0                0                  0
  B OTHER EQUITY BASED COMPENSATION                                     0                 0              0                0                  0
  C MEALS AND ENTERTAINMENT                                             0                 0              0                0                  0
  D PARACHUTE PAYMENTS                                                  0                 0              0                0                  0
  E COMPENSATION WITH SECTION 162(M) LIMITATION                         0                 0              0                0                  0
  F PENSION AND PROFIT SHARING                                          0                 0              0                0                  0
  G OTHER POST-RETIREMENT BENEFITS                                      0                 0              0                0                  0
  H DEFERRED COMPENSATION                                               0                 0              0                0                  0
  I RESERVE                                                             0                 0              0                0                  0
  J AMORTIZATION                                                        0                 0              0                0                  0
  K DEPLETION                                                           0                 0              0                0                  0
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                                                            CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                           XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
  L DEPRECIATION                                                        0                 0              0                0                  0
  M CORPORATE OWNED LIFE INSURANCE PREMIUMS                             0                 0              0                0                  0
  N OTHER SECTION 263A COSTS                                            0                 0              0                0                  0
 3   INVENTORY SHRINKAGE ACCRUALS                                       0                 0              0                0                  0
 4   EXCESS INVENTORY AND OBSOLESCENCE RESERVES                         0                 0              0                0                  0
 5   LOWER OF COST OR MARKET WRITE-DOWNS                                0                 0              0                0                  0
 6   OTHER ITEMS WITH DIFFERENCES (ATTACH SCHEDULE)                     0                 0              0                0                  0
 8   TOTAL COST OF GOODS SOLD. ADD LINES 1 THRU 7                       0                 0              0                0                  0


COLUMN D - DEDUCTION PER TAX RETURN
 1   AMOUNTS ATTRIB TO COST FLOW ASSUMPTIONS                            0                 0              0                0                  0
 2A STOCK OPTION EXPENSE                                                0                 0              0                0                  0
  B OTHER EQUITY BASED COMPENSATION                                     0                 0              0                0                  0
  C MEALS AND ENTERTAINMENT                                             0                 0              0                0                  0
  D PARACHUTE PAYMENTS                                                  0                 0              0                0                  0
  E COMPENSATION WITH SECTION 162(M) LIMITATION                         0                 0              0                0                  0
  F PENSION AND PROFIT SHARING                                          0                 0              0                0                  0
  G OTHER POST-RETIREMENT BENEFITS                                      0                 0              0                0                  0
  H DEFERRED COMPENSATION                                               0                 0              0                0                  0
  I RESERVE                                                             0                 0              0                0                  0
  J AMORTIZATION                                                        0                 0              0                0                  0
  K DEPLETION                                                           0                 0              0                0                  0
  L DEPRECIATION                                                        0                 0              0                0                  0
  M CORPORATE OWNED LIFE INSURANCE PREMIUMS                             0                 0              0                0                  0
  N OTHER SECTION 263A COSTS                                            0                 0              0                0                  0
 3   INVENTORY SHRINKAGE ACCRUALS                                       0                 0              0                0                  0
 4   EXCESS INVENTORY AND OBSOLESCENCE RESERVES                         0                 0              0                0                  0
 5   LOWER OF COST OR MARKET WRITE-DOWNS                                0                 0              0                0                  0
 6   OTHER ITEMS WITH DIFFERENCES (ATTACH SCHEDULE)                     0                 0              0                0                  0
 7   OTHER ITEMS WITH NO DIFFERENCES                                    0                 0              0                0                  0
 8   TOTAL COST OF GOODS SOLD. ADD LINES 1 THRU 7                       0                 0              0                0                  0
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                                                          CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                         XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
PART II - INTEREST INCOME


COLUMN A - INCOME (LOSS) PER INCOME STATEMENT
 1   TAX EXEMPT INTEREST INCOME                                       0                 0              0                0                  0
 2   INTEREST INCOME FROM HYBRID SECURITIES                           0                 0              0                0                  0
 3   SALE/LEASE INTEREST INCOME                                       0                 0              0                0                  0
 4A INTERCOMPANY INT INC - OUTSIDE TAX AFFIL GROUP                    0                 0              0                0                  0
 4B INTERCOMPANY INT INC - TAX AFFILIATED GROUP                       0                 0              0                0                  0
 5   OTHER INTEREST INCOME                                     43,080                   0        43,080          43,080                    0
 6   TOTAL INTEREST INCOME                                     43,080                   0        43,080          43,080                    0


COLUMN B - TEMPORARY DIFFERENCE
 1   TAX EXEMPT INTEREST INCOME                                       0                 0              0                0                  0
 2   INTEREST INCOME FROM HYBRID SECURITIES                           0                 0              0                0                  0
 3   SALE/LEASE INTEREST INCOME                                       0                 0              0                0                  0
 4A INTERCOMPANY INT INC - OUTSIDE TAX AFFIL GROUP                    0                 0              0                0                  0
 4B INTERCOMPANY INT INC - TAX AFFILIATED GROUP                       0                 0              0                0                  0
 5   OTHER INTEREST INCOME                                            0                 0              0                0                  0
 6   TOTAL INTEREST INCOME                                            0                 0              0                0                  0


COLUMN C - PERMANENT DIFFERENCE
 1   TAX EXEMPT INTEREST INCOME                                       0                 0              0                0                  0
 2   INTEREST INCOME FROM HYBRID SECURITIES                           0                 0              0                0                  0
 3   SALE/LEASE INTEREST INCOME                                       0                 0              0                0                  0
 4A INTERCOMPANY INT INC - OUTSIDE TAX AFFIL GROUP                    0                 0              0                0                  0
 4B INTERCOMPANY INT INC - TAX AFFILIATED GROUP                       0                 0              0                0                  0
 5   OTHER INTEREST INCOME                                            0                 0              0                0                  0
 6   TOTAL INTEREST INCOME                                            0                 0              0                0                  0


COLUMN D - INCOME (LOSS) PER TAX RETURN
 2   INTEREST INCOME FROM HYBRID SECURITIES                           0                 0              0                0                  0
 3   SALE/LEASE INTEREST INCOME                                       0                 0              0                0                  0
 4A INTERCOMPANY INT INC - OUTSIDE TAX AFFIL GROUP                    0                 0              0                0                  0
 4B INTERCOMPANY INT INC - TAX AFFILIATED GROUP                       0                 0              0                0                  0
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                                                          CONSOL          Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                         XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX
 5   OTHER INTEREST INCOME                                     43,080                   0        43,080          43,080                    0
 6   TOTAL INTEREST INCOME                                     43,080                   0        43,080          43,080                    0


PART III - INTEREST EXPENSE


COLUMN A - EXPENSE PER INCOME STATEMENT
 1   INTEREST EXPENSE FROM HYBRID SECURITIES                          0                 0              0                0                  0
 2   LEASE/PURCHASE INTEREST EXPENSE                                  0                 0              0                0                  0
 3A INTERCOMPANY INT EXP - OUTSIDE TAX AFFIL GROUP                    0                 0              0                0                  0
 3B INTERCOMPANY INT EXP - TAX AFFILIATED GROUP                       0                 0              0                0                  0
 4   OTHER INTEREST EXPENSE                                     1,916                   0         1,916           1,916                    0
 5   TOTAL INTEREST EXPENSE                                     1,916                   0         1,916           1,916                    0


COLUMN B - TEMPORARY DIFFERENCE
 1   INTEREST EXPENSE FROM HYBRID SECURITIES                          0                 0              0                0                  0
 2   LEASE/PURCHASE INTEREST EXPENSE                                  0                 0              0                0                  0
 3A INTERCOMPANY INT EXP - OUTSIDE TAX AFFIL GROUP                    0                 0              0                0                  0
 3B INTERCOMPANY INT EXP - TAX AFFILIATED GROUP                       0                 0              0                0                  0
 4   OTHER INTEREST EXPENSE                                           0                 0              0                0                  0
 5   TOTAL INTEREST EXPENSE                                           0                 0              0                0                  0


COLUMN C - PERMANENT DIFFERENCE
 1   INTEREST EXPENSE FROM HYBRID SECURITIES                          0                 0              0                0                  0
 2   LEASE/PURCHASE INTEREST EXPENSE                                  0                 0              0                0                  0
 3A INTERCOMPANY INT EXP - OUTSIDE TAX AFFIL GROUP                    0                 0              0                0                  0
 3B INTERCOMPANY INT EXP - TAX AFFILIATED GROUP                       0                 0              0                0                  0
 4   OTHER INTEREST EXPENSE                                           0                 0              0                0                  0
 5   TOTAL INTEREST EXPENSE                                           0                 0              0                0                  0


COLUMN D - DEDUCTION PER TAX RETURN
 1   INTEREST EXPENSE FROM HYBRID SECURITIES                          0                 0              0                0                  0
 2   LEASE/PURCHASE INTEREST EXPENSE                                  0                 0              0                0                  0
 3A INTERCOMPANY INT EXP - OUTSIDE TAX AFFIL GROUP                    0                 0              0                0                  0
 3B INTERCOMPANY INT EXP - TAX AFFILIATED GROUP                       0                 0              0                0                  0
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                                                   2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                    CONSOL         Elimination       Subtotal       HISTOGEN      THERAPEUTICS
                                                   XX-XXXXXXX                                      XX-XXXXXXX      XX-XXXXXXX
 4   OTHER INTEREST EXPENSE                               1,916                  0         1,916          1,916                  0
 5   TOTAL INTEREST EXPENSE                               1,916                  0         1,916          1,916                  0
                         Case 24-01357-11          Filed 04/18/24      Entered 04/18/24 12:51:17           Doc 1    Pg. 122 of 145


                                                              2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                              CONSOL         Elimination       Subtotal        HISTOGEN      THERAPEUTICS
                                            XX-XXXXXXX                                        XX-XXXXXXX      XX-XXXXXXX



                                         STATEMENT 1   -   FORM 1120, PG 1, LN 17
                                                           TAXES
LINE 17: TAXES
    STATE TAXES BASED ON INC - CURRENT             1,600                   0          1,600          1,600                  0
    PAYROLL TAXES                                218,140                   0        218,140        218,140                  0
    MISCELLANEOUS OTHER TAXES                    160,154                   0        160,154        160,154                  0
            TOTAL                                379,894                   0        379,894        379,894                  0




                                                                                                                       STATEMENT 1   -   FORM 1120, PG 1, LN 17
                           Case 24-01357-11     Filed 04/18/24        Entered 04/18/24 12:51:17             Doc 1   Pg. 123 of 145


                                                             2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                              CONSOL          Elimination       Subtotal         HISTOGEN      THERAPEUTICS
                                           XX-XXXXXXX                                           XX-XXXXXXX      XX-XXXXXXX



                                       STATEMENT 2     -   FORM 1120, PG 1, LN 26
                                                  OTHER DEDUCTIONS
LINE 26: OTHER DEDUCTIONS
    UTILITIES                                     95,776                    0         95,776          95,776                  0
    TRAVEL                                           8,564                  0          8,564           8,564                  0
    MEALS & ENTERTAINMENT                            6,944                  0          6,944           6,944                  0
    MISCELLANEOUS DEDUCTIONS                    (61,723)                    0        (61,723)       (61,723)                  0
    DUES & SUBSCRIPTIONS                          17,200                    0         17,200          17,200                  0
    LICENSE AND PERMITS                           37,652                    0         37,652          37,652                  0
    CLEANING & MAINTENANCE                       119,312                    0        119,312         119,312                  0
    INSURANCE                                  1,300,018                    0       1,300,018      1,300,018                  0
    PROFESSIONAL FEES                          2,684,589                    0       2,684,589      2,684,589                  0
    BANK CHARGES                                     4,282                  0          4,282           4,282                  0
    CONFERENCES & MEETINGS                           (685)                  0          (685)           (685)                  0
    TRAINING, MEETINGS & SEMINARS                    2,395                  0          2,395           2,395                  0
    POSTAGE AND SHIPPING                             5,142                  0          5,142           5,142                  0
    DIRECTORS EXPENSE                            343,000                    0        343,000         343,000                  0
    EQUIPMENT EXPENSE                             25,085                    0         25,085          25,085                  0
    MARKETING & PROMOTIONAL EXPENSES                 1,600                  0          1,600           1,600                  0
    OTHER AMORTIZATION - PRIOR YEAR              153,895                    0        153,895         153,895                  0
    AMORTIZATION OF R&D EXP(SEC 174)-C/Y         550,291                    0        550,291         550,291                  0
             TOTAL                             5,293,337                    0       5,293,337      5,293,337                  0




                                                                                                                       STATEMENT 2   -   FORM 1120, PG 1, LN 26
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                                                          2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                        CONSOL        Elimination       Subtotal         HISTOGEN       THERAPEUTICS
                                                       XX-XXXXXXX                                       XX-XXXXXXX       XX-XXXXXXX



                                     STATEMENT 3   -    FORM 1120, PG 6, SCH L, LN 6, BEG
                                              OTHER CURRENT ASSETS - BEGINNING
LINE 6: OTHER CURRENT ASSETS
    OTHER PREPAID EXPENSES                                  374,999                 0         374,999        374,999                   0
    PREPAID INSURANCE                                       690,628                 0         690,628        690,628                   0
    PREPAID SUPPLIES                                        138,261                 0         138,261        138,261                   0
    DEPOSITS                                                  5,536                 0           5,536           5,536                  0
    INTERCOMPANY RECEIVABLE                                 412,026                 0         412,026        412,026                   0
    OTHER CURRENT ASSETS                                    989,303                 0         989,303        989,303                   0
            TOTAL                                         2,610,753                 0       2,610,753      2,610,753                   0




                                                                                                         STATEMENT 3     -   FORM 1120, PG 6, SCH L, LN 6, BEG
                         Case 24-01357-11   Filed 04/18/24          Entered 04/18/24 12:51:17       Doc 1       Pg. 125 of 145


                                                        2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                      CONSOL        Elimination       Subtotal       HISTOGEN      THERAPEUTICS
                                                     XX-XXXXXXX                                     XX-XXXXXXX      XX-XXXXXXX



                                   STATEMENT 4   -    FORM 1120, PG 6, SCH L, LN 9, BEG
                                            OTHER INVESTMENTS - BEGINNING
LINE 9: OTHER INVESTMENTS
    INVESTMENTS IN SUBSIDIARIES                           339,365                 0       339,365        339,365                  0




                                                                                                     STATEMENT 4    -   FORM 1120, PG 6, SCH L, LN 9, BEG
                         Case 24-01357-11    Filed 04/18/24         Entered 04/18/24 12:51:17         Doc 1   Pg. 126 of 145


                                                       2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                      CONSOL         Elimination       Subtotal        HISTOGEN      THERAPEUTICS
                                                     XX-XXXXXXX                                       XX-XXXXXXX         XX-XXXXXXX



                                   STATEMENT 5   -   FORM 1120, PG 6, SCH L, LN 14, BEG
                                                 OTHER ASSETS - BEGINNING
LINE 14: OTHER ASSETS
    DEPOSITS                                              400,000                  0        400,000        400,000                    0
    PREPAIDS                                              744,364                  0        744,364        744,364                    0
    OTHER NON-CURRENT ASSETS                            4,432,428                  0      4,432,428      4,432,428                    0
            TOTAL                                       5,576,792                  0      5,576,792      5,576,792                    0




                                                                                                      STATEMENT 5    -    FORM 1120, PG 6, SCH L, LN 14, BEG
                         Case 24-01357-11      Filed 04/18/24         Entered 04/18/24 12:51:17        Doc 1   Pg. 127 of 145


                                                         2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                        CONSOL         Elimination       Subtotal       HISTOGEN      THERAPEUTICS
                                                       XX-XXXXXXX                                      XX-XXXXXXX         XX-XXXXXXX



                                     STATEMENT 6   -   FORM 1120, PG 6, SCH L, LN 18, BEG
                                           OTHER CURRENT LIABILITIES - BEGINNING
LINE 18: OTHER CURRENT LIABILITIES
    ACCRUED VACATION                                        214,562                  0       214,562        214,562                    0
    OTHER CURRENT LIABILITIES                               135,331                  0       135,331        135,331                    0
    ACCRUED EXPENSES PAYABLE                                476,430                  0       476,430        476,430                    0
            TOTAL                                           826,323                  0       826,323        826,323                    0




                                                                                                       STATEMENT 6    -    FORM 1120, PG 6, SCH L, LN 18, BEG
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                                                        2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                       CONSOL         Elimination       Subtotal        HISTOGEN        THERAPEUTICS
                                                      XX-XXXXXXX                                       XX-XXXXXXX           XX-XXXXXXX



                                    STATEMENT 7   -   FORM 1120, PG 6, SCH L, LN 21, BEG
                                              OTHER LIABILITIES - BEGINNING
LINE 21: OTHER LIABILITIES
    OTHER NON-CURRENT LIABILITIES                          112,229                  0        112,229        112,229                      0
    LEASE LIABILITY                                      4,617,239                  0      4,617,239      4,617,239                      0
    DEFERRED REVENUE                                        19,404                  0         19,404           19,404                    0
            TOTAL                                        4,748,872                  0      4,748,872      4,748,872                      0




                                                                                                       STATEMENT 7      -    FORM 1120, PG 6, SCH L, LN 21, BEG
                           Case 24-01357-11      Filed 04/18/24          Entered 04/18/24 12:51:17         Doc 1       Pg. 129 of 145


                                                             2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                           CONSOL        Elimination       Subtotal         HISTOGEN      THERAPEUTICS
                                                          XX-XXXXXXX                                       XX-XXXXXXX      XX-XXXXXXX



                                        STATEMENT 8   -    FORM 1120, PG 6, SCH L, LN 6, END
                                                 OTHER CURRENT ASSETS - ENDING
LINE 6: OTHER CURRENT ASSETS - ENDING
    OTHER PREPAID EXPENSES                                     205,223                 0         205,223        205,223                  0
    PREPAID INSURANCE                                          625,615                 0         625,615        625,615                  0
    INTERCOMPANY RECEIVABLE                                    443,005                 0         443,005        443,005                  0
    OTHER CURRENT ASSETS                                        17,347                 0          17,347         17,347                  0
            TOTAL                                            1,291,190                 0       1,291,190      1,291,190                  0




                                                                                                            STATEMENT 8    -   FORM 1120, PG 6, SCH L, LN 6, END
                         Case 24-01357-11   Filed 04/18/24           Entered 04/18/24 12:51:17       Doc 1       Pg. 130 of 145


                                                         2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                       CONSOL        Elimination       Subtotal       HISTOGEN      THERAPEUTICS
                                                      XX-XXXXXXX                                     XX-XXXXXXX      XX-XXXXXXX



                                   STATEMENT 9    -    FORM 1120, PG 6, SCH L, LN 9, END
                                                 OTHER INVESTMENTS - ENDING
LINE 9: OTHER INVESTMENTS
    INVESTMENTS IN SUBSIDIARIES                            339,365                 0       339,365        339,365                  0




                                                                                                      STATEMENT 9    -   FORM 1120, PG 6, SCH L, LN 9, END
                          Case 24-01357-11    Filed 04/18/24        Entered 04/18/24 12:51:17           Doc 1     Pg. 131 of 145


                                                        2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                        CONSOL        Elimination       Subtotal           HISTOGEN        THERAPEUTICS
                                                       XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX



                                    STATEMENT 10   -   FORM 1120, PG 6, SCH L, LN 14, END
                                                   OTHER ASSETS - ENDING
LINE 14: OTHER ASSETS
    PREPAIDS                                                523,311                 0        523,311            523,311                   0
    RIGHT-OF-USE ASSETS                                   4,657,576                 0       4,657,576        4,657,576                    0
            TOTAL                                         5,180,887                 0       5,180,887        5,180,887                    0




                                                                                                        STATEMENT 10   -    FORM 1120, PG 6, SCH L, LN 14, END
                           Case 24-01357-11    Filed 04/18/24        Entered 04/18/24 12:51:17          Doc 1     Pg. 132 of 145


                                                         2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                         CONSOL        Elimination       Subtotal          HISTOGEN        THERAPEUTICS
                                                        XX-XXXXXXX                                        XX-XXXXXXX        XX-XXXXXXX



                                     STATEMENT 11   -   FORM 1120, PG 6, SCH L, LN 18, END
                                              OTHER CURRENT LIABILITIES - ENDING
LINE 18: OTHER CURRENT LIABILITIES
    ACCRUED VACATION                                         159,919                 0        159,919           159,919                   0
    LEASE LIABILITY - ST                                     247,036                 0        247,036           247,036                   0
    ACCRUED EXPENSES PAYABLE                                 426,386                 0        426,386           426,386                   0
            TOTAL                                            833,341                 0        833,341           833,341                   0




                                                                                                        STATEMENT 11   -    FORM 1120, PG 6, SCH L, LN 18, END
                           Case 24-01357-11    Filed 04/18/24         Entered 04/18/24 12:51:17           Doc 1    Pg. 133 of 145


                                                          2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                          CONSOL        Elimination       Subtotal           HISTOGEN        THERAPEUTICS
                                                         XX-XXXXXXX                                         XX-XXXXXXX        XX-XXXXXXX



                                     STATEMENT 12    -   FORM 1120, PG 6, SCH L, LN 21, END
                                                    OTHER LIABILITIES - ENDING
LINE 21: OTHER LIABILITIES
    OTHER NON-CURRENT LIABILITIES                              79,243                 0         79,243            79,243                    0
    LEASE LIABILITY - LT                                    4,384,472                 0       4,384,472        4,384,472                    0
    DEFERRED REVENUE                                           19,404                 0         19,404            19,404                    0
            TOTAL                                           4,483,119                 0       4,483,119        4,483,119                    0




                                                                                                          STATEMENT 12   -    FORM 1120, PG 6, SCH L, LN 21, END
                                   Case 24-01357-11        Filed 04/18/24          Entered 04/18/24 12:51:17                  Doc 1          Pg. 134 of 145




                                                                        STATEMENT 13 - SCH M-3, PART I, LINE 6B
                                                           Sch M-3, Part I, Line 6b - Net Loss from Nonincludible U.S. Entities
Entity: HISTOGEN, INC. AND SUBSIDIARIES
Period: 2022


                    (a) Name of Entity           (b) FEIN       (c) Missing EIN (Enter APPLD FOR or FOREIGNUS)   (d)       Net Income/Loss   (e)     Total Assets   (f)   Total Liabilities
ADAPTIVE BIOLOGIX                             XX-XXXXXXX                                                                            74,018                      0                 1,148,169

   Grand Total                                                                                                                      74,018                      0                 1,148,169
                                   Case 24-01357-11    Filed 04/18/24           Entered 04/18/24 12:51:17                  Doc 1   Pg. 135 of 145




                                                                     STATEMENT 13 - SCH M-3, PART I, LINE 6B
                                                        Sch M-3, Part I, Line 6b - Net Loss from Nonincludible U.S. Entities
Entity: HISTOGEN, INC. AND SUBSIDIARIES
Period: 2022


                    (a) Name of Entity           (g) Net Amount
ADAPTIVE BIOLOGIX                                         1,074,151

   Grand Total                                            1,074,151
                           Case 24-01357-11        Filed 04/18/24       Entered 04/18/24 12:51:17           Doc 1       Pg. 136 of 145


                                                             2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022


                                                        CONSOL          Elimination       Subtotal          HISTOGEN         THERAPEUTICS
                                                      XX-XXXXXXX                                           XX-XXXXXXX         XX-XXXXXXX



                                         STATEMENT 14    -    SCH M-3, PART II, LINE 28
LINE 28: OTHER INC (LOSS) EXP ITEMS WITH NO DIFF
    GROSS SALES                                          3,769,404                    0     3,769,404         3,769,404                     0
    COMPENSATION OF OFFICERS                            (1,523,021)                   0   (1,523,021)       (1,523,021)                     0
    BUILDING REPAIRS                                         (25,869)                 0      (25,869)          (25,869)                     0
    EQUIPMENT REPAIRS                                        (46,082)                 0      (46,082)          (46,082)                     0
    PAYROLL TAXES                                        (218,140)                    0     (218,140)         (218,140)                     0
    MISCELLANEOUS OTHER TAXES                            (160,154)                    0     (160,154)         (160,154)                     0
    EMPLOYEE BENEFIT PROGRAMS                            (148,147)                    0     (148,147)         (148,147)                     0
    UTILITIES                                                (95,776)                 0      (95,776)          (95,776)                     0
    TRAVEL                                                    (8,564)                 0       (8,564)           (8,564)                     0
    MISCELLANEOUS DEDUCTIONS                                   61,723                 0        61,723            61,723                     0
    DUES & SUBSCRIPTIONS                                     (17,200)                 0      (17,200)          (17,200)                     0
    LICENSE AND PERMITS                                      (37,652)                 0      (37,652)          (37,652)                     0
    CLEANING & MAINTENANCE                               (119,312)                    0     (119,312)         (119,312)                     0
    INSURANCE                                           (1,300,018)                   0   (1,300,018)       (1,300,018)                     0
    BANK CHARGES                                              (4,282)                 0       (4,282)           (4,282)                     0
    CONFERENCES & MEETINGS                                       685                  0              685               685                  0
    TRAINING, MEETINGS & SEMINARS                             (2,395)                 0       (2,395)           (2,395)                     0
    POSTAGE AND SHIPPING                                      (5,142)                 0       (5,142)           (5,142)                     0
    DIRECTORS EXPENSE                                    (343,000)                    0     (343,000)         (343,000)                     0
    EQUIPMENT EXPENSE                                        (25,085)                 0      (25,085)          (25,085)                     0
    MARKETING & PROMOTIONAL EXPENSES                          (1,600)                 0       (1,600)           (1,600)                     0
             TOTAL                                       (249,627)                    0     (249,627)         (249,627)                     0




                                                                                                                        STATEMENT 14   -        SCH M-3, PART II, LINE 28
                         Case 24-01357-11          Filed 04/18/24      Entered 04/18/24 12:51:17        Doc 1   Pg. 137 of 145


                                                              2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022
                                               COLUMN A          COLUMN B        COLUMN C        COLUMN D
                                             EXPENSE PER        TEMPORARY       PERMANENT       DEDUCTION
                                                INCOME         DIFFERENCE      DIFFERENCE         PER TAX
                                              STATEMENT                                           RETURN

                              STATEMENT 15    -   SCH M-3, PART III, LINE 38


LINE 38: OTHER EXPENSE/DED ITEMS WITH
  DIFFERENCES


SALARIES & WAGES                                  2,231,871      (2,155,310)                          76,561
RENTS                                             1,496,630          351,787                       1,848,417
SUPPLIES                                            636,124        (636,124)
PROFESSIONAL FEES                                 3,918,557      (1,233,968)                       2,684,589
     TOTAL                                        8,283,182      (3,673,615)                0      4,609,567
                         Case 24-01357-11          Filed 04/18/24      Entered 04/18/24 12:51:17        Doc 1   Pg. 138 of 145


                                                              2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC. AND SUBSIDIARIES
XX-XXXXXXX
Year: 2022
                                               COLUMN A          COLUMN B        COLUMN C        COLUMN D
                                             EXPENSE PER        TEMPORARY       PERMANENT       DEDUCTION
                                                INCOME         DIFFERENCE      DIFFERENCE         PER TAX
                                              STATEMENT                                           RETURN

                              STATEMENT 15    -   SCH M-3, PART III, LINE 38


LINE 38: OTHER EXPENSE/DED ITEMS WITH
  DIFFERENCES


SALARIES & WAGES                                  2,231,871      (2,155,310)                          76,561
RENTS                                             1,496,630          351,787                       1,848,417
SUPPLIES                                            636,124        (636,124)
PROFESSIONAL FEES                                 3,918,557      (1,233,968)                       2,684,589
     TOTAL                                        8,283,182      (3,673,615)                0      4,609,567
                        Case 24-01357-11          Filed 04/18/24      Entered 04/18/24 12:51:17        Doc 1   Pg. 139 of 145


                                                             2022 CONS. FEDERAL 1120 TAX RETURN
HISTOGEN, INC.
XX-XXXXXXX
Year: 2022
                                              COLUMN A          COLUMN B        COLUMN C        COLUMN D
                                            EXPENSE PER        TEMPORARY       PERMANENT       DEDUCTION
                                               INCOME         DIFFERENCE      DIFFERENCE         PER TAX
                                             STATEMENT                                           RETURN

                             STATEMENT 15    -   SCH M-3, PART III, LINE 38


LINE 38: OTHER EXPENSE/DED ITEMS WITH
  DIFFERENCES


SALARIES & WAGES                                 2,231,871      (2,155,310)                          76,561
RENTS                                            1,496,630          351,787                       1,848,417
SUPPLIES                                           636,124        (636,124)
PROFESSIONAL FEES                                3,918,557      (1,233,968)                       2,684,589
     TOTAL                                       8,283,182      (3,673,615)                0      4,609,567
              Case 24-01357-11       Filed 04/18/24   Entered 04/18/24 12:51:17       Doc 1   Pg. 140 of 145




HISTOGEN, INC.
20‐3183915
12/31/2022



FORM 1120, PAGE 1 DETAIL



LINE 29A ‐ NON‐SRLY NOL DEDUCTION

                                 AMOUNT                           AMOUNT UTILIZED     AMOUNT UTILIZED
YEAR ENDING                     GENERATED        ADJUSTMENT        IN PRIOR YEARS     IN CURRENT YEAR     CARRYOVER

12/31/2008                           4,767,626                          (2,749,836)                             2,017,790
12/31/2009                           2,423,868                                                                  2,423,868
12/31/2010                           3,428,735                                                                  3,428,735
12/31/2011                           5,678,643                                                                  5,678,643
12/31/2012                           5,020,268                                                                  5,020,268
12/31/2013                           3,251,941                                                                  3,251,941
12/31/2014                           2,574,806                                                                  2,574,806
12/31/2015                           3,266,045                                                                  3,266,045
12/31/2016                           2,989,184                                                                  2,989,184
12/31/2017                                  ‐                                                                            ‐
12/31/2018                           5,043,592                                                                  5,043,592
12/31/2019                           2,648,656                                                                  2,648,656
Conatus NOL (5/26/2020)                     ‐         1,774,878                                                 1,774,878
12/31/2020                          10,470,497                                                                 10,470,497
12/31/2021                          15,686,540                                                                 15,686,540
12/31/2022                           5,748,580                                                                  5,748,580

TOTAL                               72,998,981        1,774,878         (2,749,836)               ‐            72,024,023

                                                                                      AMOUNT EXPIRED:                    ‐

                                                                   TOTAL CARRIED FORWARD TO NEXT YEAR:         72,024,023
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HISTOGEN, INC.
XX-XXXXXXX
12/31/2022


FORM 3800 DETAIL


LINE 6 - CREDIT FOR GENERAL BUSINESS CREDIT CARRYFORWARDS


                                                            AMOUNTS UTILIZED IN       AMOUNT UTILIZED IN
YEAR ENDING                   AMOUNT GENERATED                 PRIOR YEARS              CURRENT YEAR                 CARRYOVER

2007                                         4,780                                                                             4,780
2008                                        95,866                                                                            95,866
2009                                        11,249                                                                            11,249
2010                                       103,521                                                                           103,521
2011                                       135,720                                                                           135,720
2012                                       142,802                                                                           142,802
2013                                        67,498                                                                            67,498
2014                                        20,299                                                                            20,299
2015                                        11,657                                                                            11,657
2016                                        46,433                                                                            46,433
2017                                        69,120                                                                            69,120
2018                                        99,693                                                                            99,693
2019                                       256,587                                                                           256,587
2020                                           -                                                                                 -
2021                                       295,367                                                                           295,367
2022                                       330,389                                                                           330,389

TOTAL                                     1,690,980                          -                         -                    1,690,980

                                                                                    AMOUNT EXPIRED:                                 -

                                                                        TOTAL CARRIED FORWARD TO NEXT YEAR:                 1,690,980
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HISTOGEN, INC.
XX-XXXXXXX
12/31/2022


                          STATEMENT PURSUANT TO §1.382-11(a) BY HISTOGEN INC (EIN: XX-XXXXXXX), A LOSS CORPORATION



DATE(S) OF ANY OWNER SHIFTS, EQUITY STRUCTURE SHIFTS, OR OTHER                      VARIOUS TESTING DATES MAY HAVE OCCURRED DURING THE
TRANSACTIONS DESCRIBED IN §1.382-2T(a)(2)(i):                                       TAX YEAR AND IN PRIOR YEARS.


DATE(S) ON WHICH ANY OWNERSHIP CHANGE(S) OCCURRED:                                  AVAILABLE UPON REQUEST.


AMOUNT OF ATTRIBUTES DESCRIBED UNDER §1.382-2T(a)(1)(i) THAT CAUSED THE CORPORATION TO BE A LOSS CORPORATION:


NET OPERATING LOSS CARRYFORWARD                                                      $       72,024,023

CAPITAL LOSS CARRYOVER                                                               $             -

RESEARCH & DEVELOPMENT CREDITS                                                       $       1,690,980

NET UNREALIZED BUILT-IN LOSS                                                         ADDITIONAL INFORMATION AVAILABLE UPON REQUEST
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HISTOGEN, INC.
20‐3183915
12/31/2022

                                                             Section 1.263(a)‐3(n) Capitalization Election

Histogen, Inc. hereby elects on behalf of the entities listed below to capitalize repair and maintenance costs under Treas. Reg. § 1.263(a)‐3(n). The costs were
incurred during the taxable year in the electing taxpayer’s trade or business and the electing taxpayer treats such costs as capital expenditures on its books and
records.


                   Taxpayer Name                                                  EIN                                                   Address

                                                                                                                          10655 Sorrento Valley Road, Ste 200
                    Histogen, Inc.                                            20‐3183915
                                                                                                                                  San Diego, CA 92121

                                                                                                                          10655 Sorrento Valley Road, Ste 200
              Histogen Therapeutics, Inc.                                     26‐0461023
                                                                                                                                  San Diego, CA 92121
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HISTOGEN, INC.
20‐3183915
12/31/2022

                                                         Section 1.263(a)‐1(f) De Minimis Safe Harbor Election

Histogen, Inc. on behalf of the entities listed below is making the de minimis safe harbor election under Treas. Reg. § 1.263(a)‐1(f) for all eligible amounts paid or
incurred during the taxable year.


                    Taxpayer Name                                                  EIN                                                     Address

                                                                                                                            10655 Sorrento Valley Road, Ste 200
                     Histogen, Inc.                                            20‐3183915
                                                                                                                                    San Diego, CA 92121

                                                                                                                            10655 Sorrento Valley Road, Ste 200
              Histogen Therapeutics, Inc.                                      26‐0461023
                                                                                                                                    San Diego, CA 92121
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                                                              HISTOGEN, INC.
                                                              EIN: 20‐3183915
                                                    Tax Year Ending December 31, 2022
                            Change in Method of Accounting for Specified Research and Experimental Expenditures
                                         Statement Pursuant to Section 7.02 of Rev. Proc. 2023‐24



Effective for its tax year beginning January 1, 2022, Histogen, Inc., on behalf of the applicants listed below is changing the method of accounting
for specified research or experimental expenditures to capitalize such expenditures to a specified research or experimental capital account, and
amortize such amount over either a 5‐year period for domestic research or 15‐year period for foreign research (as applicable) beginning with the
mid‐point of the taxable year in which such expenditures are paid or incurred in accordance with the method permitted under section 174 for
the year of change.


Pursuant to Section 7.02(4)(a)(i) of Rev. Proc. 2022‐14, as amended by Rev. Proc. 2023‐24, the change is made on a cut‐off basis. The following
information is provided pursuant to Section 7.02(4)(a)(ii) of Rev. Proc. 2023‐24:



 (A) Applicant Name and EIN:                                                           Histogen, Inc.
                                                                                       EIN: 20‐3183915

                                                                                       Histogen Therapeutics, Inc.
                                                                                       EIN: 26‐0461023

 (B) Year of Change:                                                                   January 1, 2022 ‐ December 31, 2022

 (C) Designated Change Number:                                                         265

 (D) Description of the Type of Specified Research & Experimental                      Taxpayer incurred various research and experimental
 Expenditures:                                                                         expenditures in relation to its development of solutions
                                                                                       for infectectious disease tratment, including employee
                                                                                       salaries and wages, professional fees, rents, utilities, and
                                                                                       tax depreciation/amortization.


 (E) Specified Research & Experimental Expenditures Paid or Incurred
 in Year of Change:                                                                     $         5,545,483
